                                            Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 1 of 175



                               1 Kevin E. Gilbert, Esq. (SBN: 209236)
                                 kgilbert@ohhlegal.com
                               2
                                 ORBACH HUFF + HENDERSON LLP
                               3 6210 Stoneridge Mall Road, Suite 210
                                 Pleasanton, CA 94588
                               4 Telephone: (510) 999-7908

                               5 Facsimile:   (510) 999-7918

                               6 Attorneys for Defendant
                                   CITY OF PETALUMA (erroneously sued herein as CITY OF PETALUMA and PETALUMA
                               7
                                   CITY COUNCIL)
                               8

                               9                                      UNITED STATES DISTRICT COURT
                              10                                   NORTHERN DISTRICT OF CALIFORNIA
                              11                                           SAN FRANCISCO DIVISION
ORBACH HUFF + HENDERSON LLP




                              12 Serafin “Stefan” Jose Perez Jr.,                               Case No. 21-cv-6190-JCS
                              13
                                                             Plaintiffs,                        SUPPLEMENTAL DECLARATION OF
                              14                                                                AARON ZAVALA IN SUPPORT OF
                                   v.                                                           DEFENDANT CITY OF PETALUMA’S
                              15                                                                OPPOSITION TO PLAINTIFF’S
                              16 The City of Petaluma, California, and                          MOTION FOR PRELIMINARY
                                   the Petaluma City Council,                                   INJUNCTION
                              17
                                                             Defendants.                        DATE:            August 25, 2021
                              18                                                                TIME:            2:00 p.m.
                              19                                                                DEPT:            Courtroom 6 (Via Zoom)

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                                   Supp Dec of A. Zavala ISO Defendant’s Opposition to Plaintiff’s Motion for Preliminary Injunction [21-cv-6190-JCS]
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                                              Case 4:21-cv-06190-JST     Document 20 Filed 08/25/21 Page 2 of 175



                                 1           I, Aaron Zavala, declare as follows:
                                 2           1.       I have personal knowledge of the facts described herein. If called as a witness, I
                                 3 could and would testify competently to these facts.

                                 4           2.       I am the Senior Management Analyst with Defendant City of Petaluma’s (“City”)
                                 5 Public Works & Utilities and have served in this capacity since December 2019. Among other

                                 6 duties, I work directly with the City Manager, the City Attorney and the City Council, including

                                 7 attending City Council meetings and being responsible for follow-up on certain items thereafter.

                                 8 One such assignment was for me to participate and moderate the Ad Hoc Community Advisory

                                 9 Committee (“Committee”).

                                10           3.       True and correct copies of emails received by the City related to Plaintiff Perez are
                                11 attached hereto as Exhibit C.
  ORBACH HUFF + HENDERSON LLP




                                12           I declare under penalty of perjury under the laws of the United States that the foregoing is
                                13 true and correct. Executed this 25th day of August, 2021 in Petaluma, California.

                                14

                                15
                                                                                            Aaron Zavala
                                16

                                17

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                                     Supp Dec of A. Zavala ISO Defendant’s Opposition to Plaintiff’s Motion for Preliminary Injunction [21-cv-6190-JCS]
Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 3 of 175




                EXHIBIT C
           Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 4 of 175


From:            West Below
To:              Pocekay, Dennis; Barrett,Teresa; Barnacle, Brian; Fischer, D"Lynda; Healy, Mike; King, Dave; McDonnell, Kevin; -
                 - City Clerk; Flynn, Peggy
Subject:         City Council Public Comment
Date:            Monday, July 12, 2021 5:21:09 PM


---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
OUR EMAIL SYSTEM.---

I am called here today, both by God and by my conscience, to once again speak the
truth about Stefan Perez. Stefan Perez is someone I have had the pleasure of getting
to know personally. Sadly, however, there have been attempts to defame his
character, which culminate in today’s agenda. In section 3F, an inconspicuously
worded item in the Consent Calendar, which hosts no discussion about the issue and
has it voted on with five other items at once, not only terminated his position on the
Ad Hoc Committee for police oversight, but abolishes his seat entirely, lest the public
remember that he used to sit there.

Stefan has done an excellent job so far on the committee, in part because he does
not serve any groups of special interest. Every meeting, he arrives, sits down at his
chair, and discusses what he thinks is right, not what his boss or organization would
profit from. He cares about Petaluma. Anyone who knows Mr. Perez would also know
that these allegations against him are bogus, unfounded malarkey.

Furthermore, why is this council removing a seat - on the grounds that the native man
who serves on it, is a White Supremacist – as a mere consent calendar item? Surely
something so important and controversial would have a discussion on this, right? This
action clearly shows a lack of transparency in the council, and lack of transparency
begets lack of trust. This action displays for all to see that many members of this
council that they are not serving the people of Petaluma, as they promised; nor the
constitution, as they sworn an Oath, but rather organizations like indivisible Petaluma,
that claims to fight racism yet merely adds more to the fire.

Lastly, Indivisible Petaluma (you may not see it but I’m putting big air quotes around
the word “Indivisible”) casting doubt on Mr. Perez’s heritage is a tired and racist tactic
that has been used through history to silence indigenous voices. I call on the
members of the council to open this up from a consent calendar item to new
business, so they may explain why they are removing this man from a committee he
was appointed to. Thank you.


Sincerely,
West Below

Sent with ProtonMail Secure Email.
           Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 5 of 175


From:            Ellen
To:              Terry, Suzanne
Cc:              Barrett,Teresa; Barnacle, Brian; Fischer, D"Lynda; Pocekay, Dennis; McDonnell, Kevin; King, Dave; Healy, Mike;
                 Danly, Eric; Flynn, Peggy
Subject:         Comment for tomorrow night"s AHCAC meeting
Date:            Monday, June 14, 2021 12:55:00 PM


---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
OUR EMAIL SYSTEM.---
Thank you for submitting it to the committee -

To Tracey Webb and members of the committee

I am disappointed the City Council did not remove Stefan Perez from this committee. I would
have thought evidence of his being associated with a white nationalist group and posting racist
statements on social media would be enough to remove him from a committee tasked “to
study and discuss issues contributing to community members not feeling safe or welcome in
Petaluma and to develop recommendations to improve diversity, equity, and inclusion in our
city.” (https://cityofpetaluma.org/ad-hoc-community-advisory-committee/) The City has said
it may not regulate Mr. Perez’s speech or participation in the AHCAC based on protected
speech. But the First Amendment protects government employees and volunteers from
retaliation for their speech only if they spoke/wrote as private community members on matters
of “public concern” and their interest in commenting on such matters outweighs the city’s
interest in promoting the efficiency of the public services it performs. Speech is considered to
be a matter of public concern if it relates to political, social or community issues, or about how
government is functioning. Mr. Perez’s speech likely did not involve a matter of public
concern and even if it did, Petaluma’s interest in having an effective AHCAC should outweigh
Mr. Perez’ interests.

It also seems the council is more concerned about “speculation and attacks” against Mr. Perez
than the possibility that the committee has among its members a person who is antagonistic to
the committee’s mission. I know the city has been focusing on Mr. Perez’ free speech rights
but applying the test laid out above, it is the speech of the people raising valid concerns about
his being on the committee that should be receiving protection.

I wholeheartedly support the committee’s mission. I hope you will find a way to prevent Mr.
Perez from sabotaging the essential work that lies ahead.

Thank you,

Ellen Obstler
        Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 6 of 175


From:            Flynn, Peggy
To:              joe_sturdivant@sbcglobal.net; rabbi@bnaiisrael.net; acruz@cots.org; mkinyatta@gmail.com;
                 erinmichellewilkins@gmail.com; Joanna Paun; Stefan Perez; Eric Leland; Sadie Martinez; Mark Scott; Zahyra
                 Garcia; anthony.franklin@farmersinsurance.com; Sonjhia Lowery; Wells,Katherine; missross-056@comcast.net;
                 Liz Chacon; Lou Zweier; Pedro Toledo; Ramona Faith; johana@petalumapeople.org; Hanan Huneidi;
                 fabian2003romo@gmail.com; risatgreen@icloud.com; Ann Daniels; Sustainable Farming; Julia Mayne;
                 bigpoppavfx@gmail.com; jbrunner@waughsd.org
Cc:              -- City Council; Danly, Eric; Savano, Ken; Tracey Webb; Zavala, Aaron; Alverde, Ingrid; Medina, Jessica
Subject:         Council message to City Ad Hoc Community Advisory Committee
Date:            Wednesday, June 9, 2021 9:58:00 PM
Attachments:     image003.png
                 Council Letter of AHCAC Support.pdf


Dear Ad Hoc Community Advisory Committee Members--attached is a message from our City
Council regarding recent events and concerns raised by some of you as well as some members of
our community. Additionally, below is a message to you from our facilitator, Tracey Webb. Please
reach out if you have questions.

Together in service,
Peggy

Peggy Flynn, City Manager
City of Petaluma | 11 English Street, Petaluma, CA 94952
Direct 707.776.3765 | Office 707.778.4345
City Hall is open M-Th; closed Fridays




-----Original Message-----
From: Tracey Webb traceyewebb@gmail.com
Sent: Tuesday, June 8, 2021 11:12 AM
To: Flynn, Peggy PFlynn@cityofpetaluma.org
Subject: AHCAC Member Communication

Greetings All:

I have not responded to the emails and entreaties for communication from committee members
because we needed to review all of the correspondence. A measured and well-considered response
is required.

1. White supremacy will be called out and has no place in the critical work of this committee. As a
Black woman who has been the subject of white supremacist hate, I will tell you that I would insist
that the City remove a member if there was clear proof that the person supports hate. To that end,
a review of a certain member’s purported affiliations does not rise to incontrovertible facts. We
truly have no idea of an individual’s affiliations unless their direct conduct demonstrates belief in any
form of hate that is antithetical to the purpose of this group. At this point, the accusations are based
upon inference and innuendo. I am not purporting that we protect white supremacists. I am stating
       Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 7 of 175


that we have to be fair and have proof before we remove anyone based upon supposition. For too
many years in this country people of color have been subject to persecution based upon innuendo
and loose “facts”. We cannot remove a committee member based upon innuendo.

2. This work is about having difficult conversations with people with whom we might disagree, even
vehemently. These discussions should be based upon the subject of our work during the meeting,
and not on social media.

3. The integrity of this process will remain in tact because we will be fair. Our recent silence was
due to legal considerations and protection of everyone’s constitutional rights. We had to consider
all of the information presented.

4. We need to focus on the substance of this work. AHCAC members proffered over 140 ideas for
recommendations for the Council under our current topic of community engagement. I have
grouped those suggestions into ten mega buckets, which we will discuss in depth at the June 15
session. We will have our first set of recommendations by the end of our June meeting.

5. Finally, if your goal is to truly work together on this committee to move Petaluma’s race relations
forward, you are so welcomed and appreciated. If your goal is to disrupt the process and to de-
legitimize the collective effort, then perhaps your time is best allocated to other efforts. I would
hope that the entire AHCAC remains in tact, but I will respect and understand if members feel that
they need to remove themselves from the work of this group.

Thank you again for your time. Please stay safe and well.

Tracey Webb
Tracey Elizabeth Webb Associates
           Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 8 of 175


From:               Jennifer Hewitt
To:                 Barrett,Teresa; Barnacle, Brian; Fischer, D"Lynda; Healy, Mike; King, Dave; Pocekay, Dennis; McDonnell, Kevin; -
                    - City Clerk
Cc:                 Editor@arguscourier.com; jimsweeney@pressdemocrat.com
Subject:            Denial of First Amendment Rights
Date:               Sunday, July 18, 2021 10:25:55 AM




---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE OUR EMAIL
SYSTEM.---

City of Petaluma Council Members:

> It was no surprise that you removed Stefan Perez from the Ad Hoc Community Advisory Committee on June 12,
2021. But what is surprising is your disregard and disrespect for Mr. Perez’s First Amendment Rights. Stefan Perez
is a citizen of Petaluma, who is also a Native American from this part of California, and you have blatantly denied
him his most hallowed right to Freedom of Speech. I thought there would be a few more council members, other
than Councilman Healy, who would dissent on this mockery of a vote. But no, the majority of you proved
yourselves to be the lap dogs of Indivisible Petaluma. You preferred to listen to the likes of Amber Lucas, one of
the women responsible for the recent pig’s blood vandalism in Santa Rosa, who had the audacity to demand Mr.
Perez’s removal from the committee, as the evidence against her repulsive actions mounts daily. This is all I need to
know about your value to this city.
>
>
> Many of you are up for re-election in 2022. I will make it my job to convince everyone I know to not vote for
you. And let’s face it, you aren’t running the city, Indivisible Petaluma is, and they are a group of terrorist, who
commit acts of vandalism — I don’t think that will sit well with the voters in this City.
>
> Sincerely,
>
> Jennifer Hewitt

>
         Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 9 of 175


From:            Anthony Franklin
To:              Flynn, Peggy
Cc:              Zahyra Garcia; joe_sturdivant@sbcglobal.net; rabbi@bnaiisrael.net; acruz@cots.org; mkinyatta@gmail.com;
                 erinmichellewilkins@gmail.com; joannapaun@gmail.com; eric@fivepaths.com; stefan@socovideography.com;
                 sadiemsrtinez13@gmail.com; Mark@northbayanimalservices.org; slowery@oldadobe.org;
                 katherine.wells@edwardjones.com; Faith Ross; Lou Zweier; lchacon@pet12.org;
                 pedrot@petalumahealthcenter.org; rfaith@phcd.org; johana@petalumapeople.org; hhuneidi@gmail.com;
                 fabian2003romo@gmail.com; adaniels@gmail.com; farminlocal@gmail.com; jmayne@svhs-pet.org; Zavala,
                 Aaron; Alverde, Ingrid; Medina, Jessica; -- City Council
Subject:         Fwd: Council message to City Ad Hoc Community Advisory Committee
Date:            Tuesday, June 15, 2021 12:06:44 PM
Attachments:     image003.png


---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
OUR EMAIL SYSTEM.---

Thank you for your responses.

It is unfortunate that the information provided and the concerns raised did not result in further
action being taken. We all should have the right to disagree and speak freely. He is entitled to
his opinion. What I do not understand is how he will benefit this work or make people feel
safe.

It would appear his views are in direct opposition to this work. It appears we are more worried
about his safety and rights. It is one thing to have opposing views, we should, it’s another
thing to have the viewpoints that have been attributed to him.

Can you at least tell us that he had denied the allegations? That you did some sort of
investigation?

We can and should do better!

Anthony Franklin
Petaluma Resident




        From: Flynn, Peggy <PFlynn@cityofpetaluma.org>
        Sent: Friday, June 11, 2021 2:33 PM
        To: Zahyra Garcia <zahyragarcia@gmail.com>
        Cc: joe_sturdivant@sbcglobal.net; Rabbi Ted Feldman <rabbi@bnaiisrael.net>;
        acruz@cots.org; Kinyatta Leonhardt <mkinyatta@gmail.com>;
        erinmichellewilkins@gmail.com; Joanna Paun <joannapaun@gmail.com>; Stefan
        Perez <stefan@socovideography.com>; Eric Leland <eric@fivepaths.com>;
        Sadie Martinez <sadiemartinez13@gmail.com>; Mark Scott
        <Mark@northbayanimalservices.org>; Anthony Franklin
        <anthony.franklin@farmersinsurance.com>; Sonjhia Lowery
        <slowery@oldadobe.org>; Wells,Katherine
        <Katherine.Wells@edwardjones.com>; Faith E Ross <missross-
        056@comcast.net>; Liz Chacon <lchacon@petk12.org>; Lou Zweier
Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 10 of 175


<lou.zweier@gmail.com>; Pedro Toledo <pedrot@phealthcenter.org>; Ramona
Faith <rfaith@phcd.org>; johana@petalumapeople.org; Hanan Huneidi
<hhuneidi@gmail.com>; fabian2003romo@gmail.com; risatgreen@icloud.com;
Ann Daniels <adanielshi@gmail.com>; Sustainable Farming
<farminglocal@gmail.com>; Julia Mayne <jmayne@svhs-pet.org>;
bigpoppavfx@gmail.com; jbrunner@waughsd.org; -- City Council <--
CityCouncil@cityofpetaluma.org>; Danly, Eric <EDanly@cityofpetaluma.org>;
Savano, Ken <KSavano@cityofpetaluma.org>; Tracey Webb
<traceyewebb@gmail.com>; Zavala, Aaron <azavala@cityofpetaluma.org>;
Alverde, Ingrid <IAlverde@cityofpetaluma.org>; Medina, Jessica
<jmedina@cityofpetaluma.org>
Subject: [EXTERNAL] RE: Council message to City Ad Hoc Community
Advisory Committee



Hi Zahyra—please see responses below in blue.



Peggy Flynn, City Manager

City of Petaluma | 11 English Street, Petaluma, CA 94952

Direct 707.776.3765 | Office 707.778.4345

City Hall is open M-Th; closed Fridays




From: Zahyra Garcia <zahyragarcia@gmail.com>
Sent: Thursday, June 10, 2021 4:52 PM
To: Flynn, Peggy <PFlynn@cityofpetaluma.org>
Cc: joe_sturdivant@sbcglobal.net; Rabbi Ted Feldman <rabbi@bnaiisrael.net>;
acruz@cots.org; Kinyatta Leonhardt <mkinyatta@gmail.com>;
erinmichellewilkins@gmail.com; Joanna Paun <joannapaun@gmail.com>; Stefan
Perez <stefan@socovideography.com>; Eric Leland <eric@fivepaths.com>;
Sadie Martinez <sadiemartinez13@gmail.com>; Mark Scott
<Mark@northbayanimalservices.org>; anthony.franklin@farmersinsurance.com;
Sonjhia Lowery <slowery@oldadobe.org>; Wells,Katherine
<Katherine.Wells@edwardjones.com>; Faith E Ross <missross-
056@comcast.net>; Liz Chacon <lchacon@petk12.org>; Lou Zweier
<lou.zweier@gmail.com>; Pedro Toledo <pedrot@phealthcenter.org>; Ramona
Faith <rfaith@phcd.org>; johana@petalumapeople.org; Hanan Huneidi
<hhuneidi@gmail.com>; fabian2003romo@gmail.com; risatgreen@icloud.com;
Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 11 of 175


Ann Daniels <adanielshi@gmail.com>; Sustainable Farming
<farminglocal@gmail.com>; Julia Mayne <jmayne@svhs-pet.org>;
bigpoppavfx@gmail.com; jbrunner@waughsd.org; -- City Council <--
CityCouncil@cityofpetaluma.org>; Danly, Eric <EDanly@cityofpetaluma.org>;
Savano, Ken <KSavano@cityofpetaluma.org>; Tracey Webb
<traceyewebb@gmail.com>; Zavala, Aaron <azavala@cityofpetaluma.org>;
Alverde, Ingrid <IAlverde@cityofpetaluma.org>; Medina, Jessica
<jmedina@cityofpetaluma.org>
Subject: Re: Council message to City Ad Hoc Community Advisory Committee



---Warning: Use caution before clicking any attachments. THIS EMAIL IS
FROM OUTSIDE OUR EMAIL SYSTEM.---

Thanks for the following statement. I have a few questions.



   1. 1. Why were there only three signatures on this letter ? The letter is signed
      by 3 Council members because if four or more signed it, that would
      constitute a quorum of the Council, making the signing of the letter subject
      to the Brown Act and requiring it to be signed at a public meeting. With
      only three City Council member signatures the letter could be issued prior
      to the June 15 AHCAC meeting.




2. Given that we should anticipate public comment, could we do that at the
beginning of the meeting?

- Think we owe it to our community to hear them out since there was no
discussion at either city council meeting. Tracey will lead a discussion about the
AHCAC communications we’ve received and the Council's letter at the beginning
of the meeting, and public comment is agenized at the end, as was established by
the AHCAC at our first meeting.



       3. Will we have an opportunity to discuss this in a closed session ? As
       was noted when we provided the Brown Act training, none of the very
       limited closed session authorizations apply to the business or jurisdiction
       of the AHCAC.




I feel like this letter addresses both the wrong reason and the wrong standard for
removing an adhoc member. It doesn’t even have to be about proving that
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someone supports white supremacy.



As for the standard…

Chad Loder Twitter identifying an adhoc member is not based on inference and
innuendo. I’d say that’s at least reasonable suspicion, or even probably cause.



Secondarily, does the city even need incontrovertible evidence to remove?



I understand that the city and consultant are taking precautions and protecting
their reputation for a lot of reasons, but our adhoc committee is to protect human
lives by improving race relations and creating a civilian oversight.



As a queer woman of color who has been a target by white supremacy in
Petaluma. It is our responsibility as a committee to understand the lives that have
been lost due to lack of policies, lack of transparency, lack of accountability,
lack or proper trainings to fight against systemic racism embedded in white
supremacy culture that pours into our police , city and justice system.



Appreciate having this being probably the only opportunity to bring my authentic
self. To say that I feel safe is an understatement.



"I have come to believe over and over again that what is most important to me
must be spoken, made verbal and shared, even at the risk of having it bruised or
misunderstood. That the speaking profits me, beyond any other effect. I am
standing here as a Black lesbian poet, and the meaning of all that waits upon
the fact that I am still alive, and might not have been." - Audre Lorde



Warm regards,




On Wed, Jun 9, 2021, 9:58 PM Flynn, Peggy <PFlynn@cityofpetaluma.org>
wrote:

  Dear Ad Hoc Community Advisory Committee Members--attached is a
Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 13 of 175


 message from our City Council regarding recent events and concerns raised by
 some of you as well as some members of our community. Additionally, below
 is a message to you from our facilitator, Tracey Webb. Please reach out if you
 have questions.



 Together in service,

 Peggy



 Peggy Flynn, City Manager

 City of Petaluma | 11 English Street, Petaluma, CA 94952

 Direct 707.776.3765 | Office 707.778.4345

 City Hall is open M-Th; closed Fridays




 -----Original Message-----
 From: Tracey Webb traceyewebb@gmail.com
 Sent: Tuesday, June 8, 2021 11:12 AM
 To: Flynn, Peggy PFlynn@cityofpetaluma.org
 Subject: AHCAC Member Communication



 Greetings All:



 I have not responded to the emails and entreaties for communication from
 committee members because we needed to review all of the correspondence. A
 measured and well-considered response is required.



 1. White supremacy will be called out and has no place in the critical work of
 this committee. As a Black woman who has been the subject of white
 supremacist hate, I will tell you that I would insist that the City remove a
 member if there was clear proof that the person supports hate. To that end, a
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 review of a certain member’s purported affiliations does not rise to
 incontrovertible facts. We truly have no idea of an individual’s affiliations
 unless their direct conduct demonstrates belief in any form of hate that is
 antithetical to the purpose of this group. At this point, the accusations are based
 upon inference and innuendo. I am not purporting that we protect white
 supremacists. I am stating that we have to be fair and have proof before we
 remove anyone based upon supposition. For too many years in this country
 people of color have been subject to persecution based upon innuendo and
 loose “facts”. We cannot remove a committee member based upon innuendo.



 2. This work is about having difficult conversations with people with whom we
 might disagree, even vehemently. These discussions should be based upon the
 subject of our work during the meeting, and not on social media.



 3. The integrity of this process will remain in tact because we will be fair. Our
 recent silence was due to legal considerations and protection of everyone’s
 constitutional rights. We had to consider all of the information presented.



 4. We need to focus on the substance of this work. AHCAC members
 proffered over 140 ideas for recommendations for the Council under our
 current topic of community engagement. I have grouped those suggestions into
 ten mega buckets, which we will discuss in depth at the June 15 session. We
 will have our first set of recommendations by the end of our June meeting.



 5. Finally, if your goal is to truly work together on this committee to move
 Petaluma’s race relations forward, you are so welcomed and appreciated. If
 your goal is to disrupt the process and to de-legitimize the collective effort, then
 perhaps your time is best allocated to other efforts. I would hope that the entire
 AHCAC remains in tact, but I will respect and understand if members feel that
 they need to remove themselves from the work of this group.



 Thank you again for your time. Please stay safe and well.



 Tracey Webb

 Tracey Elizabeth Webb Associates
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***** PLEASE NOTE ***** This E-Mail/telefax message and any documents
accompanying this transmission may contain privileged and/or confidential
information and is intended solely for the addressee(s) named above. If you are
not the intended addressee/recipient, you are hereby notified that any use of,
disclosure, copying, distribution, or reliance on the contents of this E-Mail/telefax
information is strictly prohibited and may result in legal action against you. Please
reply to the sender advising of the error in transmission and immediately
delete/destroy the message and any accompanying documents. Thank you.*****
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From:           Jennifer Hewitt
To:             Barrett,Teresa; Barnacle, Brian; -- City Clerk; Fischer, D"Lynda; Pocekay, Dennis; McDonnell, Kevin; King, Dave;
                Healy, Mike
Subject:        Fwd: Item 3.F Consent calendar item
Date:           Sunday, July 11, 2021 8:47:36 AM


---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
OUR EMAIL SYSTEM.---


Sent from my iPhone

Begin forwarded message:



        Subject: Fwd: Item 3.F Consent calendar item




                   I am writing this email in support of Stefan Perez, and in

                   protest of his removal from the Ad Hoc Community

                   Advisory Committee (AHCAC), per Agenda item 3. F.

                   on the Consent Calendar. This agenda item states that it

                   is at the City Council’s “sole discretion to declare the

                   office of (AHCAC) member vacant and appoint a

                   qualified person to fill the removal provision in Section

                   7…” And then the agenda goes on paragraph after

                   paragraph with the most obnoxious blather, virtue

                   signaling to whomever would read this document, and

                   obfuscating any clear language that would allow the
Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 17 of 175



         public to know what Stefan Perez did to have himself

         removed from the (AHCAC). As a tax paying and voting

         citizen of Petaluma, I demand this 3.F item be removed

         from the consent calendar and open for discussion and a

         clear vote.


         Before you take Stefan off the committee, here is what

         you should know about him, Stefan Perez is a decent

         person, who has done an outstanding job on the

         committee, and he should remain on the committee to

         bring some kind of balance to the one-sided point of

         view. Stefan cares deeply about Petaluma, and Sonoma

         County. He is courageous to stick by his principals, and

         not be afraid to speak up.


         I supported Stefan to get on this committee and I will

         support him by protesting the underhanded nature and

         lack of transparency that is rife throughout this agenda.


         If Stefan were to run for City Council, I would gladly

         vote for him, which is a lot more than I can say for most

         members of the City Council.


         And by the way, why was Council Member Pocekay on
Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 18 of 175


         the overpass watching the illegal hanging of Indivisible

         Petaluma’s radical banners? Is he a scofflaw or merely

         blissfully unaware of the law?




         Sincerely,


         Jennifer Hewitt, Petaluma Resident, unlike some

         members of the AHCAC.
       Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 19 of 175


From:           ChelsieGirl
To:             Barrett,Teresa; Barnacle, Brian; Fischer, D"Lynda; Healy, Mike; King, Dave; McDonnell, Kevin; Pocekay, Dennis
Subject:        July 12, 2021 Stefan Perez - Remove agenda item 3-F or better yet keep Stefan on the AHCAC committee.
Date:           Saturday, July 10, 2021 4:42:57 PM
Attachments:    2019 Petaluma Census.pdf


---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
OUR EMAIL SYSTEM.---
To The Honorable Mayor and Members of the City Council,

I have been a resident since 1971. I appreciate those willing to give their time for the good of
the community. I am writing because I am extremely upset by the possible dismissal of Stefan
Perez the only American Indian on this committee without any kind of public hearing or
public vote. Why is this not done as a normal agenda item? Please remove item 3F from your
calendar and do this the right way!

As I read the purpose of the AHCAC's purpose it is to discuss issues that have been identified
as contributing to community members not feeling safe in Petaluma and developing
recommendations. I also read the staff recommended this committee was to consist of diverse
representation. It appears this committee represents the black community but does little to
represent the other minorities in our city.

According to the United States 2019 Census Petaluma (which is attached) has it's population
consisting of the following:
Black or African Americans 1.2% (15 members)
American Indian .4% (1 member)
Asian 4.5%              (1 member)
Hispanic 22%            (5 members)
White 68%               (6 members)

I read in your Agenda for July 12, 2021 you want to eliminate the ONLY American Indian on
AHCAC? I am am registered American Indian and yet you want to eliminate the voice which
can best represent me and others of my race? Have you forgotten there are Indian tribes
throughout Sonoma county??? Discrimination can affect every minority and yet your
committee has an abundance of members of just 1 race. My guess is Stefan knows exactly
what discrimination feels like. I am sure he is feeling that way right now as you have set this
meeting to toss him off without a fair discussion especially in public. In my opinion he is and
would continue to be an asset to this committee. I urge you to table the action and do it
properly or preferably NOT DO IT AT ALL..

If his posting online is the reason for your actions I hope you will not go down this road. I
thought members of this council understood free speech. Now it sounds as if the council may
let someone go without reason. Really???? Who are the members trying to reverse course? I
have recently read Stefan was not present when a member of the AHCAC committee wanted
to censor him but other members present decided it was better to get on with committee
business. Good for them. How refreshing! Free speech is still a constitutional right in this
country. I believe Stefan is being harassed. I find it ironic that AHCAC is supposed to solve
exactly these types of problems and suggest solutions. Well lets let them get to work to solve
issues and not cancel one another! I must say things are off to a very rocky start!

Stefan has volunteered his time to help our city and I am very thankful. Honestly I respect
      Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 20 of 175


him for wanting to continue when some would rather he not. I really believe he would
represent me and others well and we deserve representation on this committee.

Respectfully submitted,


Jo Ann Rinaldo
Petaluma Resident


Sent with ProtonMail Secure Email.
        Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 21 of 175


From:              Alexys Pentecost
To:                Flynn, Peggy; Cochran, Brian; Terry, Suzanne; Barnacle, Brian; Fischer, D"Lynda; Barrett,Teresa; Healy, Mike;
                   King, Dave; McDonnell, Kevin; Pocekay, Dennis; thecaitlinquinn@gmail.com; abalshaw@gmail.com;
                   jkawaokaasac@gmail.com; alonsoplanningpet@gmail.com; Pascoe, Samantha
Subject:           North Bay Animal Services
Date:              Thursday, July 8, 2021 1:26:41 AM




---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE OUR EMAIL
SYSTEM.---

To whom it may concern,

Please consider give the city contract back to Petaluma Animal Services. They are a well run, top notch organization
that has helped so many people. I adopted my soul mate dog from them during the Tubbs fire. He was going to be
unfairly euthanized (he had not even gotten his medical or neuter yet) to make room for animals from the fire. PAS
adopted all of those animals and got them all homes. They were active in the community and rescuing animals from
all over the state and placing them in kind and loving homes.

What happened with Kaytie the cat being euthanized by NBAS without giving a proper window of time for the
owners to be found or adoption is unethical and unforgivable. This is not the kind of mistake you make involving
another life. Mark Scott should be removed from his position effective immediately at the bare minimum.

Signed from a concerned Petaluma citizen and animal lover,
Alexys Pentecost
Sent from my iPhone
        Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 22 of 175


From:           Elizabeth Escalante
To:             Terry, Suzanne
Cc:             Barrett,Teresa; Pocekay, Dennis; Healy, Mike; Fischer, D"Lynda; King, Dave; Barnacle, Brian; Danly, Eric; Flynn,
                Peggy
Subject:        Public Comment - Ad Hoc Community Advisory 6/15
Date:           Tuesday, June 15, 2021 1:53:19 PM


---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
OUR EMAIL SYSTEM.---
To Tracey Webb, the members of AHCAC, and Petaluma City Council,

I am submitting this public comment requesting that Stefan Perez, a known white supremacist
who has posted racist statements on social media platforms, be removed from this committee.
This type of behavior and association must not be included in an ad hoc committee that
dedicates its time for improving safety, race relations, and engagement with our community.
From what has come to light from these past couple of weeks, the evidence stacked against
Perez is not simply "speculation and attacks," but are evident to his character. As a community
member of Petaluma, I do not feel any safer in my own town knowing that an individual such
as Perez has a seat on this committee. Keeping him further would only deter any kind of
progress that the AHCAC would hope to achieve. If we want to seriously talk about improving
the relations in Petaluma, we need to take a hard stance against white supremacy and any
actions that suggest it. Please do not allow Perez to sabotage the work of AHCAC.

It is my hope that the council and members of AHCAC find that solution to remove Perez
from the committee. As soon as we can do this, the sooner the AHCAC can make a smooth
transition into appointing a new member. Please allow AHCAC to continue to do the good
work without Perez impeding them.

Thank you,

Elizabeth Escalante, M.Ed.

2nd District Commissioner on Commision on Human Rights of Sonoma County
        Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 23 of 175


From:           Flynn, Peggy
To:             Zahyra Garcia
Cc:             joe_sturdivant@sbcglobal.net; Rabbi Ted Feldman; acruz@cots.org; Kinyatta Leonhardt;
                erinmichellewilkins@gmail.com; Joanna Paun; Stefan Perez; Eric Leland; Sadie Martinez; Mark Scott;
                anthony.franklin@farmersinsurance.com; Sonjhia Lowery; Wells,Katherine; Faith E Ross; Liz Chacon; Lou Zweier;
                Pedro Toledo; Ramona Faith; johana@petalumapeople.org; Hanan Huneidi; fabian2003romo@gmail.com;
                risatgreen@icloud.com; Ann Daniels; Sustainable Farming; Julia Mayne; bigpoppavfx@gmail.com;
                jbrunner@waughsd.org; -- City Council; Danly, Eric; Savano, Ken; Tracey Webb; Zavala, Aaron; Alverde, Ingrid;
                Medina, Jessica
Subject:        RE: Council message to City Ad Hoc Community Advisory Committee
Date:           Friday, June 11, 2021 2:33:03 PM
Attachments:    image003.png


Hi Zahyra—please see responses below in blue.

Peggy Flynn, City Manager
City of Petaluma | 11 English Street, Petaluma, CA 94952
Direct 707.776.3765 | Office 707.778.4345
City Hall is open M-Th; closed Fridays




From: Zahyra Garcia <zahyragarcia@gmail.com>
Sent: Thursday, June 10, 2021 4:52 PM
To: Flynn, Peggy <PFlynn@cityofpetaluma.org>
Cc: joe_sturdivant@sbcglobal.net; Rabbi Ted Feldman <rabbi@bnaiisrael.net>; acruz@cots.org;
Kinyatta Leonhardt <mkinyatta@gmail.com>; erinmichellewilkins@gmail.com; Joanna Paun
<joannapaun@gmail.com>; Stefan Perez <stefan@socovideography.com>; Eric Leland
<eric@fivepaths.com>; Sadie Martinez <sadiemartinez13@gmail.com>; Mark Scott
<Mark@northbayanimalservices.org>; anthony.franklin@farmersinsurance.com; Sonjhia Lowery
<slowery@oldadobe.org>; Wells,Katherine <Katherine.Wells@edwardjones.com>; Faith E Ross
<missross-056@comcast.net>; Liz Chacon <lchacon@petk12.org>; Lou Zweier
<lou.zweier@gmail.com>; Pedro Toledo <pedrot@phealthcenter.org>; Ramona Faith
<rfaith@phcd.org>; johana@petalumapeople.org; Hanan Huneidi <hhuneidi@gmail.com>;
fabian2003romo@gmail.com; risatgreen@icloud.com; Ann Daniels <adanielshi@gmail.com>;
Sustainable Farming <farminglocal@gmail.com>; Julia Mayne <jmayne@svhs-pet.org>;
bigpoppavfx@gmail.com; jbrunner@waughsd.org; -- City Council <--
CityCouncil@cityofpetaluma.org>; Danly, Eric <EDanly@cityofpetaluma.org>; Savano, Ken
<KSavano@cityofpetaluma.org>; Tracey Webb <traceyewebb@gmail.com>; Zavala, Aaron
<azavala@cityofpetaluma.org>; Alverde, Ingrid <IAlverde@cityofpetaluma.org>; Medina, Jessica
<jmedina@cityofpetaluma.org>
Subject: Re: Council message to City Ad Hoc Community Advisory Committee

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE OUR EMAIL
SYSTEM.---
Thanks for the following statement. I have a few questions.
       Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 24 of 175


   1. 1. Why were there only three signatures on this letter ? The letter is signed by 3 Council
      members because if four or more signed it, that would constitute a quorum of the Council,
      making the signing of the letter subject to the Brown Act and requiring it to be signed at a
      public meeting. With only three City Council member signatures the letter could be issued
      prior to the June 15 AHCAC meeting.


2. Given that we should anticipate public comment, could we do that at the beginning of the
meeting?
- Think we owe it to our community to hear them out since there was no discussion at either city
council meeting. Tracey will lead a discussion about the AHCAC communications we’ve received and
the Council's letter at the beginning of the meeting, and public comment is agenized at the end, as
was established by the AHCAC at our first meeting.


        3. Will we have an opportunity to discuss this in a closed session ? As was noted when we
        provided the Brown Act training, none of the very limited closed session authorizations apply
        to the business or jurisdiction of the AHCAC.



I feel like this letter addresses both the wrong reason and the wrong standard for removing an
adhoc member. It doesn’t even have to be about proving that someone supports white supremacy.

As for the standard…
Chad Loder Twitter identifying an adhoc member is not based on inference and innuendo. I’d say
that’s at least reasonable suspicion, or even probably cause.

Secondarily, does the city even need incontrovertible evidence to remove?

I understand that the city and consultant are taking precautions and protecting their reputation for a
lot of reasons, but our adhoc committee is to protect human lives by improving race relations and
creating a civilian oversight.

As a queer woman of color who has been a target by white supremacy in Petaluma. It is our
responsibility as a committee to understand the lives that have been lost due to lack of policies, lack
of transparency, lack of accountability, lack or proper trainings to fight against systemic racism
embedded in white supremacy culture that pours into our police , city and justice system.

Appreciate having this being probably the only opportunity to bring my authentic self. To say that I
feel safe is an understatement.

"I have come to believe over and over again that what is most important to me must be spoken,
made verbal and shared, even at the risk of having it bruised or misunderstood. That the
speaking profits me, beyond any other effect. I am standing here as a Black lesbian poet, and the
meaning of all that waits upon the fact that I am still alive, and might not have been." - Audre
Lorde
      Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 25 of 175



Warm regards,


On Wed, Jun 9, 2021, 9:58 PM Flynn, Peggy <PFlynn@cityofpetaluma.org> wrote:

  Dear Ad Hoc Community Advisory Committee Members--attached is a message from our
  City Council regarding recent events and concerns raised by some of you as well as some
  members of our community. Additionally, below is a message to you from our facilitator,
  Tracey Webb. Please reach out if you have questions.



  Together in service,

  Peggy

  Peggy Flynn, City Manager
  City of Petaluma | 11 English Street, Petaluma, CA 94952
  Direct 707.776.3765 | Office 707.778.4345
  City Hall is open M-Th; closed Fridays




  -----Original Message-----
  From: Tracey Webb traceyewebb@gmail.com
  Sent: Tuesday, June 8, 2021 11:12 AM
  To: Flynn, Peggy PFlynn@cityofpetaluma.org
  Subject: AHCAC Member Communication



  Greetings All:



  I have not responded to the emails and entreaties for communication from committee
  members because we needed to review all of the correspondence. A measured and well-
  considered response is required.



  1. White supremacy will be called out and has no place in the critical work of this
  committee. As a Black woman who has been the subject of white supremacist hate, I will
  tell you that I would insist that the City remove a member if there was clear proof that the
    Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 26 of 175


person supports hate. To that end, a review of a certain member’s purported affiliations
does not rise to incontrovertible facts. We truly have no idea of an individual’s affiliations
unless their direct conduct demonstrates belief in any form of hate that is antithetical to the
purpose of this group. At this point, the accusations are based upon inference and
innuendo. I am not purporting that we protect white supremacists. I am stating that we
have to be fair and have proof before we remove anyone based upon supposition. For too
many years in this country people of color have been subject to persecution based upon
innuendo and loose “facts”. We cannot remove a committee member based upon innuendo.



2. This work is about having difficult conversations with people with whom we might
disagree, even vehemently. These discussions should be based upon the subject of our work
during the meeting, and not on social media.



3. The integrity of this process will remain in tact because we will be fair. Our recent
silence was due to legal considerations and protection of everyone’s constitutional rights.
We had to consider all of the information presented.



4. We need to focus on the substance of this work. AHCAC members proffered over 140
ideas for recommendations for the Council under our current topic of community
engagement. I have grouped those suggestions into ten mega buckets, which we will
discuss in depth at the June 15 session. We will have our first set of recommendations by
the end of our June meeting.



5. Finally, if your goal is to truly work together on this committee to move Petaluma’s race
relations forward, you are so welcomed and appreciated. If your goal is to disrupt the
process and to de-legitimize the collective effort, then perhaps your time is best allocated to
other efforts. I would hope that the entire AHCAC remains in tact, but I will respect and
understand if members feel that they need to remove themselves from the work of this
group.



Thank you again for your time. Please stay safe and well.



Tracey Webb

Tracey Elizabeth Webb Associates
        Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 27 of 175


From:           Zahyra Garcia
To:             Flynn, Peggy
Cc:             joe_sturdivant@sbcglobal.net; Rabbi Ted Feldman; acruz@cots.org; Kinyatta Leonhardt;
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                risatgreen@icloud.com; Ann Daniels; Sustainable Farming; Julia Mayne; bigpoppavfx@gmail.com;
                jbrunner@waughsd.org; -- City Council; Danly, Eric; Savano, Ken; Tracey Webb; Zavala, Aaron; Alverde, Ingrid;
                Medina, Jessica
Subject:        Re: Council message to City Ad Hoc Community Advisory Committee
Date:           Thursday, June 10, 2021 4:52:37 PM
Attachments:    image003.png


---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
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      Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 28 of 175


been." - Audre Lorde

Warm regards,


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 Tracey Webb. Please reach out if you have questions.



 Together in service,

 Peggy



 Peggy Flynn, City Manager

 City of Petaluma | 11 English Street, Petaluma, CA 94952

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 To: Flynn, Peggy PFlynn@cityofpetaluma.org
 Subject: AHCAC Member Communication



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 considered response is required.
    Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 29 of 175




1. White supremacy will be called out and has no place in the critical work of this
committee. As a Black woman who has been the subject of white supremacist hate, I will
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person supports hate. To that end, a review of a certain member’s purported affiliations
does not rise to incontrovertible facts. We truly have no idea of an individual’s affiliations
unless their direct conduct demonstrates belief in any form of hate that is antithetical to the
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4. We need to focus on the substance of this work. AHCAC members proffered over 140
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other efforts. I would hope that the entire AHCAC remains in tact, but I will respect and
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group.



Thank you again for your time. Please stay safe and well.



Tracey Webb
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Tracey Elizabeth Webb Associates
        Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 31 of 175


From:              Pascoe, Samantha
To:                Barnacle, Brian
Cc:                Danly, Eric; Flynn, Peggy
Subject:           RE: Public Records Request - Ad Hoc Advisory Committee (PRA2021-07-005)
Date:              Friday, July 23, 2021 8:38:59 AM


Thank you Brian.




Samantha Pascoe, CMC
Deputy City Clerk
City of Petaluma | City Clerk
office. 707-778-4575 |
SPascoe@cityofpetaluma.org




Petaluma is in a drought. There are
many programs and incentives
to help you conserve water! Learn
more HERE.

From: Barnacle, Brian <bbarnacle@cityofpetaluma.org>
Sent: Thursday, July 22, 2021 7:11 PM
To: Pascoe, Samantha <SPascoe@cityofpetaluma.org>
Cc: Danly, Eric <EDanly@cityofpetaluma.org>; Flynn, Peggy <PFlynn@cityofpetaluma.org>
Subject: Re: Public Records Request - Ad Hoc Advisory Committee (PRA2021-07-005)

Sam,

I sent you three emails. Those are the only communications I have received other than people
calling for his appointment or removal.

Best,
Brian

From: Pascoe, Samantha <SPascoe@cityofpetaluma.org>
Sent: Thursday, July 22, 2021 2:56 PM
To: -- City Council <--CityCouncil@cityofpetaluma.org>
Subject: Public Records Request - Ad Hoc Advisory Committee (PRA2021-07-005)

Good afternoon Madam Mayor and Councilmembers,

We’ve received a public records request (detailed below the line) pertaining to the Ad Hoc Advisory
Committee.
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We are focusing on part b of the request:

b) Any and all records and communications regarding nominations by councillors and/or
nominations of discretionary members - that is any appointed committee members who were not
affiliated with, or nominated by, the community groups listed in the Feb 22, 2021 presentation to
the City Council (see below).

We have determined there were four additional organizations and one community member not
affiliated with the groups listed below:

Japanese American Citizens League
Sonoma County Black Forum
North Bay LGBTQI Families
North Bay Animal Services
Stefan Perez / Graton Rancheria

Please search your inboxes for any communications relating to these groups and Perez, then forward
any responsive records to me. I realize you’ve been through this process for a public records request
for communications with Perez in early June. If you have anything to/from him since June 10th,
please send.

Thank you,
Sam

_________________________________________________________________________________
____________________________________________________________________________
This is a two-part request for records related to the City's Ad Hoc Advisory Committee (AHAC) to
improve diversity, equity, and inclusivity. We are requesting:

a) Any and all "Commission, Committee and Board Application Forms" submitted by members of the
AHAC. – N/A as we didn’t require forms for this recruitment.

b) Any and all records and communications regarding nominations by councillors and/or
nominations of discretionary members - that is any appointed committee members who were not
affiliated with, or nominated by, the community groups listed in the Feb 22, 2021 presentation to
the City Council (see below). We expect that records and communications would include but not be
limited to: email, memos, minutes of meetings, visitor logs and calendar entries related to the
discretionary nominations.

Petaluma Blacks for Community Development (PBCD)
NAACP Sonoma County
100 Black Men of Sonoma County
Petaluma Community Relations Council (Faith Based and DEI NGO’s)
North Bay Organizing Project – Petaluma Chapter (NBOPP)
School District Representatives from (PCS, Old Adobe, Waugh, St. Vincent’s)
       Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 33 of 175


Team for Inclusivity, Diversity, and Equity (TIDE) in K-12 schools.
Indivisible Petaluma
Sonoma County Blacks
Petaluma Healthcare District
Petaluma Health Center
Petaluma People Services Center
Petaluma Area Chamber of Commerce (DEI)
Petaluma Youth Commission / Petaluma Youth for CAHOOTS
Hispanic Chamber of Commerce
LGBTQ of Sonoma County / Sonoma County Pride

We are available to discuss this request as needed and also able to pay any reasonable copy or
retrieval costs associated with it.

Thank you in advance.

Scott Compton, PI#187922
Mason Investigative Group
2430 5th St. #F, Berkeley, CA 94710




Samantha Pascoe, CMC
Deputy City Clerk
City of Petaluma | City Clerk
office. 707-778-4575 |
SPascoe@cityofpetaluma.org




Petaluma is in a drought. There are
many programs and incentives
to help you conserve water! Learn
more HERE.
        Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 34 of 175


From:           Eric J. Adams
To:             Flynn, Peggy; Barrett,Teresa; Barnacle, Brian; Pocekay, Dennis; Fischer, D"Lynda; Healy, Mike; King, Dave;
                McDonnell, Kevin
Subject:        Regarding Stefan Perez
Date:           Monday, June 21, 2021 11:21:33 AM
Attachments:    PastedGraphic-3.tiff


---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
OUR EMAIL SYSTEM.---
Greetings Petaluma Council Members,

I am a professor of screenwriting at SRJC, a film producer, screenwriter, author, and former
investigative journalist. I have lived and worked in the Petaluma area for 31 years. I have
served on the boards of the Petaluma Art Center, Petaluma Community Access, and Sonoma
County Juvenile Justice Commission.

I completed a Masters of Arts program at Sonoma State University alongside Stefan Perez. I
produced a short film that he directed. Over the course of this time, I have spent many hours
with Stefan and have come to know him well. I found Stefan to be funny, sarcastic,
intellectual and creative. Never did I hear him express racist or white supremacist views. On
the contrary, I understand Stefan to be a defender of human rights and equality for all.

I applaud your decision not to remove Stefan from his committee post and urge you to stand
firm.

Very best,

e/a


Eric J. Adams | Sleeperwave Films | eric@sleeperwave.com | O: 707.794.9908 | M: 310.562.7373 |
Skype: sleeperwave | www.sleeperwave.com | IMDB | Linkedin
       Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 35 of 175


From:           Chris
To:             Barrett,Teresa
Cc:             Barnacle, Brian; Fischer, D"Lynda; Healy, Mike; King, Dave; McDonnell, Kevin; Pocekay, Dennis
Subject:        Still outraged about lack of action regarding Stefan Perez
Date:           Saturday, June 12, 2021 7:02:16 PM


---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
OUR EMAIL SYSTEM.---
Recently the City of Petaluma put out a statement about Stefan Perez a known white
supremacist and provocateur… https://patch.com/california/petaluma/city-petaluma-city-
council-statement-regarding-ad-hoc-community-advisory?
fbclid=IwAR0nRfdiW0Buk1lYFeiLRtShzj9-bLBNiHCsrz5I7xUzn9Bo6fPzCxtqG4w

The city’s unwillingness to investigate and take action goes absolutely against the information
in the release. There is information on the internet that is posted by the person himself.



Beyond this information that Stefan himself puts out into public view. He’s cause violence in
our area before. Again sending emails to beg you to stand with most constituents and boot him
from the public adhoc committee.

https://www.pressdemocrat.com/article/news/santa-rosa-officers-disciplined-for-protest-
response/?fbclid=IwAR3sUfZU9kfmShhF8ny3F-
36VBxZsSfw9cHMwDQWP3IFsiS41RElysFLR80

Violence he instigated if you want to claim ignorance. I grew up in Rohnert Park and
Petaluma. Shame on the city’s lack of action here.

https://bohemian.com/bad-blood/?fbclid=IwAR3Wr6HtVFbBcB2L-xxRNDA-
cjRPqww1rXF8E4BDrK0I9VxzYO4Sy0fVRo0

I honestly don’t care on where you stand politically. That said, we can’t support people that
insight violence in our community and that spread hate. Period.

—
Yet again,
Chris Mullins
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From:           Stefan Perez
To:             Barrett,Teresa; Healy, Mike; Pocekay, Dennis; Fischer, D"Lynda; Barnacle, Brian; King, Dave; McDonnell, Kevin
Cc:             -- City Clerk
Subject:        Weighing my options for the Committee
Date:           Friday, June 11, 2021 6:25:16 PM


---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
OUR EMAIL SYSTEM.---
Hello Petaluma City Council,

First I would like to say that I'm sorry that these recent false allegations against me have taken
focus away from the goals of this committee. I've contacted a lawyer about this ridiculous
slander that is being spread about me. By now you've heard one side of this story but it's only
right that you hear mine.

From the start of the construction of this committee, I've been aware that members of the
group Indivisible Petaluma have been pushing to have me removed or blocked from having a
seat on this committee. I've tried to ignore their intimidation in order to keep the focus on the
goals of this committee, but their harassment and racist attacks on my tribal heritage have
increased to the point that they're now trying to bring it front and center.

While on the books, there is only one representative of Indivisible Petaluma on this
committee, it is actually 9 or more. I've been a critic of Indivisible Petaluma's numerous
documented instances of doxxing and intimidations of community members before. Last year
my criticism resulted in a threat against me and harassment of business clients, which came
from Zahrya Garcia. I reported that instance to the police and it is on record. After that
incident, I've had no interactions with Zahrya or Indivisible Petaluma. However, these acts of
harassment and intimidation have escalated after being appointed to the committee.

My friends, clients, and colleagues have been targeted online, I've received multiple threats
and am pursuing charges with PPD against some of the people responsible. These threats have
now affected my job as a teacher and the safety of my students. I notified the administration
immediately about the safety concern and we agreed it would be best for me to be on paid
leave for the last 2 weeks of the school year.

I have an abundance of screenshots and documents to back up everything that I'm saying but
I'm afraid it looks like the damage has been done.

While I'm very thankful for the council's well reasoned response so far, I personally am
overwhelmed as to what to do in regards to the committee. I don't want this to take away
focus from the work of the committee. However, I worry about setting a precedent of
intimidation and slander as a tool to get rid of members. I am not the only committee
member who has been targeted.

I'm still deciding how to move forward or not move forward but I want to hear from the
council on what you think I should do. I already have some idea what Dr. Pocekay's thoughts
might be on this but I would still like to hear from council members directly. You can either
contact me through email or you can call me. Hope to hear from you soon.

Thank you,
- Stefan
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         Stefan Perez
         videographer/ editor
         socovideography.com
                                                                                                                                 Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 38 of 175


Pascoe, Samantha

From:                                                                                                                                 Stefan Perez <stefan@socovideography.com>
Sent:                                                                                                                                 Wednesday, July 14, 2021 5:58 PM
To:                                                                                                                                   Barrett,Teresa
Subject:                                                                                                                              Re: Thank you for speaking


ͲͲͲWarning:Usecautionbeforeclickinganyattachments.THISEMAILISFROMOUTSIDEOUREMAILSYSTEM.ͲͲͲ
Ok,thanksfortheclarification.

OnWed,Jul14,2021at5:50PMBarrett,Teresa<tbarrett@cityofpetaluma.org>wrote:
  Youarewelcome,and,fortherecord,ImeantwhatIsaid:Idonotknowthemajorityofthepeoplewhoareonthat
  committee,Ireadtheirsubmittals.ThatgivesmeasnapshotbutnothinginͲdepth.
  
  TeresaBarrett
  MayorofPetaluma
  707.953.0846

 From:StefanPerez<stefan@socovideography.com>
 Sent:Wednesday,July14,20215:46:13PM
 To:Barrett,Teresa<tbarrett@cityofpetaluma.org>
 Subject:Thankyouforspeaking
 
 ͲͲͲWarning:Usecautionbeforeclickinganyattachments.THISEMAILISFROMOUTSIDEOUREMAILSYSTEM.ͲͲͲ
 HelloMadamMayor,
 
 IjustwantedtoreachoutandsaythateventhoughIdisagreewithyourdecision,thankyouforatleastaddressingthe
 issueinyourstatementonMonday.WhileI'mdoubtfulyouactuallyhave"noideawheretheystand(membersofthe
 committee)whattheirpersonalvaluesare",Ihopethatthishasbroughtslightlymoreawarenesstoconcernsthat
 citizenshaveaboutIndivisiblePetaluma.
 
 I'msorrythatit'sgonethewayithas.Itwasn'ttheintentionformyexistenceonthecommitteetobesucha
 distractionbutjustknowthatIfoughtforwhatIthinkwasrightfortheintegrityofthiscommunity.
 
 Thankyouandhaveapleasantevening,
 ͲStefan
 
 
 ͲͲ
   
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       SoCo Videography Logo




                                                                                                                                Stefan Perez
                                                                                                                                Videographer/ editor
                                                                                                                                socovideography.com
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    To help protect y our priv acy , Microsoft Office prev ented automatic download of this picture from the Internet.
    SoCo Videography Logo




                                                                                                                             Stefan Perez
                                                                                                                             Videographer/ editor
                                                                                                                             socovideography.com
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From:               Jennifer Hewitt
To:                 Barrett,Teresa; Barnacle, Brian; Fischer, D"Lynda; Healy, Mike; King, Dave; Pocekay, Dennis; McDonnell, Kevin; -
                    - City Clerk
Cc:                 Editor@arguscourier.com; jimsweeney@pressdemocrat.com
Subject:            Denial of First Amendment Rights
Date:               Sunday, July 18, 2021 10:25:55 AM




---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE OUR EMAIL
SYSTEM.---

City of Petaluma Council Members:

> It was no surprise that you removed Stefan Perez from the Ad Hoc Community Advisory Committee on June 12,
2021. But what is surprising is your disregard and disrespect for Mr. Perez’s First Amendment Rights. Stefan Perez
is a citizen of Petaluma, who is also a Native American from this part of California, and you have blatantly denied
him his most hallowed right to Freedom of Speech. I thought there would be a few more council members, other
than Councilman Healy, who would dissent on this mockery of a vote. But no, the majority of you proved
yourselves to be the lap dogs of Indivisible Petaluma. You preferred to listen to the likes of Amber Lucas, one of
the women responsible for the recent pig’s blood vandalism in Santa Rosa, who had the audacity to demand Mr.
Perez’s removal from the committee, as the evidence against her repulsive actions mounts daily. This is all I need to
know about your value to this city.
>
>
> Many of you are up for re-election in 2022. I will make it my job to convince everyone I know to not vote for
you. And let’s face it, you aren’t running the city, Indivisible Petaluma is, and they are a group of terrorist, who
commit acts of vandalism — I don’t think that will sit well with the voters in this City.
>
> Sincerely,
>
> Jennifer Hewitt

>
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From:            Pascoe, Samantha
To:              -- City Council
Subject:         Public Records Request - Ad Hoc Advisory Committee (PRA2021-07-005)
Date:            Thursday, July 22, 2021 2:56:25 PM


Good afternoon Madam Mayor and Councilmembers,

We’ve received a public records request (detailed below the line) pertaining to the Ad Hoc Advisory
Committee.

We are focusing on part b of the request:

b) Any and all records and communications regarding nominations by councillors and/or
nominations of discretionary members - that is any appointed committee members who were not
affiliated with, or nominated by, the community groups listed in the Feb 22, 2021 presentation to
the City Council (see below).

We have determined there were four additional organizations and one community member not
affiliated with the groups listed below:

Japanese American Citizens League
Sonoma County Black Forum
North Bay LGBTQI Families
North Bay Animal Services
Stefan Perez / Graton Rancheria

Please search your inboxes for any communications relating to these groups and Perez, then forward
any responsive records to me. I realize you’ve been through this process for a public records request
for communications with Perez in early June. If you have anything to/from him since June 10th,
please send.

Thank you,
Sam

_________________________________________________________________________________
____________________________________________________________________________
This is a two-part request for records related to the City's Ad Hoc Advisory Committee (AHAC) to
improve diversity, equity, and inclusivity. We are requesting:

a) Any and all "Commission, Committee and Board Application Forms" submitted by members of the
AHAC. – N/A as we didn’t require forms for this recruitment.

b) Any and all records and communications regarding nominations by councillors and/or
nominations of discretionary members - that is any appointed committee members who were not
affiliated with, or nominated by, the community groups listed in the Feb 22, 2021 presentation to
the City Council (see below). We expect that records and communications would include but not be
limited to: email, memos, minutes of meetings, visitor logs and calendar entries related to the
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discretionary nominations.

Petaluma Blacks for Community Development (PBCD)
NAACP Sonoma County
100 Black Men of Sonoma County
Petaluma Community Relations Council (Faith Based and DEI NGO’s)
North Bay Organizing Project – Petaluma Chapter (NBOPP)
School District Representatives from (PCS, Old Adobe, Waugh, St. Vincent’s)
Team for Inclusivity, Diversity, and Equity (TIDE) in K-12 schools.
Indivisible Petaluma
Sonoma County Blacks
Petaluma Healthcare District
Petaluma Health Center
Petaluma People Services Center
Petaluma Area Chamber of Commerce (DEI)
Petaluma Youth Commission / Petaluma Youth for CAHOOTS
Hispanic Chamber of Commerce
LGBTQ of Sonoma County / Sonoma County Pride

We are available to discuss this request as needed and also able to pay any reasonable copy or
retrieval costs associated with it.

Thank you in advance.

Scott Compton, PI#187922
Mason Investigative Group
2430 5th St. #F, Berkeley, CA 94710




Samantha Pascoe, CMC
Deputy City Clerk
City of Petaluma | City Clerk
office. 707-778-4575 |
SPascoe@cityofpetaluma.org




Petaluma is in a drought. There are
many programs and incentives
to help you conserve water! Learn
more HERE.
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From:           Flynn, Peggy
To:             Zahyra Garcia
Cc:             joe_sturdivant@sbcglobal.net; Rabbi Ted Feldman; acruz@cots.org; Kinyatta Leonhardt;
                erinmichellewilkins@gmail.com; Joanna Paun; Stefan Perez; Eric Leland; Sadie Martinez; Mark Scott;
                anthony.franklin@farmersinsurance.com; Sonjhia Lowery; Wells,Katherine; Faith E Ross; Liz Chacon; Lou Zweier;
                Pedro Toledo; Ramona Faith; johana@petalumapeople.org; Hanan Huneidi; fabian2003romo@gmail.com;
                risatgreen@icloud.com; Ann Daniels; Sustainable Farming; Julia Mayne; bigpoppavfx@gmail.com;
                jbrunner@waughsd.org; -- City Council; Danly, Eric; Savano, Ken; Tracey Webb; Zavala, Aaron; Alverde, Ingrid;
                Medina, Jessica
Subject:        RE: Council message to City Ad Hoc Community Advisory Committee
Date:           Friday, June 11, 2021 2:33:03 PM
Attachments:    image003.png


Hi Zahyra—please see responses below in blue.

Peggy Flynn, City Manager
City of Petaluma | 11 English Street, Petaluma, CA 94952
Direct 707.776.3765 | Office 707.778.4345
City Hall is open M-Th; closed Fridays




From: Zahyra Garcia <zahyragarcia@gmail.com>
Sent: Thursday, June 10, 2021 4:52 PM
To: Flynn, Peggy <PFlynn@cityofpetaluma.org>
Cc: joe_sturdivant@sbcglobal.net; Rabbi Ted Feldman <rabbi@bnaiisrael.net>; acruz@cots.org;
Kinyatta Leonhardt <mkinyatta@gmail.com>; erinmichellewilkins@gmail.com; Joanna Paun
<joannapaun@gmail.com>; Stefan Perez <stefan@socovideography.com>; Eric Leland
<eric@fivepaths.com>; Sadie Martinez <sadiemartinez13@gmail.com>; Mark Scott
<Mark@northbayanimalservices.org>; anthony.franklin@farmersinsurance.com; Sonjhia Lowery
<slowery@oldadobe.org>; Wells,Katherine <Katherine.Wells@edwardjones.com>; Faith E Ross
<missross-056@comcast.net>; Liz Chacon <lchacon@petk12.org>; Lou Zweier
<lou.zweier@gmail.com>; Pedro Toledo <pedrot@phealthcenter.org>; Ramona Faith
<rfaith@phcd.org>; johana@petalumapeople.org; Hanan Huneidi <hhuneidi@gmail.com>;
fabian2003romo@gmail.com; risatgreen@icloud.com; Ann Daniels <adanielshi@gmail.com>;
Sustainable Farming <farminglocal@gmail.com>; Julia Mayne <jmayne@svhs-pet.org>;
bigpoppavfx@gmail.com; jbrunner@waughsd.org; -- City Council <--
CityCouncil@cityofpetaluma.org>; Danly, Eric <EDanly@cityofpetaluma.org>; Savano, Ken
<KSavano@cityofpetaluma.org>; Tracey Webb <traceyewebb@gmail.com>; Zavala, Aaron
<azavala@cityofpetaluma.org>; Alverde, Ingrid <IAlverde@cityofpetaluma.org>; Medina, Jessica
<jmedina@cityofpetaluma.org>
Subject: Re: Council message to City Ad Hoc Community Advisory Committee

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE OUR EMAIL
SYSTEM.---
Thanks for the following statement. I have a few questions.
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   1. 1. Why were there only three signatures on this letter ? The letter is signed by 3 Council
      members because if four or more signed it, that would constitute a quorum of the Council,
      making the signing of the letter subject to the Brown Act and requiring it to be signed at a
      public meeting. With only three City Council member signatures the letter could be issued
      prior to the June 15 AHCAC meeting.


2. Given that we should anticipate public comment, could we do that at the beginning of the
meeting?
- Think we owe it to our community to hear them out since there was no discussion at either city
council meeting. Tracey will lead a discussion about the AHCAC communications we’ve received and
the Council's letter at the beginning of the meeting, and public comment is agenized at the end, as
was established by the AHCAC at our first meeting.


        3. Will we have an opportunity to discuss this in a closed session ? As was noted when we
        provided the Brown Act training, none of the very limited closed session authorizations apply
        to the business or jurisdiction of the AHCAC.



I feel like this letter addresses both the wrong reason and the wrong standard for removing an
adhoc member. It doesn’t even have to be about proving that someone supports white supremacy.

As for the standard…
Chad Loder Twitter identifying an adhoc member is not based on inference and innuendo. I’d say
that’s at least reasonable suspicion, or even probably cause.

Secondarily, does the city even need incontrovertible evidence to remove?

I understand that the city and consultant are taking precautions and protecting their reputation for a
lot of reasons, but our adhoc committee is to protect human lives by improving race relations and
creating a civilian oversight.

As a queer woman of color who has been a target by white supremacy in Petaluma. It is our
responsibility as a committee to understand the lives that have been lost due to lack of policies, lack
of transparency, lack of accountability, lack or proper trainings to fight against systemic racism
embedded in white supremacy culture that pours into our police , city and justice system.

Appreciate having this being probably the only opportunity to bring my authentic self. To say that I
feel safe is an understatement.

"I have come to believe over and over again that what is most important to me must be spoken,
made verbal and shared, even at the risk of having it bruised or misunderstood. That the
speaking profits me, beyond any other effect. I am standing here as a Black lesbian poet, and the
meaning of all that waits upon the fact that I am still alive, and might not have been." - Audre
Lorde
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Warm regards,


On Wed, Jun 9, 2021, 9:58 PM Flynn, Peggy <PFlynn@cityofpetaluma.org> wrote:

  Dear Ad Hoc Community Advisory Committee Members--attached is a message from our
  City Council regarding recent events and concerns raised by some of you as well as some
  members of our community. Additionally, below is a message to you from our facilitator,
  Tracey Webb. Please reach out if you have questions.



  Together in service,

  Peggy

  Peggy Flynn, City Manager
  City of Petaluma | 11 English Street, Petaluma, CA 94952
  Direct 707.776.3765 | Office 707.778.4345
  City Hall is open M-Th; closed Fridays




  -----Original Message-----
  From: Tracey Webb traceyewebb@gmail.com
  Sent: Tuesday, June 8, 2021 11:12 AM
  To: Flynn, Peggy PFlynn@cityofpetaluma.org
  Subject: AHCAC Member Communication



  Greetings All:



  I have not responded to the emails and entreaties for communication from committee
  members because we needed to review all of the correspondence. A measured and well-
  considered response is required.



  1. White supremacy will be called out and has no place in the critical work of this
  committee. As a Black woman who has been the subject of white supremacist hate, I will
  tell you that I would insist that the City remove a member if there was clear proof that the
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person supports hate. To that end, a review of a certain member’s purported affiliations
does not rise to incontrovertible facts. We truly have no idea of an individual’s affiliations
unless their direct conduct demonstrates belief in any form of hate that is antithetical to the
purpose of this group. At this point, the accusations are based upon inference and
innuendo. I am not purporting that we protect white supremacists. I am stating that we
have to be fair and have proof before we remove anyone based upon supposition. For too
many years in this country people of color have been subject to persecution based upon
innuendo and loose “facts”. We cannot remove a committee member based upon innuendo.



2. This work is about having difficult conversations with people with whom we might
disagree, even vehemently. These discussions should be based upon the subject of our work
during the meeting, and not on social media.



3. The integrity of this process will remain in tact because we will be fair. Our recent
silence was due to legal considerations and protection of everyone’s constitutional rights.
We had to consider all of the information presented.



4. We need to focus on the substance of this work. AHCAC members proffered over 140
ideas for recommendations for the Council under our current topic of community
engagement. I have grouped those suggestions into ten mega buckets, which we will
discuss in depth at the June 15 session. We will have our first set of recommendations by
the end of our June meeting.



5. Finally, if your goal is to truly work together on this committee to move Petaluma’s race
relations forward, you are so welcomed and appreciated. If your goal is to disrupt the
process and to de-legitimize the collective effort, then perhaps your time is best allocated to
other efforts. I would hope that the entire AHCAC remains in tact, but I will respect and
understand if members feel that they need to remove themselves from the work of this
group.



Thank you again for your time. Please stay safe and well.



Tracey Webb

Tracey Elizabeth Webb Associates
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From:           Stefan Perez
To:             Anthony Franklin
Cc:             Flynn, Peggy; Zahyra Garcia; joe_sturdivant@sbcglobal.net; rabbi@bnaiisrael.net; acruz@cots.org;
                mkinyatta@gmail.com; erinmichellewilkins@gmail.com; joannapaun@gmail.com; eric@fivepaths.com;
                sadiemsrtinez13@gmail.com; Mark@northbayanimalservices.org; slowery@oldadobe.org; Wells,Katherine; Faith
                Ross; Lou Zweier; lchacon@pet12.org; pedrot@petalumahealthcenter.org; rfaith@phcd.org;
                johana@petalumapeople.org; hhuneidi@gmail.com; fabian2003romo@gmail.com; adaniels@gmail.com;
                farminlocal@gmail.com; jmayne@svhs-pet.org; Zavala, Aaron; Alverde, Ingrid; Medina, Jessica; -- City Council
Subject:        Re: Council message to City Ad Hoc Community Advisory Committee
Date:           Tuesday, July 6, 2021 3:41:24 PM
Attachments:    image003.png


---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
OUR EMAIL SYSTEM.---
Hello members of the AHCAC,

After much deliberation with friends, family, city staff, and with my own thoughts I've come
to a decision regarding my status on the committee. I will not resign from this committee and I
wish to continue to have my voice heard. I understand that some of you may have questions
about the jokes that I've made online or the false accusations about my character. That is why I
invite anyone who wishes to have a good faith conversation about how you might be feeling to
email me directly. We have a very limited time to work during our meetings and I hope to
remedy any distractions beforehand. It was never my intention to divert attention away from
the work of this body but unfortunately outside grudges are being put front and center to the
detriment of Petaluma.

If I was the only committee member being targeted to step down I would consider resigning to
avoid further disruption. However, it has become obvious to me that I would not be the last
member to face this same kind of coordinated removal and I do not wish to set a precedent for
the effectiveness of this type of harassment.

I would like to end by highlighting some of Tracey's rules of engagement that we all agreed to.

"-The AHCAC is not the stage for public theater.
[...] It will be very hard for the group to produce a serious blueprint for change if the main
focus becomes management of interpersonal conflict.
-This work is critical for the health of the Petaluma community. We all have to work hard to
express our concerns in a manner that is authentic but that does not devolve into personal
attacks."

Thank you all for taking the time to read this,
-Stefan

On Tue, Jun 15, 2021 at 12:06 PM Anthony Franklin <anthonydfranklin@aol.com> wrote:

  Thank you for your responses.

  It is unfortunate that the information provided and the concerns raised did not result in
  further action being taken. We all should have the right to disagree and speak freely. He is
  entitled to his opinion. What I do not understand is how he will benefit this work or make
  people feel safe.

  It would appear his views are in direct opposition to this work. It appears we are more
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worried about his safety and rights. It is one thing to have opposing views, we should, it’s
another thing to have the viewpoints that have been attributed to him.

Can you at least tell us that he had denied the allegations? That you did some sort of
investigation?

We can and should do better!

Anthony Franklin
Petaluma Resident




      From: Flynn, Peggy <PFlynn@cityofpetaluma.org>
      Sent: Friday, June 11, 2021 2:33 PM
      To: Zahyra Garcia <zahyragarcia@gmail.com>
      Cc: joe_sturdivant@sbcglobal.net; Rabbi Ted Feldman <rabbi@bnaiisrael.net>;
      acruz@cots.org; Kinyatta Leonhardt <mkinyatta@gmail.com>;
      erinmichellewilkins@gmail.com; Joanna Paun <joannapaun@gmail.com>;
      Stefan Perez <stefan@socovideography.com>; Eric Leland
      <eric@fivepaths.com>; Sadie Martinez <sadiemartinez13@gmail.com>; Mark
      Scott <Mark@northbayanimalservices.org>; Anthony Franklin
      <anthony.franklin@farmersinsurance.com>; Sonjhia Lowery
      <slowery@oldadobe.org>; Wells,Katherine
      <Katherine.Wells@edwardjones.com>; Faith E Ross <missross-
      056@comcast.net>; Liz Chacon <lchacon@petk12.org>; Lou Zweier
      <lou.zweier@gmail.com>; Pedro Toledo <pedrot@phealthcenter.org>; Ramona
      Faith <rfaith@phcd.org>; johana@petalumapeople.org; Hanan Huneidi
      <hhuneidi@gmail.com>; fabian2003romo@gmail.com;
      risatgreen@icloud.com; Ann Daniels <adanielshi@gmail.com>; Sustainable
      Farming <farminglocal@gmail.com>; Julia Mayne <jmayne@svhs-pet.org>;
      bigpoppavfx@gmail.com; jbrunner@waughsd.org; -- City Council <-
      -CityCouncil@cityofpetaluma.org>; Danly, Eric
      <EDanly@cityofpetaluma.org>; Savano, Ken <KSavano@cityofpetaluma.org>;
      Tracey Webb <traceyewebb@gmail.com>; Zavala, Aaron
      <azavala@cityofpetaluma.org>; Alverde, Ingrid
      <IAlverde@cityofpetaluma.org>; Medina, Jessica
      <jmedina@cityofpetaluma.org>
      Subject: [EXTERNAL] RE: Council message to City Ad Hoc Community
      Advisory Committee



      Hi Zahyra—please see responses below in blue.



      Peggy Flynn, City Manager
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 City of Petaluma | 11 English Street, Petaluma, CA 94952

 Direct 707.776.3765 | Office 707.778.4345

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 From: Zahyra Garcia <zahyragarcia@gmail.com>
 Sent: Thursday, June 10, 2021 4:52 PM
 To: Flynn, Peggy <PFlynn@cityofpetaluma.org>
 Cc: joe_sturdivant@sbcglobal.net; Rabbi Ted Feldman <rabbi@bnaiisrael.net>;
 acruz@cots.org; Kinyatta Leonhardt <mkinyatta@gmail.com>;
 erinmichellewilkins@gmail.com; Joanna Paun <joannapaun@gmail.com>;
 Stefan Perez <stefan@socovideography.com>; Eric Leland
 <eric@fivepaths.com>; Sadie Martinez <sadiemartinez13@gmail.com>; Mark
 Scott <Mark@northbayanimalservices.org>;
 anthony.franklin@farmersinsurance.com; Sonjhia Lowery
 <slowery@oldadobe.org>; Wells,Katherine
 <Katherine.Wells@edwardjones.com>; Faith E Ross <missross-
 056@comcast.net>; Liz Chacon <lchacon@petk12.org>; Lou Zweier
 <lou.zweier@gmail.com>; Pedro Toledo <pedrot@phealthcenter.org>; Ramona
 Faith <rfaith@phcd.org>; johana@petalumapeople.org; Hanan Huneidi
 <hhuneidi@gmail.com>; fabian2003romo@gmail.com;
 risatgreen@icloud.com; Ann Daniels <adanielshi@gmail.com>; Sustainable
 Farming <farminglocal@gmail.com>; Julia Mayne <jmayne@svhs-pet.org>;
 bigpoppavfx@gmail.com; jbrunner@waughsd.org; -- City Council <--
 CityCouncil@cityofpetaluma.org>; Danly, Eric
 <EDanly@cityofpetaluma.org>; Savano, Ken <KSavano@cityofpetaluma.org>;
 Tracey Webb <traceyewebb@gmail.com>; Zavala, Aaron
 <azavala@cityofpetaluma.org>; Alverde, Ingrid
 <IAlverde@cityofpetaluma.org>; Medina, Jessica
 <jmedina@cityofpetaluma.org>
 Subject: Re: Council message to City Ad Hoc Community Advisory
 Committee



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 Thanks for the following statement. I have a few questions.
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    1. 1. Why were there only three signatures on this letter ? The letter is
       signed by 3 Council members because if four or more signed it, that
       would constitute a quorum of the Council, making the signing of the
       letter subject to the Brown Act and requiring it to be signed at a public
       meeting. With only three City Council member signatures the letter
       could be issued prior to the June 15 AHCAC meeting.




 2. Given that we should anticipate public comment, could we do that at the
 beginning of the meeting?

 - Think we owe it to our community to hear them out since there was no
 discussion at either city council meeting. Tracey will lead a discussion about the
 AHCAC communications we’ve received and the Council's letter at the
 beginning of the meeting, and public comment is agenized at the end, as was
 established by the AHCAC at our first meeting.



        3. Will we have an opportunity to discuss this in a closed session ? As
        was noted when we provided the Brown Act training, none of the very
        limited closed session authorizations apply to the business or
        jurisdiction of the AHCAC.




 I feel like this letter addresses both the wrong reason and the wrong standard for
 removing an adhoc member. It doesn’t even have to be about proving that
 someone supports white supremacy.



 As for the standard…

 Chad Loder Twitter identifying an adhoc member is not based on inference and
 innuendo. I’d say that’s at least reasonable suspicion, or even probably cause.



 Secondarily, does the city even need incontrovertible evidence to remove?



 I understand that the city and consultant are taking precautions and protecting
 their reputation for a lot of reasons, but our adhoc committee is to protect
 human lives by improving race relations and creating a civilian oversight.
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 As a queer woman of color who has been a target by white supremacy in
 Petaluma. It is our responsibility as a committee to understand the lives that
 have been lost due to lack of policies, lack of transparency, lack of
 accountability, lack or proper trainings to fight against systemic racism
 embedded in white supremacy culture that pours into our police , city and
 justice system.



 Appreciate having this being probably the only opportunity to bring my
 authentic self. To say that I feel safe is an understatement.



 "I have come to believe over and over again that what is most important to me
 must be spoken, made verbal and shared, even at the risk of having it bruised
 or misunderstood. That the speaking profits me, beyond any other effect. I am
 standing here as a Black lesbian poet, and the meaning of all that waits upon
 the fact that I am still alive, and might not have been." - Audre Lorde



 Warm regards,




 On Wed, Jun 9, 2021, 9:58 PM Flynn, Peggy <PFlynn@cityofpetaluma.org>
 wrote:

   Dear Ad Hoc Community Advisory Committee Members--attached is a
   message from our City Council regarding recent events and concerns raised
   by some of you as well as some members of our community. Additionally,
   below is a message to you from our facilitator, Tracey Webb. Please reach
   out if you have questions.



   Together in service,

   Peggy



   Peggy Flynn, City Manager

   City of Petaluma | 11 English Street, Petaluma, CA 94952

   Direct 707.776.3765 | Office 707.778.4345
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   -----Original Message-----
   From: Tracey Webb traceyewebb@gmail.com
   Sent: Tuesday, June 8, 2021 11:12 AM
   To: Flynn, Peggy PFlynn@cityofpetaluma.org
   Subject: AHCAC Member Communication



   Greetings All:



   I have not responded to the emails and entreaties for communication from
   committee members because we needed to review all of the correspondence.
   A measured and well-considered response is required.



   1. White supremacy will be called out and has no place in the critical work of
   this committee. As a Black woman who has been the subject of white
   supremacist hate, I will tell you that I would insist that the City remove a
   member if there was clear proof that the person supports hate. To that end, a
   review of a certain member’s purported affiliations does not rise to
   incontrovertible facts. We truly have no idea of an individual’s affiliations
   unless their direct conduct demonstrates belief in any form of hate that is
   antithetical to the purpose of this group. At this point, the accusations are
   based upon inference and innuendo. I am not purporting that we protect
   white supremacists. I am stating that we have to be fair and have proof
   before we remove anyone based upon supposition. For too many years in this
   country people of color have been subject to persecution based upon
   innuendo and loose “facts”. We cannot remove a committee member based
   upon innuendo.



   2. This work is about having difficult conversations with people with whom
   we might disagree, even vehemently. These discussions should be based
   upon the subject of our work during the meeting, and not on social media.
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        3. The integrity of this process will remain in tact because we will be fair.
        Our recent silence was due to legal considerations and protection of
        everyone’s constitutional rights. We had to consider all of the information
        presented.



        4. We need to focus on the substance of this work. AHCAC members
        proffered over 140 ideas for recommendations for the Council under our
        current topic of community engagement. I have grouped those suggestions
        into ten mega buckets, which we will discuss in depth at the June 15 session.
        We will have our first set of recommendations by the end of our June
        meeting.



        5. Finally, if your goal is to truly work together on this committee to move
        Petaluma’s race relations forward, you are so welcomed and appreciated. If
        your goal is to disrupt the process and to de-legitimize the collective effort,
        then perhaps your time is best allocated to other efforts. I would hope that
        the entire AHCAC remains in tact, but I will respect and understand if
        members feel that they need to remove themselves from the work of this
        group.



        Thank you again for your time. Please stay safe and well.



        Tracey Webb

        Tracey Elizabeth Webb Associates



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      Thank you.*****



--
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    Stefan Perez
    videographer/ editor
    socovideography.com
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From:           Eric J. Adams
To:             Flynn, Peggy; Barrett,Teresa; Barnacle, Brian; Pocekay, Dennis; Fischer, D"Lynda; Healy, Mike; King, Dave;
                McDonnell, Kevin
Subject:        Regarding Stefan Perez
Date:           Monday, June 21, 2021 11:21:33 AM
Attachments:    PastedGraphic-3.tiff


---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
OUR EMAIL SYSTEM.---
Greetings Petaluma Council Members,

I am a professor of screenwriting at SRJC, a film producer, screenwriter, author, and former
investigative journalist. I have lived and worked in the Petaluma area for 31 years. I have
served on the boards of the Petaluma Art Center, Petaluma Community Access, and Sonoma
County Juvenile Justice Commission.

I completed a Masters of Arts program at Sonoma State University alongside Stefan Perez. I
produced a short film that he directed. Over the course of this time, I have spent many hours
with Stefan and have come to know him well. I found Stefan to be funny, sarcastic,
intellectual and creative. Never did I hear him express racist or white supremacist views. On
the contrary, I understand Stefan to be a defender of human rights and equality for all.

I applaud your decision not to remove Stefan from his committee post and urge you to stand
firm.

Very best,

e/a


Eric J. Adams | Sleeperwave Films | eric@sleeperwave.com | O: 707.794.9908 | M: 310.562.7373 |
Skype: sleeperwave | www.sleeperwave.com | IMDB | Linkedin
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From:            King, Dave
To:              Pascoe, Samantha
Subject:         Fw: 7/12 Council meeting
Date:            Tuesday, July 27, 2021 11:51:53 AM
Attachments:     image004.png
                 image007.png




From: Flynn, Peggy <PFlynn@cityofpetaluma.org>
Sent: Wednesday, July 7, 2021 3:42 PM
Cc: -- City Council <--CityCouncil@cityofpetaluma.org>; Danly, Eric <EDanly@cityofpetaluma.org>;
Savano, Ken <KSavano@cityofpetaluma.org>; Tracey Webb <traceyewebb@gmail.com>
Subject: 7/12 Council meeting

Dear AHCAC members—please see agenda item, including the resolution, below for the 7/12 Council
meeting removing Mr. Perez’s seat on the Committee:

     Resolution Amending Resolution No. 2021-035 N.C.S. and Abolishing a Seat on Ad
     Hoc Community Advisory Committee (Danly)

3.F - AHCAC


Peggy Flynn, City Manager
City of Petaluma | 11 English Street, Petaluma, CA 94952
Direct 707.776.3765 | Office 707.778.4345
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Petaluma is in a drought. There are
many programs and incentives
to help you conserve water! Learn
more HERE.
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From:            King, Dave
To:              Pascoe, Samantha
Subject:         Fw: Agenda Item
Date:            Tuesday, July 27, 2021 11:48:30 AM




From: Erin Chmielewski <erin4wmh@gmail.com>
Sent: Friday, June 4, 2021 4:24 PM
To: King, Dave <dking@cityofpetaluma.org>; Healy, Mike <mhealy@cityofpetaluma.org>; Barnacle,
Brian <bbarnacle@cityofpetaluma.org>; Fischer, D'Lynda <dfischer@cityofpetaluma.org>; Pocekay,
Dennis <dpocekay@cityofpetaluma.org>; McDonnell, Kevin <kmcdonnell@cityofpetaluma.org>;
Barrett,Teresa <tbarrett@cityofpetaluma.org>; Flynn, Peggy <PFlynn@cityofpetaluma.org>; -- City
Clerk <CityClerk@cityofpetaluma.org>
Subject: Agenda Item

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
OUR EMAIL SYSTEM.---
Good Evening Mayor, City Council & City Manager,

We, North Bay Organizing Project, urge you to agendize the removal of Stefan Perez from the Ad Hoc
Community Advisory Committee for the upcoming meeting on June 7. It has become apparent that his
presence jeopardizes the safety of the other members.

Respectfully,

Erin Chmielewski
Pronouns: She/Her
Chair North Bay Organizing Project Petaluma
707-480-0636
       Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 58 of 175


From:              King, Dave
To:                Pascoe, Samantha
Subject:           Fw: AHCAC Homework for August 17 Meeting
Date:              Tuesday, July 27, 2021 12:06:12 PM




From: Flynn, Peggy <PFlynn@cityofpetaluma.org>
Sent: Sunday, July 25, 2021 4:22 PM
To: -- City Council <--CityCouncil@cityofpetaluma.org>
Subject: AHCAC Homework for August 17 Meeting

fyi


Peggy Flynn
City Manager
City of Petaluma | City Manager's
Office
office. (707) 778-4345 |
PFlynn@cityofpetaluma.org
11 English St, Petaluma, 94952




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Begin forwarded message:


       From: Ann Daniels <adanielshi@gmail.com>
       Date: July 25, 2021 at 4:13:00 PM PDT
       To: "Zavala, Aaron" <azavala@cityofpetaluma.org>
       Cc: "Alverde, Ingrid" <IAlverde@cityofpetaluma.org>, "Danly, Eric"
       <EDanly@cityofpetaluma.org>, "Flynn, Peggy" <PFlynn@cityofpetaluma.org>,
       "Savano, Ken" <KSavano@cityofpetaluma.org>, "Terry, Suzanne"
       <STerry@cityofpetaluma.org>, Tracey Webb <traceyewebb@gmail.com>
       Subject: Re: AHCAC Homework for August 17 Meeting


       ---Warning: Use caution before clicking any attachments. THIS EMAIL IS
       FROM OUTSIDE OUR EMAIL SYSTEM.---
       Hello Aaron & All,
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I regret to write you all that I will not continue with this committee. My
personal life commitments have grown including a new job and a longer
commute since the start of this committee - in addition, to this, my true feeling
as this Ad Hoc committee has become a spinning of the wheels. I am in full
support of the city commissioning a standing committee with actual power and
a specific focus of civilian oversight which was what my initial intention joining
the listening circles organizing committee.

All the best - if I did have room in my life, I would see through the
commitment for the finality, but like I said, I don't have the space or time to
continue on what is turning into a runaround.

thanks,
Ann-Marie Daniels

On Fri, Jul 23, 2021 at 12:31 PM Zavala, Aaron <azavala@cityofpetaluma.org>
wrote:
 Good Afternoon,

  Please see below email from Tracey on the homework for the August 17th
  meeting, along with attachments.

  Greetings AHCAC Members:

  I hope that this email finds each of you well. I want to thank you for the
  incredible focus and energy that was displayed during our July 20 session. We
  are marching toward our goal of producing a series of recommendations for the
  council by the end of our time together in September.

  You will please find attached to this email four items:

  1) Scan 1 of the homework assignment from members that was submitted by
  7.22. Please note that some people asked for anonymity, some asked that their
  work not be included, and not everyone completed the assignment.

  2) Scan 2 of the homework assignment from members that was submitted by
  7.22.

  3) The homework assignment for 8.17 with item #1 (schools)

  4) The homework assignment for 8.17 for item #2 (multicultural center)

  - Please complete the assignment and email both Word docs back to me by
  Friday, July 30, otherwise I will not be able to include your data in the affinity
  diagram.. Please use my email: traceyewebb@gmail.com and use the
  subject: AHCAC Homework 8.17 (Last Name). I will then create two affinity
  diagrams that summarize what you all have sent in. We will consider each of
  the two topics separately, so please have a copy of your homework handy
  during our meeting on 8.17.
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 -You have really come together as a committee! I am honored to help usher the
 process along because I see the dedication and commitment displayed by each
 of you. Thank you, thank you, thank you!

 Toward a bright and an equitable path forward for Petaluma!

 Tracey
 traceyewebb@gmail.com
 510-912-4763

 Thank you for your time and consideration.

 Best Regards,
 Aaron

 Aaron Zavala, MPA,
 MUP
 Senior Management Analyst
 City of Petaluma | Public Works
 and Utilities
 office. 707-778-4495 |
 azavala@cityofpetaluma.org




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 HERE.
       Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 61 of 175


From:           King, Dave
To:             Pascoe, Samantha
Subject:        Fw: City Council Public Comment
Date:           Tuesday, July 27, 2021 11:52:10 AM




From: West Below <westred100@protonmail.ch>
Sent: Monday, July 12, 2021 5:21 PM
To: Pocekay, Dennis <dpocekay@cityofpetaluma.org>; Barrett,Teresa
<tbarrett@cityofpetaluma.org>; Barnacle, Brian <bbarnacle@cityofpetaluma.org>; Fischer, D'Lynda
<dfischer@cityofpetaluma.org>; Healy, Mike <mhealy@cityofpetaluma.org>; King, Dave
<dking@cityofpetaluma.org>; McDonnell, Kevin <kmcdonnell@cityofpetaluma.org>; -- City Clerk
<CityClerk@cityofpetaluma.org>; Flynn, Peggy <PFlynn@cityofpetaluma.org>
Subject: City Council Public Comment

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
OUR EMAIL SYSTEM.---
I am called here today, both by God and by my conscience, to once again speak the
truth about Stefan Perez. Stefan Perez is someone I have had the pleasure of getting
to know personally. Sadly, however, there have been attempts to defame his
character, which culminate in today’s agenda. In section 3F, an inconspicuously
worded item in the Consent Calendar, which hosts no discussion about the issue and
has it voted on with five other items at once, not only terminated his position on the
Ad Hoc Committee for police oversight, but abolishes his seat entirely, lest the public
remember that he used to sit there.
Stefan has done an excellent job so far on the committee, in part because he does
not serve any groups of special interest. Every meeting, he arrives, sits down at his
chair, and discusses what he thinks is right, not what his boss or organization would
profit from. He cares about Petaluma. Anyone who knows Mr. Perez would also know
that these allegations against him are bogus, unfounded malarkey.
Furthermore, why is this council removing a seat - on the grounds that the native man
who serves on it, is a White Supremacist – as a mere consent calendar item? Surely
something so important and controversial would have a discussion on this, right? This
action clearly shows a lack of transparency in the council, and lack of transparency
begets lack of trust. This action displays for all to see that many members of this
council that they are not serving the people of Petaluma, as they promised; nor the
constitution, as they sworn an Oath, but rather organizations like indivisible Petaluma,
that claims to fight racism yet merely adds more to the fire.
Lastly, Indivisible Petaluma (you may not see it but I’m putting big air quotes around
the word “Indivisible”) casting doubt on Mr. Perez’s heritage is a tired and racist tactic
that has been used through history to silence indigenous voices. I call on the
members of the council to open this up from a consent calendar item to new
business, so they may explain why they are removing this man from a committee he
was appointed to. Thank you.

Sincerely,
West Below

Sent with ProtonMail Secure Email.
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From:           King, Dave
To:             Pascoe, Samantha
Subject:        Fw: Comment for tomorrow night"s AHCAC meeting
Date:           Tuesday, July 27, 2021 11:49:26 AM




From: Ellen <obwho@aol.com>
Sent: Monday, June 14, 2021 12:54 PM
To: Terry, Suzanne <STerry@cityofpetaluma.org>
Cc: Barrett,Teresa <tbarrett@cityofpetaluma.org>; Barnacle, Brian
<bbarnacle@cityofpetaluma.org>; Fischer, D'Lynda <dfischer@cityofpetaluma.org>; Pocekay, Dennis
<dpocekay@cityofpetaluma.org>; McDonnell, Kevin <kmcdonnell@cityofpetaluma.org>; King, Dave
<dking@cityofpetaluma.org>; Healy, Mike <mhealy@cityofpetaluma.org>; Danly, Eric
<EDanly@cityofpetaluma.org>; Flynn, Peggy <PFlynn@cityofpetaluma.org>
Subject: Comment for tomorrow night's AHCAC meeting

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OUR EMAIL SYSTEM.---
Thank you for submitting it to the committee -

To Tracey Webb and members of the committee

I am disappointed the City Council did not remove Stefan Perez from this committee. I would
have thought evidence of his being associated with a white nationalist group and posting racist
statements on social media would be enough to remove him from a committee tasked “to
study and discuss issues contributing to community members not feeling safe or welcome in
Petaluma and to develop recommendations to improve diversity, equity, and inclusion in our
city.” (https://cityofpetaluma.org/ad-hoc-community-advisory-committee/) The City has said
it may not regulate Mr. Perez’s speech or participation in the AHCAC based on protected
speech. But the First Amendment protects government employees and volunteers from
retaliation for their speech only if they spoke/wrote as private community members on matters
of “public concern” and their interest in commenting on such matters outweighs the city’s
interest in promoting the efficiency of the public services it performs. Speech is considered to
be a matter of public concern if it relates to political, social or community issues, or about how
government is functioning. Mr. Perez’s speech likely did not involve a matter of public
concern and even if it did, Petaluma’s interest in having an effective AHCAC should outweigh
Mr. Perez’ interests.

It also seems the council is more concerned about “speculation and attacks” against Mr. Perez
than the possibility that the committee has among its members a person who is antagonistic to
the committee’s mission. I know the city has been focusing on Mr. Perez’ free speech rights
but applying the test laid out above, it is the speech of the people raising valid concerns about
his being on the committee that should be receiving protection.

I wholeheartedly support the committee’s mission. I hope you will find a way to prevent Mr.
Perez from sabotaging the essential work that lies ahead.

Thank you,
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Ellen Obstler
       Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 64 of 175


From:           King, Dave
To:             Pascoe, Samantha
Subject:        Fw: Council message to City Ad Hoc Community Advisory Committee
Date:           Tuesday, July 27, 2021 11:49:01 AM
Attachments:    image003.png




From: Flynn, Peggy <PFlynn@cityofpetaluma.org>
Sent: Friday, June 11, 2021 2:32 PM
To: Zahyra Garcia <zahyragarcia@gmail.com>
Cc: joe_sturdivant@sbcglobal.net <joe_sturdivant@sbcglobal.net>; Rabbi Ted Feldman
<rabbi@bnaiisrael.net>; acruz@cots.org <acruz@cots.org>; Kinyatta Leonhardt
<mkinyatta@gmail.com>; erinmichellewilkins@gmail.com <erinmichellewilkins@gmail.com>; Joanna
Paun <joannapaun@gmail.com>; Stefan Perez <stefan@socovideography.com>; Eric Leland
<eric@fivepaths.com>; Sadie Martinez <sadiemartinez13@gmail.com>; Mark Scott
<Mark@northbayanimalservices.org>; anthony.franklin@farmersinsurance.com
<anthony.franklin@farmersinsurance.com>; Sonjhia Lowery <slowery@oldadobe.org>;
Wells,Katherine <Katherine.Wells@edwardjones.com>; Faith E Ross <missross-056@comcast.net>;
Liz Chacon <lchacon@petk12.org>; Lou Zweier <lou.zweier@gmail.com>; Pedro Toledo
<pedrot@phealthcenter.org>; Ramona Faith <rfaith@phcd.org>; johana@petalumapeople.org
<johana@petalumapeople.org>; Hanan Huneidi <hhuneidi@gmail.com>;
fabian2003romo@gmail.com <fabian2003romo@gmail.com>; risatgreen@icloud.com
<risatgreen@icloud.com>; Ann Daniels <adanielshi@gmail.com>; Sustainable Farming
<farminglocal@gmail.com>; Julia Mayne <jmayne@svhs-pet.org>; bigpoppavfx@gmail.com
<bigpoppavfx@gmail.com>; jbrunner@waughsd.org <jbrunner@waughsd.org>; -- City Council <--
CityCouncil@cityofpetaluma.org>; Danly, Eric <EDanly@cityofpetaluma.org>; Savano, Ken
<KSavano@cityofpetaluma.org>; Tracey Webb <traceyewebb@gmail.com>; Zavala, Aaron
<azavala@cityofpetaluma.org>; Alverde, Ingrid <IAlverde@cityofpetaluma.org>; Medina, Jessica
<jmedina@cityofpetaluma.org>
Subject: RE: Council message to City Ad Hoc Community Advisory Committee

Hi Zahyra—please see responses below in blue.

Peggy Flynn, City Manager
City of Petaluma | 11 English Street, Petaluma, CA 94952
Direct 707.776.3765 | Office 707.778.4345
City Hall is open M-Th; closed Fridays




From: Zahyra Garcia <zahyragarcia@gmail.com>
Sent: Thursday, June 10, 2021 4:52 PM
To: Flynn, Peggy <PFlynn@cityofpetaluma.org>
       Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 65 of 175


Cc: joe_sturdivant@sbcglobal.net; Rabbi Ted Feldman <rabbi@bnaiisrael.net>; acruz@cots.org;
Kinyatta Leonhardt <mkinyatta@gmail.com>; erinmichellewilkins@gmail.com; Joanna Paun
<joannapaun@gmail.com>; Stefan Perez <stefan@socovideography.com>; Eric Leland
<eric@fivepaths.com>; Sadie Martinez <sadiemartinez13@gmail.com>; Mark Scott
<Mark@northbayanimalservices.org>; anthony.franklin@farmersinsurance.com; Sonjhia Lowery
<slowery@oldadobe.org>; Wells,Katherine <Katherine.Wells@edwardjones.com>; Faith E Ross
<missross-056@comcast.net>; Liz Chacon <lchacon@petk12.org>; Lou Zweier
<lou.zweier@gmail.com>; Pedro Toledo <pedrot@phealthcenter.org>; Ramona Faith
<rfaith@phcd.org>; johana@petalumapeople.org; Hanan Huneidi <hhuneidi@gmail.com>;
fabian2003romo@gmail.com; risatgreen@icloud.com; Ann Daniels <adanielshi@gmail.com>;
Sustainable Farming <farminglocal@gmail.com>; Julia Mayne <jmayne@svhs-pet.org>;
bigpoppavfx@gmail.com; jbrunner@waughsd.org; -- City Council <--
CityCouncil@cityofpetaluma.org>; Danly, Eric <EDanly@cityofpetaluma.org>; Savano, Ken
<KSavano@cityofpetaluma.org>; Tracey Webb <traceyewebb@gmail.com>; Zavala, Aaron
<azavala@cityofpetaluma.org>; Alverde, Ingrid <IAlverde@cityofpetaluma.org>; Medina, Jessica
<jmedina@cityofpetaluma.org>
Subject: Re: Council message to City Ad Hoc Community Advisory Committee

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE OUR EMAIL
SYSTEM.---
Thanks for the following statement. I have a few questions.

   1. 1. Why were there only three signatures on this letter ? The letter is signed by 3 Council
      members because if four or more signed it, that would constitute a quorum of the Council,
      making the signing of the letter subject to the Brown Act and requiring it to be signed at a
      public meeting. With only three City Council member signatures the letter could be issued
      prior to the June 15 AHCAC meeting.


2. Given that we should anticipate public comment, could we do that at the beginning of the
meeting?
- Think we owe it to our community to hear them out since there was no discussion at either city
council meeting. Tracey will lead a discussion about the AHCAC communications we’ve received and
the Council's letter at the beginning of the meeting, and public comment is agenized at the end, as
was established by the AHCAC at our first meeting.

       3. Will we have an opportunity to discuss this in a closed session ? As was noted when we
       provided the Brown Act training, none of the very limited closed session authorizations apply
       to the business or jurisdiction of the AHCAC.



I feel like this letter addresses both the wrong reason and the wrong standard for removing an
adhoc member. It doesn’t even have to be about proving that someone supports white supremacy.

As for the standard…
       Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 66 of 175


Chad Loder Twitter identifying an adhoc member is not based on inference and innuendo. I’d say
that’s at least reasonable suspicion, or even probably cause.

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I understand that the city and consultant are taking precautions and protecting their reputation for a
lot of reasons, but our adhoc committee is to protect human lives by improving race relations and
creating a civilian oversight.

As a queer woman of color who has been a target by white supremacy in Petaluma. It is our
responsibility as a committee to understand the lives that have been lost due to lack of policies, lack
of transparency, lack of accountability, lack or proper trainings to fight against systemic racism
embedded in white supremacy culture that pours into our police , city and justice system.

Appreciate having this being probably the only opportunity to bring my authentic self. To say that I
feel safe is an understatement.

"I have come to believe over and over again that what is most important to me must be spoken,
made verbal and shared, even at the risk of having it bruised or misunderstood. That the
speaking profits me, beyond any other effect. I am standing here as a Black lesbian poet, and the
meaning of all that waits upon the fact that I am still alive, and might not have been." - Audre
Lorde

Warm regards,


On Wed, Jun 9, 2021, 9:58 PM Flynn, Peggy <PFlynn@cityofpetaluma.org> wrote:

  Dear Ad Hoc Community Advisory Committee Members--attached is a message from our
  City Council regarding recent events and concerns raised by some of you as well as some
  members of our community. Additionally, below is a message to you from our facilitator,
  Tracey Webb. Please reach out if you have questions.

  Together in service,
  Peggy

  Peggy Flynn, City Manager
  City of Petaluma | 11 English Street, Petaluma, CA 94952
  Direct 707.776.3765 | Office 707.778.4345
  City Hall is open M-Th; closed Fridays




  -----Original Message-----
    Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 67 of 175


From: Tracey Webb traceyewebb@gmail.com
Sent: Tuesday, June 8, 2021 11:12 AM
To: Flynn, Peggy PFlynn@cityofpetaluma.org
Subject: AHCAC Member Communication

Greetings All:

I have not responded to the emails and entreaties for communication from committee
members because we needed to review all of the correspondence. A measured and well-
considered response is required.

1. White supremacy will be called out and has no place in the critical work of this
committee. As a Black woman who has been the subject of white supremacist hate, I will
tell you that I would insist that the City remove a member if there was clear proof that the
person supports hate. To that end, a review of a certain member’s purported affiliations
does not rise to incontrovertible facts. We truly have no idea of an individual’s affiliations
unless their direct conduct demonstrates belief in any form of hate that is antithetical to the
purpose of this group. At this point, the accusations are based upon inference and
innuendo. I am not purporting that we protect white supremacists. I am stating that we
have to be fair and have proof before we remove anyone based upon supposition. For too
many years in this country people of color have been subject to persecution based upon
innuendo and loose “facts”. We cannot remove a committee member based upon innuendo.

2. This work is about having difficult conversations with people with whom we might
disagree, even vehemently. These discussions should be based upon the subject of our work
during the meeting, and not on social media.

3. The integrity of this process will remain in tact because we will be fair. Our recent
silence was due to legal considerations and protection of everyone’s constitutional rights.
We had to consider all of the information presented.

4. We need to focus on the substance of this work. AHCAC members proffered over 140
ideas for recommendations for the Council under our current topic of community
engagement. I have grouped those suggestions into ten mega buckets, which we will
discuss in depth at the June 15 session. We will have our first set of recommendations by
the end of our June meeting.

5. Finally, if your goal is to truly work together on this committee to move Petaluma’s race
relations forward, you are so welcomed and appreciated. If your goal is to disrupt the
process and to de-legitimize the collective effort, then perhaps your time is best allocated to
other efforts. I would hope that the entire AHCAC remains in tact, but I will respect and
understand if members feel that they need to remove themselves from the work of this
group.

Thank you again for your time. Please stay safe and well.

Tracey Webb
Tracey Elizabeth Webb Associates
       Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 68 of 175


From:            King, Dave
To:              Pascoe, Samantha
Subject:         Fw: Council message to City Ad Hoc Community Advisory Committee
Date:            Tuesday, July 27, 2021 11:50:56 AM
Attachments:     image003.png




From: Flynn, Peggy <PFlynn@cityofpetaluma.org>
Sent: Tuesday, July 6, 2021 3:53 PM
To: citymgr <citymgr@cityofpetaluma.org>
Cc: Danly, Eric <EDanly@cityofpetaluma.org>; Tracey Webb <traceyewebb@gmail.com>
Subject: RE: Council message to City Ad Hoc Community Advisory Committee

Dear AHCAC members—to ensure compliance with the Brown Act, please refrain from responding
and/or sending email correspondence to the group.

Thank you.

Peggy Flynn, City Manager
City of Petaluma | 11 English Street, Petaluma, CA 94952
Direct 707.776.3765 | Office 707.778.4345
City Hall is open M-Th; closed Fridays




Petaluma is in a drought. There are
many programs and incentives
to help you conserve water! Learn
more HERE.



From: Stefan Perez <stefan@socovideography.com>
Sent: Tuesday, July 6, 2021 3:41 PM
To: Anthony Franklin <anthonydfranklin@aol.com>
Cc: Flynn, Peggy <PFlynn@cityofpetaluma.org>; Zahyra Garcia <zahyragarcia@gmail.com>;
joe_sturdivant@sbcglobal.net; rabbi@bnaiisrael.net; acruz@cots.org; mkinyatta@gmail.com;
erinmichellewilkins@gmail.com; joannapaun@gmail.com; eric@fivepaths.com;
sadiemsrtinez13@gmail.com; Mark@northbayanimalservices.org; slowery@oldadobe.org;
Wells,Katherine <katherine.wells@edwardjones.com>; Faith Ross <missross-056@comcast.net>; Lou
Zweier <lou.zweier@gmail.com>; lchacon@pet12.org; pedrot@petalumahealthcenter.org;
rfaith@phcd.org; johana@petalumapeople.org; hhuneidi@gmail.com; fabian2003romo@gmail.com;
adaniels@gmail.com; farminlocal@gmail.com; jmayne@svhs-pet.org; Zavala, Aaron
<azavala@cityofpetaluma.org>; Alverde, Ingrid <IAlverde@cityofpetaluma.org>; Medina, Jessica
<jmedina@cityofpetaluma.org>; -- City Council <--CityCouncil@cityofpetaluma.org>
       Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 69 of 175


Subject: Re: Council message to City Ad Hoc Community Advisory Committee

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE OUR EMAIL
SYSTEM.---
Hello members of the AHCAC,

After much deliberation with friends, family, city staff, and with my own thoughts I've come to a
decision regarding my status on the committee. I will not resign from this committee and I wish to
continue to have my voice heard. I understand that some of you may have questions about the jokes
that I've made online or the false accusations about my character. That is why I invite anyone who
wishes to have a good faith conversation about how you might be feeling to email me directly. We
have a very limited time to work during our meetings and I hope to remedy any distractions
beforehand. It was never my intention to divert attention away from the work of this body but
unfortunately outside grudges are being put front and center to the detriment of Petaluma.

If I was the only committee member being targeted to step down I would consider resigning to avoid
further disruption. However, it has become obvious to me that I would not be the last member to
face this same kind of coordinated removal and I do not wish to set a precedent for the effectiveness
of this type of harassment.

I would like to end by highlighting some of Tracey's rules of engagement that we all agreed to.

"-The AHCAC is not the stage for public theater.
[...] It will be very hard for the group to produce a serious blueprint for change if the main focus
becomes management of interpersonal conflict.
-This work is critical for the health of the Petaluma community. We all have to work hard to express
our concerns in a manner that is authentic but that does not devolve into personal attacks."

Thank you all for taking the time to read this,
-Stefan

On Tue, Jun 15, 2021 at 12:06 PM Anthony Franklin <anthonydfranklin@aol.com> wrote:


  Thank you for your responses.

  It is unfortunate that the information provided and the concerns raised did not result in further
  action being taken. We all should have the right to disagree and speak freely. He is entitled to his
  opinion. What I do not understand is how he will benefit this work or make people feel safe.

  It would appear his views are in direct opposition to this work. It appears we are more worried
  about his safety and rights. It is one thing to have opposing views, we should, it’s another thing to
  have the viewpoints that have been attributed to him.

  Can you at least tell us that he had denied the allegations? That you did some sort of
    Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 70 of 175


investigation?

We can and should do better!

Anthony Franklin
Petaluma Resident



      From: Flynn, Peggy <PFlynn@cityofpetaluma.org>
      Sent: Friday, June 11, 2021 2:33 PM
      To: Zahyra Garcia <zahyragarcia@gmail.com>
      Cc: joe_sturdivant@sbcglobal.net; Rabbi Ted Feldman <rabbi@bnaiisrael.net>;
      acruz@cots.org; Kinyatta Leonhardt <mkinyatta@gmail.com>;
      erinmichellewilkins@gmail.com; Joanna Paun <joannapaun@gmail.com>; Stefan
      Perez <stefan@socovideography.com>; Eric Leland <eric@fivepaths.com>; Sadie
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      <Mark@northbayanimalservices.org>; Anthony Franklin
      <anthony.franklin@farmersinsurance.com>; Sonjhia Lowery
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      Faith E Ross <missross-056@comcast.net>; Liz Chacon <lchacon@petk12.org>; Lou
      Zweier <lou.zweier@gmail.com>; Pedro Toledo <pedrot@phealthcenter.org>;
      Ramona Faith <rfaith@phcd.org>; johana@petalumapeople.org; Hanan Huneidi
      <hhuneidi@gmail.com>; fabian2003romo@gmail.com; risatgreen@icloud.com; Ann
      Daniels <adanielshi@gmail.com>; Sustainable Farming <farminglocal@gmail.com>;
      Julia Mayne <jmayne@svhs-pet.org>; bigpoppavfx@gmail.com;
      jbrunner@waughsd.org; -- City Council <--CityCouncil@cityofpetaluma.org>; Danly,
      Eric <EDanly@cityofpetaluma.org>; Savano, Ken <KSavano@cityofpetaluma.org>;
      Tracey Webb <traceyewebb@gmail.com>; Zavala, Aaron
      <azavala@cityofpetaluma.org>; Alverde, Ingrid <IAlverde@cityofpetaluma.org>;
      Medina, Jessica <jmedina@cityofpetaluma.org>
      Subject: [EXTERNAL] RE: Council message to City Ad Hoc Community Advisory
      Committee

      Hi Zahyra—please see responses below in blue.

      Peggy Flynn, City Manager
      City of Petaluma | 11 English Street, Petaluma, CA 94952
      Direct 707.776.3765 | Office 707.778.4345
      City Hall is open M-Th; closed Fridays




      From: Zahyra Garcia <zahyragarcia@gmail.com>
Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 71 of 175


 Sent: Thursday, June 10, 2021 4:52 PM
 To: Flynn, Peggy <PFlynn@cityofpetaluma.org>
 Cc: joe sturdivant@sbcglobal.net; Rabbi Ted Feldman <rabbi@bnaiisrael.net>;
 acruz@cots.org; Kinyatta Leonhardt <mkinyatta@gmail.com>;
 erinmichellewilkins@gmail.com; Joanna Paun <joannapaun@gmail.com>; Stefan
 Perez <stefan@socovideography.com>; Eric Leland <eric@fivepaths.com>; Sadie
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 Mayne <jmayne@svhs-pet.org>; bigpoppavfx@gmail.com; jbrunner@waughsd.org; -
 - City Council <--CityCouncil@cityofpetaluma.org>; Danly, Eric
 <EDanly@cityofpetaluma.org>; Savano, Ken <KSavano@cityofpetaluma.org>; Tracey
 Webb <traceyewebb@gmail.com>; Zavala, Aaron <azavala@cityofpetaluma.org>;
 Alverde, Ingrid <IAlverde@cityofpetaluma.org>; Medina, Jessica
 <jmedina@cityofpetaluma.org>
 Subject: Re: Council message to City Ad Hoc Community Advisory Committee

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Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 72 of 175


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 I feel like this letter addresses both the wrong reason and the wrong standard for
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 Warm regards,


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   Together in service,
   Peggy
Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 73 of 175


   Peggy Flynn, City Manager
   City of Petaluma | 11 English Street, Petaluma, CA 94952
   Direct 707.776.3765 | Office 707.778.4345
   City Hall is open M-Th; closed Fridays




   -----Original Message-----
   From: Tracey Webb traceyewebb@gmail.com
   Sent: Tuesday, June 8, 2021 11:12 AM
   To: Flynn, Peggy PFlynn@cityofpetaluma.org
   Subject: AHCAC Member Communication

   Greetings All:

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   this country people of color have been subject to persecution based upon
   innuendo and loose “facts”. We cannot remove a committee member based
   upon innuendo.

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   we might disagree, even vehemently. These discussions should be based
   upon the subject of our work during the meeting, and not on social media.

   3. The integrity of this process will remain in tact because we will be fair.
   Our recent silence was due to legal considerations and protection of
   everyone’s constitutional rights. We had to consider all of the information
   presented.

   4. We need to focus on the substance of this work. AHCAC members
   proffered over 140 ideas for recommendations for the Council under our
   current topic of community engagement. I have grouped those suggestions
   into ten mega buckets, which we will discuss in depth at the June 15 session.
   We will have our first set of recommendations by the end of our June
   meeting.
     Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 74 of 175


        5. Finally, if your goal is to truly work together on this committee to move
        Petaluma’s race relations forward, you are so welcomed and appreciated. If
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        then perhaps your time is best allocated to other efforts. I would hope that
        the entire AHCAC remains in tact, but I will respect and understand if
        members feel that they need to remove themselves from the work of this
        group.

        Thank you again for your time. Please stay safe and well.

        Tracey Webb
        Tracey Elizabeth Webb Associates


      ***** PLEASE NOTE ***** This E-Mail/telefax message and any documents
      accompanying this transmission may contain privileged and/or confidential
      information and is intended solely for the addressee(s) named above. If you are not
      the intended addressee/recipient, you are hereby notified that any use of,
      disclosure, copying, distribution, or reliance on the contents of this E-Mail/telefax
      information is strictly prohibited and may result in legal action against you. Please
      reply to the sender advising of the error in transmission and immediately
      delete/destroy the message and any accompanying documents. Thank you.*****



--


             Stefan Perez
             Videographer/ editor
             socovideography.com
       Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 75 of 175


From:             King, Dave
To:               Pascoe, Samantha
Subject:          Fw: Critical Ad Hoc Community Advisory Committee item needed on your June 7th, 2021 Agenda!
Date:             Tuesday, July 27, 2021 11:48:19 AM




From: Pat Mundy <pat@rocketweave.com>
Sent: Friday, June 4, 2021 2:21 PM
To: Barrett,Teresa <tbarrett@cityofpetaluma.org>; dlynda@fischerforcouncil.com
<dlynda@fischerforcouncil.com>; Barnacle, Brian <bbarnacle@cityofpetaluma.org>; McDonnell,
Kevin <kmcdonnell@cityofpetaluma.org>; Healy, Mike <mhealy@cityofpetaluma.org>; Pocekay,
Dennis <dpocekay@cityofpetaluma.org>; King, Dave <dking@cityofpetaluma.org>; -- City Clerk
<CityClerk@cityofpetaluma.org>
Subject: Critical Ad Hoc Community Advisory Committee item needed on your June 7th, 2021
Agenda!

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
OUR EMAIL SYSTEM.---
Petaluma City Council and Mayor Barrett -

I'm writing to strongly urge you to agendize an item for your upcoming June 7th meeting to address a
clear and present problem within the Ad Hoc Community Advisory Committee - an entity which, as a
first step, is crucial for the formation of Petaluma's path to equity and inclusion for our BIPOC
community, especially in regards to its relationship to local law enforcement.

I ask that you add an agenda item for consideration of removal of one Stefan Perez from the Ad Hoc
Community Advisory Committee. He has a long and now-well-documented history of antagonizing local
people of color, and has been revealed to be a white nationalist spreading disinformation about local
activists.

In addition, the process by which he was added to the committee represents a short circuiting of due
diligence, if not also due process.

Santa Rosa City Schools have already placed Stefan on administrative leave on account of these
revelations.

If the city remains serious about its commitment to addressing systemic issues among race relations
and policing policy, you must act and do so with urgency. Allowing Stefan Perez to remain on the
committee will effectively dismantle any efficacy the Committee might have had.

Moreover, failing to remove Stefan Perez from this assignment will represent a tacit endorsement of
his behavior and only further invite escalation of the harassment he has been doling out. This is both a
matter of preserving the integrity of the AHCAC process, and sending a signal that Petaluma does not
tolerate hate so as to stem the tide before it rises.

Thank you,



Patrick Mundy
RocketWeave LLC
(415) 652-3919
pat@rocketweave.com
       Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 76 of 175


From:             King, Dave
To:               Pascoe, Samantha
Subject:          Fw: Denial of First Amendment Rights
Date:             Tuesday, July 27, 2021 12:04:02 PM




From: Jennifer Hewitt <jen_hewitt@icloud.com>
Sent: Thursday, July 15, 2021 2:44 PM
To: Barrett,Teresa <tbarrett@cityofpetaluma.org>; Barnacle, Brian
<bbarnacle@cityofpetaluma.org>; Fischer, D'Lynda <dfischer@cityofpetaluma.org>; Healy, Mike
<mhealy@cityofpetaluma.org>; King, Dave <dking@cityofpetaluma.org>; Pocekay, Dennis
<dpocekay@cityofpetaluma.org>; McDonnell, Kevin <kmcdonnell@cityofpetaluma.org>; -- City Clerk
<CityClerk@cityofpetaluma.org>
Subject: Denial of First Amendment Rights

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE OUR
EMAIL SYSTEM.---

It was no surprise that you removed Stefan Perez from the Ad Hoc Community Advisory Committee
on June 12, 2021. But what is surprising is your disregard and disrespect for Mr. Perez’s First
Amendment Rights. Stefan Perez is a citizen of Petaluma, who is also a Native American from this
part of California, and you have blatantly denied him his most hallowed right to Freedom of Speech.
I thought there would be a few more council members, other than Councilman Healy, who would
dissent on this mockery of a vote. But no, the majority of you proved yourselves to be the lap dogs
of Indivisible Petaluma. You preferred to listen to the likes of Amber Lucas, one of the women
responsible for the recent pig’s blood vandalism in Santa Rosa, who had the audacity to demand Mr.
Perez’s removal from the committee, as the evidence against her repulsive actions mounts daily.
This is all I need to know about your value to this city.


Many of you are up for re-election in 2022. I will make it my job to convince everyone I know to
not vote for you. And let’s face it, you aren’t running the city, Indivisible Petaluma is, and they are a
group of terrorist, who commit acts of vandalism — I don’t think that will sit well with the voters in
this City.

Sincerely,

Jennifer Hewitt
       Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 77 of 175


From:           King, Dave
To:             Pascoe, Samantha
Subject:        Fw: JUNE 7 PETALUMA CITY COUNCIL AGENDA ITEM
Date:           Tuesday, July 27, 2021 11:47:56 AM




From: DARLA SCHOENROCK <darla.schoenrock@gmail.com>
Sent: Friday, June 4, 2021 1:39 PM
To: Barrett,Teresa <tbarrett@cityofpetaluma.org>; dlynda@fischerforcouncil.com
<dlynda@fischerforcouncil.com>; Barnacle, Brian <bbarnacle@cityofpetaluma.org>; McDonnell,
Kevin <kmcdonnell@cityofpetaluma.org>; Healy, Mike <mhealy@cityofpetaluma.org>; Pocekay,
Dennis <dpocekay@cityofpetaluma.org>; King, Dave <dking@cityofpetaluma.org>
Subject: JUNE 7 PETALUMA CITY COUNCIL AGENDA ITEM

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
OUR EMAIL SYSTEM.---
Hello City Council,
I'm writing to urge you to agendize an item for your upcoming June 7th meeting to right a
wrong:
To remove Stefan Perez from the Ad Hoc Community Advisory Committee, because he has a
long history of antagonizing local people of color, has been revealed to be a white nationalist
spreading disinformation about local activists, and the process by which he was added to the
committee in the first place represents a short circuiting of due diligence, if not also due
process.
Santa Rosa City Schools have already placed Stefan on administrative leave on account of
these revelations.
If the city remains serious about its commitment to addressing systemic issues among race
relations and policing policy, you must act and do so with urgency.
Failing to remove Stefan Perez from this assignment represents a tacit endorsement of his
behavior and only invites escalation to the harassment he has been doling out. This is both a
matter of preserving the integrity of the AHCAC process, and sending a signal that Petaluma
does not tolerate hate so as to stem the tide before it rises.
Respectfully yours,


Darla Schoenrock
707-800-2466
       Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 78 of 175


From:           King, Dave
To:             Pascoe, Samantha
Subject:        Fw: Mr. Perez removal
Date:           Tuesday, July 27, 2021 12:04:02 PM




From: Esmeralda Avila-Claeys <esme750281@gmail.com>
Sent: Thursday, July 22, 2021 6:45 PM
To: barret@cityofpetaluma.org <barret@cityofpetaluma.org>; Barnacle, Brian
<bbarnacle@cityofpetaluma.org>; Fischer, D'Lynda <dfischer@cityofpetaluma.org>; King, Dave
<dking@cityofpetaluma.org>; McDonnell, Kevin <kmcdonnell@cityofpetaluma.org>; Pocekay,
Dennis <dpocekay@cityofpetaluma.org>
Cc: Healy, Mike <mhealy@cityofpetaluma.org>
Subject: Mr. Perez removal

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
OUR EMAIL SYSTEM.---
To all council members:

I am a concerned citizen regarding the removal of Mr. Perez and I need to let you know that
I'm going to remember all of you to vote you out in the next election. I will get together with
my neighbors and make sure we do not forget this issue.




Esmeralda Avila-Claeys

THERE ARE THOSE WHO POSSESS A LIGHT SO BRIGHT IT NOT ONLY LIGHTS THEIR WAY
BUT GUIDES OTHERS AS WELL. EVEN IN DARKNESS THEIR LIGHT WILL CONTINUE TO
SHINE THROUGH EVERY HEARTH THEY TOUCHED.
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From:           King, Dave
To:             Pascoe, Samantha
Subject:        Fw: Please agendize item to right a wrong at your June 7th meeting
Date:           Tuesday, July 27, 2021 11:45:51 AM




From: Joshua R. Simmons <hello@joshsimmons.com>
Sent: Friday, June 4, 2021 1:05 PM
To: Barrett,Teresa <tbarrett@cityofpetaluma.org>; Councilmember D'Lynda Fischer
<dlynda@fischerforcouncil.com>; Barnacle, Brian <bbarnacle@cityofpetaluma.org>; McDonnell,
Kevin <kmcdonnell@cityofpetaluma.org>; Healy, Mike <mhealy@cityofpetaluma.org>; Pocekay,
Dennis <dpocekay@cityofpetaluma.org>; King, Dave <dking@cityofpetaluma.org>
Subject: Please agendize item to right a wrong at your June 7th meeting

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
OUR EMAIL SYSTEM.---
Hello City Council,

I'm writing to urge you to agendize an item for your upcoming June 7th meeting to right a
wrong:

To remove Stefan Perez from the Ad Hoc Community Advisory Committee, because he has a
long history of antagonizing local people of color, has been revealed to be a white nationalist
spreading disinformation about local activists, and the process by which he was added to the
committee in the first place represents a short circuiting of due diligence, if not also due
process.

Santa Rosa City Schools have already placed Stefan on administrative leave on account of
these revelations.

If the city remains serious about its commitment to addressing systemic issues among race
relations and policing policy, you must act and do so with urgency.

Failing to remove Stefan Perez from this assignment represents a tacit endorsement of his
behavior and only invites escalation to the harassment he has been doling out. This is both a
matter of preserving the integrity of the AHCAC process, and sending a signal that Petaluma
does not tolerate hate so as to stem the tide before it rises.

Thank you,
Josh

@joshsimmons (he/el) | bluesomewhere on IRC
joshsimmons.com | +1 (707) 600-6098
TZ: US/Pacific; UTC-07:00 Mar-Nov; UTC-08:00 Nov-Mar

ad astra per aspera
       Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 80 of 175


From:           King, Dave
To:             Pascoe, Samantha
Subject:        Fw: Regarding Stefan Perez
Date:           Tuesday, July 27, 2021 11:51:33 AM
Attachments:    PastedGraphic-3.tiff




From: Eric J. Adams <eric@sleeperwave.com>
Sent: Monday, June 21, 2021 11:21 AM
To: Flynn, Peggy <PFlynn@cityofpetaluma.org>; Barrett,Teresa <tbarrett@cityofpetaluma.org>;
Barnacle, Brian <bbarnacle@cityofpetaluma.org>; Pocekay, Dennis
<dpocekay@cityofpetaluma.org>; Fischer, D'Lynda <dfischer@cityofpetaluma.org>; Healy, Mike
<mhealy@cityofpetaluma.org>; King, Dave <dking@cityofpetaluma.org>; McDonnell, Kevin
<kmcdonnell@cityofpetaluma.org>
Subject: Regarding Stefan Perez

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
OUR EMAIL SYSTEM.---
Greetings Petaluma Council Members,

I am a professor of screenwriting at SRJC, a film producer, screenwriter, author, and former
investigative journalist. I have lived and worked in the Petaluma area for 31 years. I have
served on the boards of the Petaluma Art Center, Petaluma Community Access, and Sonoma
County Juvenile Justice Commission.

I completed a Masters of Arts program at Sonoma State University alongside Stefan Perez. I
produced a short film that he directed. Over the course of this time, I have spent many hours
with Stefan and have come to know him well. I found Stefan to be funny, sarcastic,
intellectual and creative. Never did I hear him express racist or white supremacist views. On
the contrary, I understand Stefan to be a defender of human rights and equality for all.

I applaud your decision not to remove Stefan from his committee post and urge you to stand
firm.

Very best,

e/a


Eric J. Adams | Sleeperwave Films | eric@sleeperwave.com | O: 707.794.9908 | M: 310.562.7373 |
Skype: sleeperwave | www.sleeperwave.com | IMDB | Linkedin
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From:            King, Dave
To:              Pascoe, Samantha
Subject:         Fw: Remove Stefan Perez
Date:            Tuesday, July 27, 2021 11:45:04 AM




From: Allegra Wilson <allegrapie@gmail.com>
Sent: Friday, May 21, 2021 9:38 AM
To: Barrett,Teresa <tbarrett@cityofpetaluma.org>; Barnacle, Brian
<bbarnacle@cityofpetaluma.org>; Fischer, D'Lynda <dfischer@cityofpetaluma.org>; Healy, Mike
<mhealy@cityofpetaluma.org>; King, Dave <dking@cityofpetaluma.org>; McDonnell, Kevin
<kmcdonnell@cityofpetaluma.org>; Pocekay, Dennis <dpocekay@cityofpetaluma.org>; Flynn, Peggy
<PFlynn@cityofpetaluma.org>; -- City Clerk <CityClerk@cityofpetaluma.org>
Subject: Remove Stefan Perez

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
OUR EMAIL SYSTEM.---
Dear members of the Petaluma City Council, City Manager Flynn, and City Clerk Rose,

It has come to my attention that a member of your Ad-hoc Community Advisory Committee,
Stefan Perez, is a right-wing extremist, who is known to post racist and anti-Semetic memes
on social media. He also appears to be the so-called Antifa Infiltrator who is attempting to
smear members of the local community for his own political goals. He claims association with
Graton Rancheria, but the Tribal Chairman has made it clear that Perez does not speak for
them. This man places the other members of the committee, as well as the work of the
committee, at risk. He must be removed immediately.

Thank you,

Allegra Wilson
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From:            King, Dave
To:              Pascoe, Samantha
Subject:         Fw: Remove white nationalists
Date:            Tuesday, July 27, 2021 11:45:28 AM




From: lee vandeveer <lee@leevandeveer.com>
Sent: Thursday, June 3, 2021 5:15 PM
To: Barrett,Teresa <tbarrett@cityofpetaluma.org>; Barnacle, Brian
<bbarnacle@cityofpetaluma.org>; Fischer, D'Lynda <dfischer@cityofpetaluma.org>; Healy, Mike
<mhealy@cityofpetaluma.org>; King, Dave <dking@cityofpetaluma.org>; McDonnell, Kevin
<kmcdonnell@cityofpetaluma.org>; Pocekay, Dennis <dpocekay@cityofpetaluma.org>; Flynn, Peggy
<PFlynn@cityofpetaluma.org>; -- City Clerk <CityClerk@cityofpetaluma.org>
Subject: Remove white nationalists

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE OUR
EMAIL SYSTEM.---

Hello,

I am writing to encourage you all to consider removing anyone known to be associated with White
Nationalists from the Petaluma Ad Hoc Committee or any other position of power.

I know I am not alone in being utterly shocked that you have not already taken action to stop such
hate.

Please do the right thing and care for those oppressed by such hateful values as the ones you are
currently upholding.

Hate doesn’t belong in Sonoma Co.


Lee Vandeveer
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From:           King, Dave
To:             Pascoe, Samantha
Subject:        Fw: Stefan Perez needs to be removed
Date:           Tuesday, July 27, 2021 12:06:11 PM




From: Ariel Bussey <arielnbussey@gmail.com>
Sent: Saturday, May 22, 2021 11:17 AM
To: Barrett,Teresa <tbarrett@cityofpetaluma.org>; Barnacle, Brian
<bbarnacle@cityofpetaluma.org>; Fischer, D'Lynda <dfischer@cityofpetaluma.org>; Healy, Mike
<mhealy@cityofpetaluma.org>; King, Dave <dking@cityofpetaluma.org>; McDonnell, Kevin
<kmcdonnell@cityofpetaluma.org>; Pocekay, Dennis <dpocekay@cityofpetaluma.org>; Flynn, Peggy
<PFlynn@cityofpetaluma.org>; -- City Clerk <CityClerk@cityofpetaluma.org>
Subject: Stefan Perez needs to be removed

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
OUR EMAIL SYSTEM.---
To whom it may concern,

My name is Ariel Bussey I am a Petaluma resident and also have been outspoken when it
comes to racial, housing, and climate justice in this town. Three of my friends were recently
accused of a crime they did not commit and in turn that has put their lives at risks. They have
received death threats, have been called racist and sexist slurs, they have had people drive by
their houses to intimidate them, and don't feel safe in their own homes and communities.
 It has recently been made aware that Stefan Perez who is a member of the ADHOC
committee has been identified as the right wing informant who sat down with ABC news and
spewed false and dangerous claims. This man lied about being Indigenous in order to get onto
the committee (even after community members warned city council of him just to have their
concerns ignored) , he has consistently attacked and endangered BIPOC leaders in our town,
he has spread false information, he is the leader of a white nationalist group on instagram, he
has posted misogynistic pictures, he has posted pro-nazi memes, and so much more. He needs
to immediately be removed from the ADHOC as he endangers all BIPOC by promoting white
supremacy. While we have no say in what Santa Rosa does, he also is a teacher there which is
even more horrifying. The silence from all CC members is very alarming and a statement
needs to be made along with his removal.

-Ariel (Ri) Bussey
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From:           King, Dave
To:             Pascoe, Samantha
Subject:        Fw: Still outraged about lack of action regarding Stefan Perez
Date:           Tuesday, July 27, 2021 11:49:12 AM




From: Chris <cameron.mullins@gmail.com>
Sent: Saturday, June 12, 2021 7:02 PM
To: Barrett,Teresa <tbarrett@cityofpetaluma.org>
Cc: Barnacle, Brian <bbarnacle@cityofpetaluma.org>; Fischer, D'Lynda
<dfischer@cityofpetaluma.org>; Healy, Mike <mhealy@cityofpetaluma.org>; King, Dave
<dking@cityofpetaluma.org>; McDonnell, Kevin <kmcdonnell@cityofpetaluma.org>; Pocekay,
Dennis <dpocekay@cityofpetaluma.org>
Subject: Still outraged about lack of action regarding Stefan Perez

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
OUR EMAIL SYSTEM.---
Recently the City of Petaluma put out a statement about Stefan Perez a known white
supremacist and provocateur… https://patch.com/california/petaluma/city-petaluma-city-
council-statement-regarding-ad-hoc-community-advisory?
fbclid=IwAR0nRfdiW0Buk1lYFeiLRtShzj9-bLBNiHCsrz5I7xUzn9Bo6fPzCxtqG4w

The city’s unwillingness to investigate and take action goes absolutely against the information
in the release. There is information on the internet that is posted by the person himself.



Beyond this information that Stefan himself puts out into public view. He’s cause violence in
our area before. Again sending emails to beg you to stand with most constituents and boot him
from the public adhoc committee.

https://www.pressdemocrat.com/article/news/santa-rosa-officers-disciplined-for-protest-
response/?fbclid=IwAR3sUfZU9kfmShhF8ny3F-
36VBxZsSfw9cHMwDQWP3IFsiS41RElysFLR80

Violence he instigated if you want to claim ignorance. I grew up in Rohnert Park and
Petaluma. Shame on the city’s lack of action here.

https://bohemian.com/bad-blood/?fbclid=IwAR3Wr6HtVFbBcB2L-xxRNDA-
cjRPqww1rXF8E4BDrK0I9VxzYO4Sy0fVRo0

I honestly don’t care on where you stand politically. That said, we can’t support people that
insight violence in our community and that spread hate. Period.

—
Yet again,
Chris Mullins
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From:            King, Dave
To:              Pascoe, Samantha
Subject:         Fw: Weighing my options for the Committee
Date:            Tuesday, July 27, 2021 11:51:24 AM
Attachments:     image003.png




From: Flynn, Peggy
Sent: Tuesday, June 15, 2021 3:12 PM
To: Stefan Perez <stefan@socovideography.com>
Cc: Danly, Eric <EDanly@cityofpetaluma.org>; Tracey Webb <traceyewebb@gmail.com>
Subject: Weighing my options for the Committee

Mr. Perez—

We have received your e-mail below from Councilmembers—additionally, we are in receipt of the
attached that has raised significant concerns for the City. Is it possible to discuss prior to the
meeting? We can connect at 5pm today if that works for you, otherwise we can set something up
that works better for you.

Peggy Flynn, City Manager
City of Petaluma | 11 English Street, Petaluma, CA 94952
Direct 707.776.3765 | Office 707.778.4345
City Hall is open M-Th; closed Fridays
       Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 86 of 175




From: Stefan Perez <stefan@socovideography.com>
Sent: Friday, June 11, 2021 6:25 PM
To: Barrett,Teresa; Healy, Mike; Pocekay, Dennis; Fischer, D'Lynda; Barnacle, Brian; King, Dave;
McDonnell, Kevin
Cc: -- City Clerk
Subject: Weighing my options for the Committee

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE OUR EMAIL
SYSTEM.---
Hello Petaluma City Council,

First I would like to say that I'm sorry that these recent false allegations against me have taken focus
away from the goals of this committee. I've contacted a lawyer about this ridiculous slander that
is being spread about me. By now you've heard one side of this story but it's only right that you hear
mine.

From the start of the construction of this committee, I've been aware that members of the group
Indivisible Petaluma have been pushing to have me removed or blocked from having a seat on this
committee. I've tried to ignore their intimidation in order to keep the focus on the goals of this
committee, but their harassment and racist attacks on my tribal heritage have increased to the point
that they're now trying to bring it front and center.

While on the books, there is only one representative of Indivisible Petaluma on this committee, it is
actually 9 or more. I've been a critic of Indivisible Petaluma's numerous documented instances of
doxxing and intimidations of community members before. Last year my criticism resulted in a threat
against me and harassment of business clients, which came from Zahrya Garcia. I reported that
instance to the police and it is on record. After that incident, I've had no interactions with Zahrya or
Indivisible Petaluma. However, these acts of harassment and intimidation have escalated after being
appointed to the committee.

My friends, clients, and colleagues have been targeted online, I've received multiple threats and am
pursuing charges with PPD against some of the people responsible. These threats have now
affected my job as a teacher and the safety of my students. I notified the administration immediately
about the safety concern and we agreed it would be best for me to be on paid leave for the last 2
weeks of the school year.

I have an abundance of screenshots and documents to back up everything that I'm saying but I'm
afraid it looks like the damage has been done.

While I'm very thankful for the council's well reasoned response so far, I personally am overwhelmed
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From:            King, Dave
To:              Pascoe, Samantha
Subject:         Fw: Your text today
Date:            Tuesday, July 27, 2021 11:45:16 AM




From: Janice Cader Thompson <janicecader@gmail.com>
Sent: Tuesday, May 25, 2021 7:37 AM
To: King, Dave <dking@cityofpetaluma.org>
Subject: Re: Your text today

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
OUR EMAIL SYSTEM.---
Dave, I believe the purpose of this adhoc committee got muddled with politics and
appearance. It should have focused on the experience of Black people in America and
policing. If you appointment too many people on a committee the committee will fail. Six
meeting can’t change change a culture or hate. Thank you for your responding.
Janice

Sent from my iPad


       On May 24, 2021, at 5:06 PM, King, Dave <dking@cityofpetaluma.org> wrote:



       Janice,

       I received your text and prefer to respond via email rather than banging out a text
       with my thumbs.

       Each Councilmember had one person that they could recommend be added to
       the committee. My recommendation was Mark Scott of North Bay Animal
       Services, an African American man and the ED of the non-profit that runs animal
       services and has a fair amount of public contact. That is who I "pushed" for to be
       on the AdHoc.

       After each Councilmember proposed some new additions, I mentioned Mr. Perez
       because he represented himself as a Native American and the committee was
       missing Native American representation. At the time, I knew only what was on his
       application and an email he sent to the Council about being appointed. Dennis
       Pocekay nominated him, and he was added. The entire Council approved the list. I
       don't have a perfect memory on this, but believe it was 7-0.
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I don't know the guy. But I also don't know or know well much of the AdHoc. We
appoint a lot of people and rely on their applications. (As you know from your
time on the Council).

Dave

Dave King, Petaluma City Council
       Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 90 of 175


From:           King, Dave
To:             Pascoe, Samantha
Subject:        Fw:
Date:           Thursday, August 12, 2021 9:20:44 AM
Attachments:    IMG-1154.PNG



Sam, This is one of three emails. I took a screenshot of the entire text chain.

Dave


From: Dave King <davekinglaw@gmail.com>
Sent: Wednesday, August 11, 2021 3:41 PM
To: King, Dave <dking@cityofpetaluma.org>
Subject:

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
OUR EMAIL SYSTEM.---
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From:            King, Dave
To:              Pascoe, Samantha
Subject:         Fw:
Date:            Thursday, August 12, 2021 9:19:27 AM
Attachments:     IMG-1155.PNG



2 of 3.


From: Dave King <davekinglaw@gmail.com>
Sent: Wednesday, August 11, 2021 3:42 PM
To: King, Dave <dking@cityofpetaluma.org>
Subject:

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
OUR EMAIL SYSTEM.---
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From:           King, Dave
To:             Pascoe, Samantha
Subject:        Fw:
Date:           Thursday, August 12, 2021 9:19:43 AM
Attachments:    IMG-1156.PNG



3 of 3


From: Dave King <davekinglaw@gmail.com>
Sent: Wednesday, August 11, 2021 3:43 PM
To: King, Dave <dking@cityofpetaluma.org>
Subject:

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
OUR EMAIL SYSTEM.---
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Pascoe, Samantha

From:                   King, Dave
Sent:                   Tuesday, July 27, 2021 4:47 PM
To:                     Pascoe, Samantha
Subject:                Fw: Item 3.F

Follow Up Flag:         Follow up
Flag Status:            Flagged



Anotherfortherecordsrequest.


From:JenniferHewitt<jen_hewitt@me.com>
Sent:Friday,July9,20213:19PM
To:Barrett,Teresa<tbarrett@cityofpetaluma.org>;Barnacle,Brian<bbarnacle@cityofpetaluma.org>;ͲͲCityClerk
<CityClerk@cityofpetaluma.org>;King,Dave<dking@cityofpetaluma.org>;Fischer,D'Lynda
<dfischer@cityofpetaluma.org>;Pocekay,Dennis<dpocekay@cityofpetaluma.org>;Healy,Mike
<mhealy@cityofpetaluma.org>;McDonnell,Kevin<kmcdonnell@cityofpetaluma.org>;pflynn@cityofpetalum.org
<pflynn@cityofpetalum.org>
Subject:Item3.F

ͲͲͲWarning:Usecautionbeforeclickinganyattachments.THISEMAILISFROMOUTSIDEOUREMAILSYSTEM.ͲͲͲ


       IamwritingthisemailinsupportofStefanPerez,andinprotestofhisremovalfromtheAdHoc

       CommunityAdvisoryCommittee(AHCAC),perAgendaitem3.F.ontheConsentCalendar.Thisagenda

       itemstatesthatitisattheCityCouncil’s“solediscretiontodeclaretheofficeof(AHCAC)member

       vacantandappointaqualifiedpersontofilltheremovalprovisioninSection7…”Andthentheagenda

       goesonparagraphafterparagraphwiththemostobnoxiousblather,virtualsignalingtowhomever

       wouldreadthisdocument,andobfuscatinganyclearlanguagethatwouldallowthepublictoknow

       whatStefanPerezdidtohavehimselfremovedfromthe(AHCAC).Asataxpayingandvotingcitizenof

       Petaluma,Idemandthis3.Fitemberemovedfromtheconsentcalendarandopenfordiscussionanda

       clearvote.

       BeforeyoutakeStefanoffthecommittee,hereiswhatyoushouldknowabouthim,StefanPerezisa

       decentperson,whohasdoneanoutstandingjobonthecommittee,andheshouldremainonthe

                                                            1
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committeetobringsomekindofbalancetotheoneͲsidedpointofview.Stefancaresdeeplyabout

Petaluma,andSonomaCounty.Heiscourageoustostickbyhisprincipals,andnotbeafraidtospeakup.

IsupportedStefantogetonthiscommitteeandIwillsupporthimbyprotestingtheunderhanded

natureandlackoftransparencythatisrifethroughoutthisagenda.

IfStefanweretorunforCityCouncil,Iwouldgladlyvoteforhim,whichisalotmorethanIcansayfor

mostmembersoftheCityCouncil.

Andbytheway,whywasCouncilMemberPocekayontheoverpasswatchingtheillegalhangingof

IndivisiblePetaluma’sradicalbanners?Isheascofflawormerelyblissfullyunawareofthelaw?




Sincerely,

JenniferHewitt,PetalumaResident,unlikesomemembersoftheAHCAC.




                                                      2
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Pascoe, Samantha

From:              Dave King <davekingpcc@gmail.com>
Sent:              Tuesday, July 27, 2021 12:26 PM
To:                Pascoe, Samantha
Subject:           Fwd: Bad Blood: Santa Rosa Vandalism Sparks Divergent Investigations/Ad hoc committee on race
Attachments:       June 8.docx; WebPage.pdf


ͲͲͲWarning:Usecautionbeforeclickinganyattachments.THISEMAILISFROMOUTSIDEOUREMAILSYSTEM.ͲͲͲ


ͲͲͲͲͲͲͲͲͲͲForwardedmessageͲͲͲͲͲͲͲͲͲ
From:CaderͲThompsonJanice<janicecader@gmail.com>
Date:Tue,Jun8,2021at9:40PM
Subject:BadBlood:SantaRosaVandalismSparksDivergentInvestigations/Adhoccommitteeonrace
To:BarrettTeresa<teresabarrett@comcast.net>,dennispocekay<dpocekay@gmail.com>,HealyMike
<redhawks@sonic.net>,KingDave<davekingpcc@gmail.com>,FischerD'Lynda<dlyndaf@gmail.com>,McDonaldKevin
<kevinͲmcd@comcast.net>,BarnacleBrian<b.barnacle.gsw@gmail.com>,Flynn,Peggy<PFlynn@cityofpetaluma.org>,
Danly,Eric<edanly@cityofpetaluma.org>,Rose,Kendall<krose@cityofpetaluma.org>,Savano,Ken
<KSavano@cityofpetaluma.org>,MillerBrian<BMiller@cityofpetaluma.org>,WebbTracy<traceyewebb@gmail.com>
Cc:JaniceCaderThompson<janicecader@gmail.com>




        https://bohemian.com/badͲblood/




ͲͲ
DaveKing




                                                        1
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Pascoe, Samantha

From:                King, Dave
Sent:                Tuesday, July 27, 2021 5:00 PM
To:                  Pascoe, Samantha
Subject:             Fw: ad hoc committee

Follow Up Flag:      Follow up
Flag Status:         Flagged



ForRecordsRequest.


From:AB<albionbrew@gmail.com>
Sent:Friday,July9,20219:31PM
To:Barrett,Teresa<tbarrett@cityofpetaluma.org>;Barnacle,Brian<bbarnacle@cityofpetaluma.org>;Fischer,D'Lynda
<dfischer@cityofpetaluma.org>;Healy,Mike<mhealy@cityofpetaluma.org>;King,Dave<dking@cityofpetaluma.org>;
McDonnell,Kevin<kmcdonnell@cityofpetaluma.org>;Pocekay,Dennis<dpocekay@cityofpetaluma.org>
Subject:adhoccommittee

ͲͲͲWarning:Usecautionbeforeclickinganyattachments.THISEMAILISFROMOUTSIDEOUREMAILSYSTEM.ͲͲͲ
Irequestthatthecouncilremoveagendaitem3.Ffromtheconsentcalendartoopenupdiscussion.Thepublicdeserves
anexplanationastowhythereisaneedtoremoveStefanfromtheadhoccommitteeanddissolvehisseat.Stefanhas
notviolatedtheBrownactlikeothersonthecommitteeandtheirseatsaresafe.

ThislookslikeavendettaagainstStefanbyanothermemberofthecommitteethatdoesnotevenliveinPetaluma.This
personisusingthecitycouncilandMayortodotheirdirtywork.

IstronglysupportStefanstayingonthecommitteeforthebenefitoftheentirecity.

Thankyou,

AndyBecker




                                                             1
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From: King, Dave <dking@cityofpetaluma.org>
Sent: Tuesday, July 27, 2021 11:42 AM
To: Pascoe, Samantha <SPascoe@cityofpetaluma.org>
Subject: Re: Public Records Request - Ad Hoc Advisory Committee (PRA2021-07-005)

OK. We will all be forwarding a ton of emails then.
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From: Pascoe, Samantha <SPascoe@cityofpetaluma.org>
Sent: Thursday, July 22, 2021 2:56 PM
To: -- City Council <--CityCouncil@cityofpetaluma.org>
Subject: Public Records Request - Ad Hoc Advisory Committee (PRA2021-07-005)

Good afternoon Madam Mayor and Councilmembers,

We’ve received a public records request (detailed below the line) pertaining to the Ad Hoc Advisory
Committee.

We are focusing on part b of the request:

b) Any and all records and communications regarding nominations by councillors and/or
nominations of discretionary members - that is any appointed committee members who were not
affiliated with, or nominated by, the community groups listed in the Feb 22, 2021 presentation to
the City Council (see below).

We have determined there were four additional organizations and one community member not
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affiliated with the groups listed below:

Japanese American Citizens League
Sonoma County Black Forum
North Bay LGBTQI Families
North Bay Animal Services
Stefan Perez / Graton Rancheria

Please search your inboxes for any communications relating to these groups and Perez, then forward
any responsive records to me. I realize you’ve been through this process for a public records request
for communications with Perez in early June. If you have anything to/from him since June 10th,
please send.

Thank you,
Sam

_________________________________________________________________________________
____________________________________________________________________________
This is a two-part request for records related to the City's Ad Hoc Advisory Committee (AHAC) to
improve diversity, equity, and inclusivity. We are requesting:

a) Any and all "Commission, Committee and Board Application Forms" submitted by members of the
AHAC. – N/A as we didn’t require forms for this recruitment.

b) Any and all records and communications regarding nominations by councillors and/or
nominations of discretionary members - that is any appointed committee members who were not
affiliated with, or nominated by, the community groups listed in the Feb 22, 2021 presentation to
the City Council (see below). We expect that records and communications would include but not be
limited to: email, memos, minutes of meetings, visitor logs and calendar entries related to the
discretionary nominations.

Petaluma Blacks for Community Development (PBCD)
NAACP Sonoma County
100 Black Men of Sonoma County
Petaluma Community Relations Council (Faith Based and DEI NGO’s)
North Bay Organizing Project – Petaluma Chapter (NBOPP)
School District Representatives from (PCS, Old Adobe, Waugh, St. Vincent’s)
Team for Inclusivity, Diversity, and Equity (TIDE) in K-12 schools.
Indivisible Petaluma
Sonoma County Blacks
Petaluma Healthcare District
Petaluma Health Center
Petaluma People Services Center
Petaluma Area Chamber of Commerce (DEI)
Petaluma Youth Commission / Petaluma Youth for CAHOOTS
Hispanic Chamber of Commerce
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LGBTQ of Sonoma County / Sonoma County Pride

We are available to discuss this request as needed and also able to pay any reasonable copy or
retrieval costs associated with it.

Thank you in advance.

Scott Compton, PI#187922
Mason Investigative Group
2430 5th St. #F, Berkeley, CA 94710




Samantha Pascoe, CMC
Deputy City Clerk
City of Petaluma | City Clerk
office. 707-778-4575 |
SPascoe@cityofpetaluma.org




Petaluma is in a drought. There are
many programs and incentives
to help you conserve water! Learn
more HERE.
      Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 104 of 175


From:            Rose, Kendall
To:              -- Leadership Team
Subject:         Council Actions 3/15
Date:            Monday, March 15, 2021 11:33:42 PM
Attachments:     image001.png
                 image003.png
                 image006.png
                 image005.png


Good Evening/Morning All,

The following actions were taken at the March 15, 2021 City Council Regular Meeting:

        Approved Resolution 2021-028 N.C.S. approving the proposed Project List for Fiscal Year
        21/22, per the requirements of Senate Bill 1 to obtain Road Maintenance and Rehabilitation
        Account Funds

        Approved Resolution 2021-029 N.C.S. authorizing award of contract for Downtown ADA
        Improvements and Sidewalk Repair Projects

        Approved Resolution 2021-030 N.C.S. accepting completion of the Traffic Signal Timing
        Communication Upgrades by DC Electric Group, Inc.

        Approved Resolution 2021-031 N.C.S. accepting the completion of the Citywide Striping to
        Bayside Stripe and Seal, Inc.

        Approved Resolution 2021-032 N.C.S. accepting completion of the contract for the HSIP
        Various Safety Project – Guardrail Project by Midstate Barrier, Inc.

        Approved Resolution 2021-01 of the Petaluma Community Development Successor Agency
        adopting the July 1, 2019 – June 30, 2020 Annual Successor Agency Report pursuant to Health
        and Safety Code Section 34176(I)

        Approved Resolution 2021-033 N.C.S. temporarily suspending program administration fees for
        the Mobile Home Park Space Rent Stabilization Program for 2021 due to the impact of COVID

        M/S: McDonnell/Fischer
        Vote: 7-0

        Approved Resolution 2021-035 N.C.S. establishing an Ad Hoc Community Advisory Committee
        on Community Race Relations, appointing the 22 individuals identified in the staff report along
        with: Mark Scott, Zahyra Garcia, Eric Leland, Sadie Martinez, Rabbie Ted Feldman, and Stefan
        Perez

        M/S: Fischer/McDonnell
        Vote: 7-0

        Approved Resolution 2021-036 N.C.S. authorizing staff to prepare a Final Environmental Impact
        Report for the Scott Ranch Project

        M/S: Fischer/Healy
        Vote: 6-0-1 (Pocekay recused)

Best,
Kendall
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Kendall Rose, CMC, City Clerk
City of Petaluma | 11 English Street, Petaluma, CA 94952
O: 707.778.4361 | C: 707.483.8609
Business Hours: M – Th, 8am – 5pm
       Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 106 of 175


From:                Savano, Ken
To:                  Miller, Brian
Subject:             FW: 1/21/21 - Public Comment
Date:                Wednesday, January 20, 2021 4:56:22 PM
Attachments:         image001.png




From: Pascoe, Samantha <SPascoe@cityofpetaluma.org>
Sent: Wednesday, January 20, 2021 4:41 PM
To: -- City Council <--CityCouncil@cityofpetaluma.org>
Cc: Savano, Ken <KSavano@cityofpetaluma.org>
Subject: FW: 1/21/21 - Public Comment




                     Samantha Pascoe, CMC
                     Deputy City Clerk, City of Petaluma
                     D: 707.778.4575 | O: 707.778.4360
                     11 English Street, Petaluma, CA 94952
                     Regular Schedule: M-Th


City of Petaluma records, including emails, are subject to the California Public Records Act. Unless exemptions apply, this
email, any attachments and any replies are subject to disclosure on request, and neither the sender nor any recipients
should have any expectation of privacy regarding the contents of such communications.


From: Stefan Perez <stefanperez@yahoo.com>
Sent: Wednesday, January 20, 2021 2:54 PM
To: -- City Clerk <CityClerk@cityofpetaluma.org>
Subject: 1/21/21 - Public Comment

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE OUR EMAIL
SYSTEM.---
Good evening Petaluma city council. Today's talk about racism in Petaluma is
an important one. There is large amounts of data from our community to comb
through and decide how it is best to move forward. One of these reports is
the Community Forum on Racism & Interactions with Police in Petaluma. This is
based on the forum that was on July 18th-19th of 2020 in which I attended. As
a BIPOC citizen of Petaluma, I would like to make my voice heard for the
council and for the record, that at no time in my group discussion did we
talk about defunding of the police. While defunding of the police was brought
up by a few of the other groups, it was not the majority of demands for
change during our larger group discussion. However, the first demand made in
the final report is defunding of police. I can't speak for the other groups
but I believe that the discussion in my group has been misinterpreted and I
wanted to clarify that. We did advocate for an increase in funding for mental
health first responders, similar to what is proposed with CAHOOTS but it
wasn't made clear this would have to be an either or thing. We just talked
about an increase of funding for this type of program, not defunding. The
other thing I just want to add is that in our segregated groups for our
initial discussions, we as the Latino group could think of any bad
interaction that we had with Petaluma PD. We could only remember positive
interactions.
Thanks, just wanted to make that clear.
-Stefan Perez
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From:              Flynn, Peggy
To:                Tracey Webb; Savano, Ken; Danly, Eric; Zavala, Aaron; Alverde, Ingrid; Miller, Brian
Subject:           FW: Public Comment: Civilian Oversight Ordinance in Order for the Reallocation On Police Funds
Date:              Friday, July 16, 2021 2:04:39 PM
Attachments:       Screen Shot 2021-07-16 at 12.39.15 PM.png
                   Screen Shot 2021-07-16 at 12.39.47 PM.png
                   Screen Shot 2021-07-16 at 12.40.17 PM.png


fyi



Peggy Flynn
City Manager
City of Petaluma | City Manager
PFlynn@cityofpetaluma.org




Petaluma is in a drought. There are
many programs and incentives
to help you conserve water! Learn
more HERE.

From: Zahyra Garcia <zahyragarcia@gmail.com>
Sent: Friday, July 16, 2021 1:19 PM
To: -- City Clerk <CityClerk@cityofpetaluma.org>
Subject: Public Comment: Civilian Oversight Ordinance in Order for the Reallocation On Police Funds

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE OUR EMAIL
SYSTEM.---
Good afternoon Mayor, City manager and Councilmembers.

Submitting a public comment in support of the recommendation given from the listening circles
from July 18th-19th 2020 as next steps. Providing ALL of Petaluma great customer service regardless
of immigration status, sexual orientation, race, religion, countries of origin, genders and abilities with
the Petaluma Police Department. Please reference the following:

Report in
English: https://static1.squarespace.com/static/5bd9443c620b8568909c5486/t/5f595cee080da310
aba5ad41/1599692016109/REPORT-
Community+Forum+on+Racism+%26+Interactions+with+Police+in+Petaluma+2020.09.09.pdf

Report in Spanish:
https://static1.squarespace.com/static/5bd9443c620b8568909c5486/t/5f5bad16c682ba3e21d40df
c/1599843606394/REPORTE-
Foro+Comunitario+sobre+Racismo+e+Interacciones+con+la+Policia+en+Petaluma202009011.pdf
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Form an independent oversight committee for policing in Petaluma by passing an ordinance in
creating a civilian oversight that has some power of authority and mandate.
An oversight committee will ensure our city has updated practices on training and hiring officers,
that policies are in place to protect the public’s access to information about misconduct, and that a
structure is provided to host and evaluate community input about policing accountability in
Petaluma. This approach will benefit the BIPOC community because it builds trust and provides a
bridge-building mechanism between the citizens and the police department that serves them. The
Committee can be led by a board of community volunteers that is established through a
memorandum of understanding with the County’s IOLERO (Independent Office of Law Enforcement
Review and Oversight) or through a joint Powers Authority.

Attached is what I will be talking about at the next ADHOC meeting on Tuesday, July 20th. The
reallocation of police funds should be reviewed/discussed by a civilian oversight for Petaluma.
Encourage you all to attend our meeting to listen to my other colleagues recommendations. If you
haven't gotten the chance to watch the documentary: 3 Seconds in October - The Shooting of Andy
Lopez. Highly recommend it. Appreciate your time and consideration.

Respectfully,

Zahyra Garcia
Pronouns: SHE/HER/HERS
Co-Chair for Indivisible Petaluma
Founding Member of North Bay LGBTQ+ Families of Sonoma County
Member on the Petaluma ADHOC Community Advisory Committee
Former Chair for Sonoma County Commission on Human Rights
Former President of the North Bay Organizing Project
Phone # 678 687 3449
      Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 109 of 175


From:          Savano, Ken
To:            Miller, Brian
Subject:       FW: Weighing my options for the Committee
Attachments:   image003.png
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Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 111 of 175
      Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 112 of 175




From: Stefan Perez <stefan@socovideography.com>
Sent: Friday, June 11, 2021 6:25 PM
To: Barrett,Teresa <tbarrett@cityofpetaluma.org>; Healy, Mike <mhealy@cityofpetaluma.org>;
Pocekay, Dennis <dpocekay@cityofpetaluma.org>; Fischer, D'Lynda <dfischer@cityofpetaluma.org>;
Barnacle, Brian <bbarnacle@cityofpetaluma.org>; King, Dave <dking@cityofpetaluma.org>;
McDonnell, Kevin <kmcdonnell@cityofpetaluma.org>
Cc: -- City Clerk <CityClerk@cityofpetaluma.org>
Subject: Weighing my options for the Committee

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE OUR EMAIL
SYSTEM.---
Hello Petaluma City Council,

First I would like to say that I'm sorry that these recent false allegations against me have taken focus
away from the goals of this committee. I've contacted a lawyer about this ridiculous slander that
is being spread about me. By now you've heard one side of this story but it's only right that you hear
mine.

From the start of the construction of this committee, I've been aware that members of the group
Indivisible Petaluma have been pushing to have me removed or blocked from having a seat on this
committee. I've tried to ignore their intimidation in order to keep the focus on the goals of this
committee, but their harassment and racist attacks on my tribal heritage have increased to the point
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From: Stefan Perez <stefan@socovideography.com>
Date: May 22, 2021 at 3:31:54 PM PDT
To: "Savano, Ken" <KSavano@cityofpetaluma.org>
Subject: I feel that I'm in danger


---Warning: Use caution before clicking any attachments. THIS EMAIL IS
FROM OUTSIDE OUR EMAIL SYSTEM.---
Hello Chief Savano,

I wanted to get some advice about my situation. I'm sure you've heard the news of
the slander against me by now. I am being targeted by Zahyra and Indivisible
Petaluma and they have sent information to a professional doxxer online to
intimidate me off of the council. These people are dangerous and I am very afraid
for my safety.

Since I am part of the ad hoc committee and that my safety is being threatened I
wanted some advice for what I should do going forward. Should I file a
safety report with Petaluma PD or should I bring this to the council? I fear my
side of things will fall on deaf ears.

Thank you,
-Stefan



--


             Stefan Perez
             videographer/ editor
             socovideography.com
      Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 115 of 175


From:            Zavala, Aaron
To:              Flynn, Peggy; Savano, Ken
Cc:              Carter, Patrick; Tracey Webb; Miller, Brian; Alverde, Ingrid
Subject:         Re: AHCAC Final
Date:            Monday, March 15, 2021 9:29:21 PM
Attachments:     image003.png
                 image004.png
                 image014.png


I have it ready to go, but just need one final clarification.

In the “raw” spreadsheet received from Ken, information is missing from Eric Leland, Rabbi
Ted Feldman, Mark Scott, Sadie Martinez, and Stefan Perez. In Exhibit A of the staff report,
Mark Scott and Stefan Perez are list under Additional Volunteers. My understanding was that
those listed as additional volunteers had submitted forms, but were not part of the original
organizations.

To clarify, am I sending an email to fill out the form to Leland, Feldman, Scott, Martinez, and
Perez, or just Leland, Feldman, and Martinez?

From: Flynn, Peggy <PFlynn@cityofpetaluma.org>
Date: Monday, March 15, 2021 at 9:14 PM
To: Zavala, Aaron <azavala@cityofpetaluma.org>, Alverde, Ingrid
<IAlverde@cityofpetaluma.org>, Savano, Ken <KSavano@cityofpetaluma.org>
Cc: Carter, Patrick <PCARTER@cityofpetaluma.org>, Tracey Webb
<traceyewebb@gmail.com>, Miller, Brian <BMiller@cityofpetaluma.org>
Subject: RE: AHCAC Final

Thanks Aaron! I edited below. Good to go—and I believe all the names are accurate. Please cc
myself, Ken, and Tracey, and bcc the “to” field so folks don’t reply all.

Peggy Flynn, City Manager
City of Petaluma | 11 English Street, Petaluma, CA 94952
Direct 707.776.3765 | Office 707.778.4345
City Hall is open M-Th; closed Fridays




From: Zavala, Aaron <azavala@cityofpetaluma.org>
Sent: Monday, March 15, 2021 9:06 PM
To: Alverde, Ingrid <IAlverde@cityofpetaluma.org>; Flynn, Peggy <PFlynn@cityofpetaluma.org>;
Savano, Ken <KSavano@cityofpetaluma.org>
Cc: Carter, Patrick <PCARTER@cityofpetaluma.org>; Tracey Webb <traceyewebb@gmail.com>;
Miller, Brian <BMiller@cityofpetaluma.org>
Subject: Re: AHCAC Final
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Peggy,

Sounds good. Just let me know once we confirm the list. The lists I have received from you
and Ken are what I had from my notes. Here is a quick draft.

Good Evening/Morning,

Tonight/Last night at the March 15th City Council Meeting, you were nominated and appointed to
serve on the Ad Hoc Community Advisory Committee (AHCAC). The AHCAC was recently
formed to work with the City Manager and Chief of Police to develop recommendations to address
Petaluma Community race relations and promote diversity, equity, and inclusion Citywide and
regarding police policies. If you wish to accept this appointment and haven’t filled out the form we
initially sent out, please fill out and submit. The form consists of a few questions including contact
information and availability, while recognizing any accommodations. Thank you for your time.
Please let me know if you have any additional questions.

Participant Information Form

Formulario de Información del Participante

Best Regards,
Aaron


Aaron J. Zavala, MPA, MUP
Senior Management Analyst
Public Works and Utilities Department
City of Petaluma
202 North McDowell Boulevard
Petaluma, CA 94954

Cell: (707) 779-8542
Office: (707) 778-4495

To keep our community and staff safe, City offices are currently closed to the public. We are,
however, working and providing all services virtually or by appointment. Visit City Services
on our webpage for more information.




From: Alverde, Ingrid <IAlverde@cityofpetaluma.org>
Date: Monday, March 15, 2021 at 8:33 PM
To: Flynn, Peggy <PFlynn@cityofpetaluma.org>, Savano, Ken <KSavano@cityofpetaluma.org>,
Zavala, Aaron <azavala@cityofpetaluma.org>
        Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 117 of 175


Cc: Carter, Patrick <PCARTER@cityofpetaluma.org>, Tracey Webb
<traceyewebb@gmail.com>, Miller, Brian <BMiller@cityofpetaluma.org>
Subject: Re: AHCAC Final

Google doc still available.

Get Outlook for iOS


Ingrid Alverde
Director Economic Development and
Open Government
City of Petaluma
707-778-4549 |
IAlverde@cityofpetaluma.org




While City offices remain closed to the
public, we are providing services virtually M-
Th. Visit our website for more info.

From: Flynn, Peggy <PFlynn@cityofpetaluma.org>
Sent: Monday, March 15, 2021 8:30:53 PM
To: Savano, Ken <KSavano@cityofpetaluma.org>; Alverde, Ingrid <IAlverde@cityofpetaluma.org>;
Zavala, Aaron <azavala@cityofpetaluma.org>
Cc: Carter, Patrick <PCARTER@cityofpetaluma.org>; Tracey Webb <traceyewebb@gmail.com>;
Miller, Brian <BMiller@cityofpetaluma.org>
Subject: RE: AHCAC Final

Hi Aaron--Ken will be sending a raw file of this list, which will need to include contact info for Eric,
Sadie, and Stefan. Once we receive, we should send out a confirmation that Council appointed them
to this ad hoc committee and that we will need anyone who hasn’t filled out our form to please do
so, in order for us to have their contact info, availability, and recognize any accommodations. We
also need to float out the first date and time for the meeting.

Ingrid—please confirm that the google doc is still accessible.

Aaron—please draft and send back out to the group for review. I will ask that you send out once
we’ve finalized.

Thanks all!

Peggy Flynn, City Manager
City of Petaluma | 11 English Street, Petaluma, CA 94952
Direct 707.776.3765 | Office 707.778.4345
      Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 118 of 175


City Hall is open M-Th; closed Fridays




From: Savano, Ken <KSavano@cityofpetaluma.org>
Sent: Monday, March 15, 2021 8:21 PM
To: Flynn, Peggy <PFlynn@cityofpetaluma.org>
Cc: Carter, Patrick <PCARTER@cityofpetaluma.org>; Tracey Webb <traceyewebb@gmail.com>
Subject: AHCAC Final
                Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 119 of 175


Pascoe, Samantha

From:                Healy, Mike
Sent:                Monday, July 19, 2021 1:19 PM
To:                  Esmeralda Avila-Claeys
Subject:             Re: Stefan Perez


Andthereinliesthemystery,becausetheresolutionandsupportingstaffreportprovidenoreasonatall.I’llleaveitto
thecouncilmemberswhovotedtoremovehimtoexplaintheirvotes.
Mike

GetOutlookforiOS

From:EsmeraldaAvilaͲClaeys<esmeavilan@icloud.com>
Sent:Monday,July19,202112:19:02PM
To:Healy,Mike<mhealy@cityofpetaluma.org>
Subject:Re:StefanPerez

ͲͲͲWarning:Usecautionbeforeclickinganyattachments.THISEMAILISFROMOUTSIDEOUREMAILSYSTEM.ͲͲͲ
Yes,Isawthatonthenewsbutamstillconcernedandwouldliketoknowwhatexactlyhedidtodeserveit.

SentfrommyiPhone

OnJul16,2021,at4:02PM,Healy,Mike<mhealy@cityofpetaluma.org>wrote:

        IwasactuallytheonlyvoteNOTtoremoveStefanPerez.
        MikeHealy
        
        GetOutlookforiOS
                                                                                                                      
        From:EsmeraldaAvilaͲClaeys<esmeavilan@icloud.com>
        Sent:Thursday,July15,20216:05:01PM
        To:Healy,Mike<mhealy@cityofpetaluma.org>
        Subject:StefanPerez
        
        ͲͲͲWarning:Usecautionbeforeclickinganyattachments.THISEMAILISFROMOUTSIDEOUREMAIL
        SYSTEM.ͲͲͲ
        
        DearMr.Healy,
        
        IamaconcerncitizenandIwouldliketoknowexactlywhatStefanPerezdidtodeservebeenousted.
        
        Iwillbewaitednotohearfromyou.
        
        SentfrommyiPhone




                                                              1
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Pascoe, Samantha

From:                Healy, Mike
Sent:                Monday, July 19, 2021 1:19 PM
To:                  Esmeralda Avila-Claeys
Subject:             Re: Stefan Perez


Andthereinliesthemystery,becausetheresolutionandsupportingstaffreportprovidenoreasonatall.I’llleaveitto
thecouncilmemberswhovotedtoremovehimtoexplaintheirvotes.
Mike

GetOutlookforiOS

From:EsmeraldaAvilaͲClaeys<esmeavilan@icloud.com>
Sent:Monday,July19,202112:19:02PM
To:Healy,Mike<mhealy@cityofpetaluma.org>
Subject:Re:StefanPerez

ͲͲͲWarning:Usecautionbeforeclickinganyattachments.THISEMAILISFROMOUTSIDEOUREMAILSYSTEM.ͲͲͲ
Yes,Isawthatonthenewsbutamstillconcernedandwouldliketoknowwhatexactlyhedidtodeserveit.

SentfrommyiPhone

OnJul16,2021,at4:02PM,Healy,Mike<mhealy@cityofpetaluma.org>wrote:

        IwasactuallytheonlyvoteNOTtoremoveStefanPerez.
        MikeHealy
        
        GetOutlookforiOS
                                                                                                                      
        From:EsmeraldaAvilaͲClaeys<esmeavilan@icloud.com>
        Sent:Thursday,July15,20216:05:01PM
        To:Healy,Mike<mhealy@cityofpetaluma.org>
        Subject:StefanPerez
        
        ͲͲͲWarning:Usecautionbeforeclickinganyattachments.THISEMAILISFROMOUTSIDEOUREMAIL
        SYSTEM.ͲͲͲ
        
        DearMr.Healy,
        
        IamaconcerncitizenandIwouldliketoknowexactlywhatStefanPerezdidtodeservebeenousted.
        
        Iwillbewaitednotohearfromyou.
        
        SentfrommyiPhone




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                                                                                                                                Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 121 of 175


Pascoe, Samantha

From:                                                                                                                                 Stefan Perez <stefan@socovideography.com>
Sent:                                                                                                                                 Wednesday, July 14, 2021 6:05 PM
To:                                                                                                                                   Healy, Mike
Subject:                                                                                                                              Thank you


ͲͲͲWarning:Usecautionbeforeclickinganyattachments.THISEMAILISFROMOUTSIDEOUREMAILSYSTEM.ͲͲͲ
HelloCouncilmemberHealy,

IjustwantedtoreachoutandsaythankyouforyourcourageinbeingthesolevoiceofreasonatMonday'scitycouncil
meeting.I'msureyouknewthatyourlegitimateconcernswoulddrawireofcertaingroupsandmediabutthepeople
desperatelyneededtohearit.

I'msorrythatit'sgonethewayithas.Itwasn'ttheintentionformyexistenceonthecommitteetobesuchadistraction
butjustknowthatIfoughtforwhatIthinkwasrightfortheintegrityofthiscommunity.

IhopethishasatleastshedalightonIndivisiblePetaluma'sbehaviorsagainstACTUALPetalumacitizens.It'ssomething
that'sbeenignoredfortoolong.Ifyoueverwanttoreachouttomeaboutanythingfeelfreetocallortextmycellat
(707)486Ͳ8262.

Thankyouandhaveapleasantevening,
ͲStefan

ͲͲ
  
     To help protect y our priv acy , Microsoft Office prev ented automatic download of this picture from the Internet.
     SoCo Videography Logo




                                                                                                                              Stefan Perez
                                                                                                                              Videographer/ editor
                                                                                                                              socovideography.com
                                                                                                                          









                                                                                                                                                                        1
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From:                 Pocekay, Dennis
To:                   Pascoe, Samantha
Subject:              Fw: I"m sorry
Date:                 Thursday, July 22, 2021 3:08:44 PM



Hi Sam-
This is all I have.
Dennis Pocekay


From: Pocekay, Dennis <dpocekay@cityofpetaluma.org>
Sent: Thursday, July 15, 2021 8:21 PM
To: Stefan Perez <stefan@socovideography.com>
Subject: Re: I'm sorry

Stefan-
Thank you for your note. I am also sorry that it has gone the way it has.
Sincerely,
Dennis Pocekay

From: Stefan Perez <stefan@socovideography.com>
Sent: Wednesday, July 14, 2021 7:22 PM
To: Pocekay, Dennis <dpocekay@cityofpetaluma.org>
Subject: I'm sorry

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
OUR EMAIL SYSTEM.---
Hello Dr. Councilman,

I just wanted to reach out and say that even though I disagree with your decision, thank you
for at least appointing me on the committee to begin with. While I'm sure you didn't know it
would get you in so much trouble with Indivisible Petaluma, I appreciate you taking the time
to get to know me beforehand a little bit.

I was honest in my perspective with you when I said I didn't have any negative interaction
with the PPD but open to hearing about others' interactions to form recommendations for
the city. It's just too bad I didn't get a chance to hear what those interactions were.
Nevertheless, I learned a great deal about local politics during my short time there and will
probably be utilizing them in the future. Perez for City Council? Haha. Just kidding. Wouldn't
want to give Zahyra a heart attack reading this.

Anyway, I'm really sorry that this has gone the way it has. It wasn't the intention for my
existence on the committee to be such a distraction but just know that I fought for what I think
was right for the integrity of this community. I can sleep well knowing that.

P.S. I know The North Bay Bohemian's conspiracy theories are pretty exciting but thought this
was a pretty good article to balance that perspective.
https://www.sfchronicle.com/crime/article/Santa-Rosa-police-Suspect-in-botched-vandalism-
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16312312.php

Thank you and have a pleasant evening,
-Stefan
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Pascoe, Samantha

From:                Sam Tuttelman <stut@sonic.net>
Sent:                Sunday, June 13, 2021 8:00 PM
To:                  Pocekay, Dennis
Subject:             Re: Council message to City Ad Hoc Community Advisory Committee


ͲͲͲWarning:Usecautionbeforeclickinganyattachments.THISEMAILISFROMOUTSIDEOUREMAILSYSTEM.ͲͲͲ
Seeyouat8:20…IamgoingtobringOlivia.


       OnJun13,2021,at7:54PM,Pocekay,Dennis<dpocekay@cityofpetaluma.org>wrote:

       
       HiSamͲ
       Thedogisscheduledtoreturntodaycaretomorrow,butIforgotIhavetomgethimthereat8
       am.SoIwillneedtomoveourmeetingbackto8:20!I'llalsocallyouintheam.
       Dennis
                                                                                                                  
       From:SamTuttelman<stut@sonic.net>
       Sent:Sunday,June13,202111:32AM
       To:Pocekay,Dennis<dpocekay@cityofpetaluma.org>
       Subject:Re:CouncilmessagetoCityAdHocCommunityAdvisoryCommittee
       
       ͲͲͲWarning:Usecautionbeforeclickinganyattachments.THISEMAILISFROMOUTSIDEOUREMAIL
       SYSTEM.ͲͲͲ
       SeeyouatShollenbergertomorrowat8AM.Areyoubringingyourdog?
       
       OnJun12,2021,at1:28PM,Pocekay,Dennis<dpocekay@cityofpetaluma.org>wrote:
       
       Mondayisgood;asearlyasyouareavailableisfine.Let'sdoShollenberger,8amORwhenever
       afterfitsyourschedule.
       DP
                                                                                                                  
       From:SamTuttelman<stut@sonic.net>
       Sent:Saturday,June12,20219:57AM
       To:Pocekay,Dennis<dpocekay@cityofpetaluma.org>
       Subject:Re:CouncilmessagetoCityAdHocCommunityAdvisoryCommittee
       ---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE OUR EMAIL SYSTEM.---
       How about Monday? You name the time and place.

       Do you want to join Sasha, my friend Ernie and I at a Giants game on Sunday July 11?



               On Jun 12, 2021, at 8:49 AM, Pocekay, Dennis <dpocekay@cityofpetaluma.org> wrote:


               IjustrealizedyouarelikelyvisitingSashathisweekend.Icouldalsowalkwith
               youat9amanydaybutTuesdaythiscomingweek.
               Dennis
                                                               1
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From:Pocekay,Dennis<dpocekay@cityofpetaluma.org>
Sent:Friday,June11,20218:08PM
To:SamTuttelman<stut@sonic.net>
Subject:Re:CouncilmessagetoCityAdHocCommunityAdvisoryCommittee

CanwewalkSundayam??
Dennis

From:SamTuttelman<stut@sonic.net>
Sent:Thursday,June10,20215:31PM
To:Pocekay,Dennis<dpocekay@cityofpetaluma.org>
Subject:Re:CouncilmessagetoCityAdHocCommunityAdvisoryCommittee
---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE OUR
EMAIL SYSTEM.---
Thanks Dennis! Not surprising given my assumption that City Attorney said "lawsuit lawsuit
lawsuit.” I am hesitant to admit this but I can even understand why they are taking that position
absent a truly “smoking gun.”

Let me know if you want to go for a walk one of these days….

On Jun 10, 2021, at 1:56 PM, Pocekay, Dennis <dpocekay@cityofpetaluma.org> wrote:

FYI
DP


From:Pocekay,Dennis<dpocekay@cityofpetaluma.org>
Sent:Thursday,June10,20218:43AM
To:stut@sonic.net<stut@sonic.net>
Subject:Fw:CouncilmessagetoCityAdHocCommunityAdvisoryCommittee

FYIͲSeeemailsfromCouncilandfromWebb.
DP


From:Flynn,Peggy<PFlynn@cityofpetaluma.org>
Sent:Wednesday,June9,20219:57PM
To:joe_sturdivant@sbcglobal.net<joe_sturdivant@sbcglobal.net>;rabbi@bnaiisrael.ne
t<rabbi@bnaiisrael.net>;acruz@cots.org<acruz@cots.org>;mkinyatta@gmail.com<mk
inyatta@gmail.com>;erinmichellewilkins@gmail.com<erinmichellewilkins@gmail.com>
;JoannaPaun<joannapaun@gmail.com>;StefanPerez
<stefan@socovideography.com>;EricLeland<eric@fivepaths.com>;SadieMartinez
<sadiemartinez13@gmail.com>;MarkScott<Mark@northbayanimalservices.org>;
ZahyraGarcia
<zahyragarcia@gmail.com>;anthony.franklin@farmersinsurance.com<anthony.franklin
@farmersinsurance.com>;SonjhiaLowery<slowery@oldadobe.org>;Wells,Katherine
<Katherine.Wells@edwardjones.com>;missrossͲ056@comcast.net<missrossͲ
056@comcast.net>;LizChacon<lchacon@petk12.org>;LouZweier
<lou.zweier@gmail.com>;PedroToledo<pedrot@phealthcenter.org>;RamonaFaith
<rfaith@phcd.org>;johana@petalumapeople.org<johana@petalumapeople.org>;
HananHuneidi
<hhuneidi@gmail.com>;fabian2003romo@gmail.com<fabian2003romo@gmail.com>;r
isatgreen@icloud.com<risatgreen@icloud.com>;AnnDaniels<adanielshi@gmail.com>;

                                                 2
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SustainableFarming<farminglocal@gmail.com>;JuliaMayne<jmayne@svhsͲ
pet.org>;bigpoppavfx@gmail.com<bigpoppavfx@gmail.com>;jbrunner@waughsd.org
<jbrunner@waughsd.org>
Cc:ͲͲCityCouncil<ͲͲCityCouncil@cityofpetaluma.org>;Danly,Eric
<EDanly@cityofpetaluma.org>;Savano,Ken<KSavano@cityofpetaluma.org>;Tracey
Webb<traceyewebb@gmail.com>;Zavala,Aaron<azavala@cityofpetaluma.org>;
Alverde,Ingrid<IAlverde@cityofpetaluma.org>;Medina,Jessica
<jmedina@cityofpetaluma.org>
Subject:CouncilmessagetoCityAdHocCommunityAdvisoryCommittee

DearAdHocCommunityAdvisoryCommitteeMembersͲͲattachedisamessagefrom
ourCityCouncilregardingrecenteventsandconcernsraisedbysomeofyouaswellas
somemembersofourcommunity.Additionally,belowisamessagetoyoufromour
facilitator,TraceyWebb.Pleasereachoutifyouhavequestions.

Togetherinservice,
Peggy

PeggyFlynn,CityManager
CityofPetaluma|11EnglishStreet,Petaluma,CA94952
Direct707.776.3765|Office707.778.4345
CityHallisopenMͲTh;closedFridays

<image001.jpg><image002.jpg><image003.png>


ͲͲͲͲͲOriginalMessageͲͲͲͲͲ
From:TraceyWebbtraceyewebb@gmail.com
Sent:Tuesday,June8,202111:12AM
To:Flynn,PeggyPFlynn@cityofpetaluma.org
Subject:AHCACMemberCommunication

GreetingsAll:

Ihavenotrespondedtotheemailsandentreatiesforcommunicationfromcommittee
membersbecauseweneededtoreviewallofthecorrespondence.Ameasuredand
wellͲconsideredresponseisrequired.

1.Whitesupremacywillbecalledoutandhasnoplaceinthecriticalworkofthis
committee.AsaBlackwomanwhohasbeenthesubjectofwhitesupremacisthate,I
willtellyouthatIwouldinsistthattheCityremoveamemberiftherewasclearproof
thatthepersonsupportshate.Tothatend,areviewofacertainmember’spurported
affiliationsdoesnotrisetoincontrovertiblefacts.Wetrulyhavenoideaofan
individual’saffiliationsunlesstheirdirectconductdemonstratesbeliefinanyformof
hatethatisantitheticaltothepurposeofthisgroup.Atthispoint,theaccusationsare
baseduponinferenceandinnuendo.Iamnotpurportingthatweprotectwhite
supremacists.Iamstatingthatwehavetobefairandhaveproofbeforeweremove
anyonebaseduponsupposition.Fortoomanyyearsinthiscountrypeopleofcolor
havebeensubjecttopersecutionbaseduponinnuendoandloose“facts”.Wecannot
removeacommitteememberbaseduponinnuendo.



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    2.Thisworkisabouthavingdifficultconversationswithpeoplewithwhomwemight
    disagree,evenvehemently.Thesediscussionsshouldbebaseduponthesubjectofour
    workduringthemeeting,andnotonsocialmedia.
    
    3.Theintegrityofthisprocesswillremainintactbecausewewillbefair.Ourrecent
    silencewasduetolegalconsiderationsandprotectionofeveryone’sconstitutional
    rights.Wehadtoconsideralloftheinformationpresented.
    
    4.Weneedtofocusonthesubstanceofthiswork.AHCACmembersprofferedover
    140ideasforrecommendationsfortheCouncilunderourcurrenttopicofcommunity
    engagement.Ihavegroupedthosesuggestionsintotenmegabuckets,whichwewill
    discussindepthattheJune15session.Wewillhaveourfirstsetofrecommendations
    bytheendofourJunemeeting.
    
    5.Finally,ifyourgoalistotrulyworktogetheronthiscommitteetomovePetaluma’s
    racerelationsforward,youaresowelcomedandappreciated.Ifyourgoalistodisrupt
    theprocessandtodeͲlegitimizethecollectiveeffort,thenperhapsyourtimeisbest
    allocatedtootherefforts.IwouldhopethattheentireAHCACremainsintact,butIwill
    respectandunderstandifmembersfeelthattheyneedtoremovethemselvesfromthe
    workofthisgroup.
    
    Thankyouagainforyourtime.Pleasestaysafeandwell.
    
    TraceyWebb
    TraceyElizabethWebbAssociates
    
    <Council Letter of AHCAC Support.pdf>





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From:            Flynn, Peggy
To:              Savano, Ken
Subject:         Addition to the Ad Hoc Community Advisory Committee
Date:            Sunday, February 28, 2021 9:17:49 AM


fyi and for attachment to our 3/15 staff report.

Begin forwarded message:


       From: Sue Davy <suedavy@northbayanimalservices.org>
       Date: February 28, 2021 at 9:10:47 AM PST
       To: "Flynn, Peggy" <PFlynn@cityofpetaluma.org>
       Cc: Mark@northbayanimalservices.org, "Cochran, Brian"
       <BCochran@cityofpetaluma.org>, "Barrett,Teresa"
       <tbarrett@cityofpetaluma.org>, "Barnacle, Brian"
       <bbarnacle@cityofpetaluma.org>, "Fischer, D'Lynda"
       <dfischer@cityofpetaluma.org>, "King, Dave" <dking@cityofpetaluma.org>,
       "Healy, Mike" <mhealy@cityofpetaluma.org>, "McDonnell, Kevin"
       <kmcdonnell@cityofpetaluma.org>, "Pocekay, Dennis"
       <dpocekay@cityofpetaluma.org>
       Subject: Addition to the Ad Hoc Community Advisory Committee


       ---Warning: Use caution before clicking any attachments. THIS EMAIL IS
       FROM OUTSIDE OUR EMAIL SYSTEM.---

       An Ad Hoc Community Advisory Committee was discussed at the February 22
       City Council meeting. I’d like to propose that North Bay Animal Services
       (NBAS) be added to the list of representative groups to comprise the Committee.
       Specifically, Mark Scott, Executive Director of NBAS would attend and
       contribute his experience providing animal services to our community. In our
       work, we serve a vulnerable part of our community (people as well as pets) in this
       public health arena.

       Only 8 short years ago, Animal Services in Petaluma, was part of the City’s staff,
       reporting to the Police Department. Moving that service to a non-profit,
       collaborating with the Police Department has been very successful in many
       respects. That experience and continued effort would be valuable to this
       Committee.

       Please consider including Mark in this Committee.

       Sue Davy
       Co-Founder & Communications Coordinator
       North Bay Animal Services
       suedavy@northbayanimalservices.org
       707-486-5675
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From:                Savano, Ken
To:                  Savano, Ken
Subject:             FW: Ad Hoc Committee - Submission
Date:                Tuesday, March 9, 2021 12:42:17 PM
Attachments:         image002.png
                     image001.png




From: Pascoe, Samantha <SPascoe@cityofpetaluma.org>
Sent: Monday, March 01, 2021 9:26 AM
To: Flynn, Peggy <PFlynn@cityofpetaluma.org>; Savano, Ken <KSavano@cityofpetaluma.org>
Subject: FW: Ad Hoc Committee - Submission




                                    Samantha Pascoe, CMC
                                    Deputy City Clerk, City of Petaluma
                                    D: 707.778.4575 | O: 707.778.4360
                                    11 English Street, Petaluma, CA 94952
                                    Regular Schedule: M-Th




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email, any attachments and any replies are subject to disclosure on request, and neither the sender nor any recipients
should have any expectation of privacy regarding the contents of such communications.


From: Stefan Perez <stefan@socovideography.com>
Sent: Thursday, February 25, 2021 4:32 PM
To: -- City Clerk <CityClerk@cityofpetaluma.org>
Cc: Barrett,Teresa <tbarrett@cityofpetaluma.org>; Barnacle, Brian
<bbarnacle@cityofpetaluma.org>; Fischer, D'Lynda <dfischer@cityofpetaluma.org>; Healy, Mike
<mhealy@cityofpetaluma.org>; King, Dave <dking@cityofpetaluma.org>; McDonnell, Kevin
<kmcdonnell@cityofpetaluma.org>; Pocekay, Dennis <dpocekay@cityofpetaluma.org>
Subject: Ad Hoc Committee - Submission

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE OUR EMAIL
SYSTEM.---
Hello Petaluma City Council,

My name is Stefan Perez.
I am a BIPOC resident of Petaluma, a tribal citizen of the Federated Indians of Graton
Rancheria, an educator at Santa Rosa High School, a small business owner, and I
would like to be considered for a seat on the Ad Hoc Community Advisory Committee
on community race relations and police policies.

I understand that the candidates are being pulled from various groups and
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From:                 Savano, Ken
To:                   Savano, Ken
Subject:              FW: My support of Stephan Perez for the new Ad Hoc Advisory Committee
Date:                 Tuesday, March 9, 2021 12:43:28 PM




From: Rose, Kendall <krose@cityofpetaluma.org>
Sent: Monday, March 01, 2021 10:18 AM
To: Savano, Ken <KSavano@cityofpetaluma.org>; Flynn, Peggy <PFlynn@cityofpetaluma.org>
Subject: FW: My support of Stephan Perez for the new Ad Hoc Advisory Committee



From: Jennifer Hewitt <jen_hewitt@me.com>
Sent: Friday, February 26, 2021 8:07 PM
To: Barrett,Teresa <tbarrett@cityofpetaluma.org>
Cc: -- City Clerk <CityClerk@cityofpetaluma.org>; Barnacle, Brian <bbarnacle@cityofpetaluma.org>;
Fischer, D'Lynda <dfischer@cityofpetaluma.org>; Healy, Mike <mhealy@cityofpetaluma.org>; King,
Dave <dking@cityofpetaluma.org>; McDonnell, Kevin <kmcdonnell@cityofpetaluma.org>; Pocekay,
Dennis <dpocekay@cityofpetaluma.org>
Subject: My support of Stephan Perez for the new Ad Hoc Advisory Committee

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE OUR EMAIL
SYSTEM.---
Dear Mayor Barrett,
Stefan Perez has my support for a seat on the Ad Hoc Advisory Committee (AHAC). He is a concerned citizen, who cares
deeply about the community in which he lives. His keen understanding of the daily challenges we face in Petaluma is exactly
what this city needs.

The City of Petaluma would be well served by selecting Stefan for the AHAC. He brings a collaborative approach to his
everyday interactions, he will undoubtedly do so on the committee, as well as bringing an unbiased and diverse point of view,
which is sorely needed in today’s world.

I sincerely hope that you will consider him, and in that hope, I'll look forward to seeing his name on the AHAC roster.

Sincerely,


Jennifer Hewitt
15 Sapporo Ct
Petaluma, CA 94954
      Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 132 of 175


From:             Savano, Ken
To:               Miller, Brian
Subject:          FW: Public comment for ad hoc community advisory committee
Attachments:      image001.png
                  ad hoc 18 may 2021.pdf




From: Terry, Suzanne <STerry@cityofpetaluma.org>
Sent: Tuesday, May 18, 2021 8:40 AM
To: Alverde, Ingrid <IAlverde@cityofpetaluma.org>; Angeles Cruz <acruz@cots.org>; Ann Marie
Daniels <adanielshi@gmail.com>; Anthony Franklin <anthony.franklin@farmersinsurance.com>;
Claudia de la Pena <farminglocal@gmail.com>; Danly, Eric <EDanly@cityofpetaluma.org>; Eric
Leland <eric@fivepaths.com>; Erin Wilkins <erinmichellewilkins@gmail.com>; Fabian Romo Macias
<fabian2003romo@gmail.com>; Faith Ross <missross-056@comcast.net>; Flynn, Peggy
<PFlynn@cityofpetaluma.org>; Hanan Huneidi <hhuneidi@gmail.com>; Joanna Paun
<joannapaun@gmail.com>; Joe Sturdivant <joe_sturdivant@sbcglobal.net>; Joel Brunner-Dequine
<jbrunner@waughsd.org>; Johana Garcia <johana@petalumapeople.org>; Julie Mayne
<jmayne@svhs-pet.org>; Katherine Wells <katherine.wells@edwardjones.com>; Kinyatta Reynolds
<mkinyatta@gmail.com>; Liz Chacon <lchacon@petk12.org>; Lou Zweier <lou.zweier@gmail.com>;
Mark Scott <mark@northbayanimalservices.org>; Medina, Jessica <jmedina@cityofpetaluma.org>;
Mike Miller <bigpoppavfx@gmail.com>; Miller, Brian <BMiller@cityofpetaluma.org>; Pedro Toledo
<pedrot@phealthcenter.org>; Rabbi Ted Feldman <rabbi@bnaiisrael.net>; Ramona Faith
<rfaith@phcd.org>; Risa Tinsley-Green <risatgreen@icloud.com>; Sadie Martinez
<sadiemartinez13@gmail.com>; Sands, Nancy <NSands@cityofpetaluma.org>; Savano, Ken
<KSavano@cityofpetaluma.org>; Sonjhia Lowery <slowery@oldadobe.org>; Stefan Perez
<stefanperez@yahoo.com>; Tracey Webb <traceyewebb@gmail.com>; Zahyra Garcia
<zahyragarcia@gmail.com>; Zavala, Aaron <azavala@cityofpetaluma.org>
Subject: Public comment for ad hoc community advisory committee

Thanks,

Suzie Terry
Executive Assistant to the City Manager
City of Petaluma
11 English Street, Petaluma, CA 94952
Phone: (707) 778-4345
City Business Hours: M-Th 8am-5pm, closed every Friday




From: Line.in.the.sand <line.in.the.sand@protonmail.com>
Sent: Tuesday, May 18, 2021 8:04 AM
To: Pascoe, Samantha <SPascoe@cityofpetaluma.org>; -- City Clerk <CityClerk@cityofpetaluma.org>;
Terry, Suzanne <STerry@cityofpetaluma.org>
      Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 133 of 175


Subject: ad hoc community advisory committee

please disseminate and post the following document to public comment for the 18 may 2021 ad hoc
community advisory committee.

thank you
zen
       Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 134 of 175


From:              Savano, Ken
To:                Flynn, Peggy
Subject:           FW: Public Comment: Civilian Oversight Ordinance in Order for the Reallocation On Police Funds
Attachments:       Screen Shot 2021-07-16 at 12.39.15 PM.png
                   Screen Shot 2021-07-16 at 12.39.47 PM.png
                   Screen Shot 2021-07-16 at 12.40.17 PM.png




From: Flynn, Peggy <PFlynn@cityofpetaluma.org>
Sent: Friday, July 16, 2021 2:04 PM
To: Tracey Webb <traceyewebb@gmail.com>; Savano, Ken <KSavano@cityofpetaluma.org>; Danly,
Eric <EDanly@cityofpetaluma.org>; Zavala, Aaron <azavala@cityofpetaluma.org>; Alverde, Ingrid
<IAlverde@cityofpetaluma.org>; Miller, Brian <BMiller@cityofpetaluma.org>
Subject: FW: Public Comment: Civilian Oversight Ordinance in Order for the Reallocation On Police
Funds

fyi



Peggy Flynn
City Manager
City of Petaluma | City Manager
PFlynn@cityofpetaluma.org




Petaluma is in a drought. There are
many programs and incentives
to help you conserve water! Learn
more HERE.
From: Zahyra Garcia <zahyragarcia@gmail.com>
Sent: Friday, July 16, 2021 1:19 PM
To: -- City Clerk <CityClerk@cityofpetaluma.org>
Subject: Public Comment: Civilian Oversight Ordinance in Order for the Reallocation On Police Funds

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE OUR EMAIL
SYSTEM.---
Good afternoon Mayor, City manager and Councilmembers.

Submitting a public comment in support of the recommendation given from the listening circles
from July 18th-19th 2020 as next steps. Providing ALL of Petaluma great customer service regardless
of immigration status, sexual orientation, race, religion, countries of origin, genders and abilities with
the Petaluma Police Department. Please reference the following:
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Report in
English: https://static1.squarespace.com/static/5bd9443c620b8568909c5486/t/5f595cee080da310
aba5ad41/1599692016109/REPORT-
Community+Forum+on+Racism+%26+Interactions+with+Police+in+Petaluma+2020.09.09.pdf

Report in Spanish:
https://static1.squarespace.com/static/5bd9443c620b8568909c5486/t/5f5bad16c682ba3e21d40df
c/1599843606394/REPORTE-
Foro+Comunitario+sobre+Racismo+e+Interacciones+con+la+Policia+en+Petaluma202009011.pdf

Form an independent oversight committee for policing in Petaluma by passing an ordinance in
creating a civilian oversight that has some power of authority and mandate.
An oversight committee will ensure our city has updated practices on training and hiring officers,
that policies are in place to protect the public’s access to information about misconduct, and that a
structure is provided to host and evaluate community input about policing accountability in
Petaluma. This approach will benefit the BIPOC community because it builds trust and provides a
bridge-building mechanism between the citizens and the police department that serves them. The
Committee can be led by a board of community volunteers that is established through a
memorandum of understanding with the County’s IOLERO (Independent Office of Law Enforcement
Review and Oversight) or through a joint Powers Authority.

Attached is what I will be talking about at the next ADHOC meeting on Tuesday, July 20th. The
reallocation of police funds should be reviewed/discussed by a civilian oversight for Petaluma.
Encourage you all to attend our meeting to listen to my other colleagues recommendations. If you
haven't gotten the chance to watch the documentary: 3 Seconds in October - The Shooting of Andy
Lopez. Highly recommend it. Appreciate your time and consideration.

Respectfully,

Zahyra Garcia
Pronouns: SHE/HER/HERS
Co-Chair for Indivisible Petaluma
Founding Member of North Bay LGBTQ+ Families of Sonoma County
Member on the Petaluma ADHOC Community Advisory Committee
Former Chair for Sonoma County Commission on Human Rights
Former President of the North Bay Organizing Project
Phone # 678 687 3449
      Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 136 of 175


From:           Savano, Ken
To:             Savano, Ken
Subject:        FW: Stefan Perez for Ad Hoc Advisory Committee
Date:           Tuesday, March 9, 2021 12:42:04 PM




From: Rose, Kendall <krose@cityofpetaluma.org>
Sent: Monday, March 01, 2021 10:18 AM
To: Savano, Ken <KSavano@cityofpetaluma.org>; Flynn, Peggy <PFlynn@cityofpetaluma.org>
Subject: FW: Stefan Perez for Ad Hoc Advisory Committee



From: Eric Scholz <ewscholz@gmail.com>
Sent: Saturday, February 27, 2021 9:26 AM
To: -- City Clerk <CityClerk@cityofpetaluma.org>; Barrett,Teresa <tbarrett@cityofpetaluma.org>;
Barnacle, Brian <bbarnacle@cityofpetaluma.org>; Fischer, D'Lynda <dfischer@cityofpetaluma.org>;
Healy, Mike <mhealy@cityofpetaluma.org>; King, Dave <dking@cityofpetaluma.org>; McDonnell,
Kevin <kmcdonnell@cityofpetaluma.org>; Pocekay, Dennis <dpocekay@cityofpetaluma.org>
Subject: Stefan Perez for Ad Hoc Advisory Committee

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE OUR EMAIL
SYSTEM.---
Hello, I am writing to express my support for including Stefan Perez on the Ad Hoc Advisory
Committee on community race relations and policing. Stefan has shown great interest,
involvement and empathy in balancing historical, BIPOC, business and safety concerns of
the whole community and will be a great asset to the committee. He communicates very
well and has frequently added to my understanding of important local issues with his
thoughtful, compassionate, and most importantly practical ideas.

Very truly yours,
Eric Scholz
536 Maria Drive, Petaluma
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From:           Savano, Ken
To:             Savano, Ken
Subject:        FW: Support for Stefan Perez on Ad Hoc Committee
Date:           Tuesday, March 9, 2021 12:43:36 PM




From: Rose, Kendall <krose@cityofpetaluma.org>
Sent: Monday, March 01, 2021 10:16 AM
To: Savano, Ken <KSavano@cityofpetaluma.org>; Flynn, Peggy <PFlynn@cityofpetaluma.org>
Subject: FW: Support for Stefan Perez on Ad Hoc Committee



From: Erin Shand <erin.shand@gmail.com>
Sent: Thursday, February 25, 2021 5:26 PM
To: -- City Clerk <CityClerk@cityofpetaluma.org>; Barrett,Teresa <tbarrett@cityofpetaluma.org>;
Barnacle, Brian <bbarnacle@cityofpetaluma.org>; Fischer, D'Lynda <dfischer@cityofpetaluma.org>;
Healy, Mike <mhealy@cityofpetaluma.org>; King, Dave <dking@cityofpetaluma.org>; McDonnell,
Kevin <kmcdonnell@cityofpetaluma.org>; Pocekay, Dennis <dpocekay@cityofpetaluma.org>
Subject: Support for Stefan Perez on Ad Hoc Committee

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE OUR EMAIL
SYSTEM.---

I want to voice my support for Stefan Perez to be appointed to the Ad Hoc Committee. He is a
dedicated, strong leader and brings a diverse outlook. I know Stefan to be a trustworthy member of
our community who is both respectable and driven to do good works. He would be a capable
member of your team and I highly recommend him.
--
Erin Tisor
1333 St Francis Dr
Petaluma CA, 94954
707 981 7285
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Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 139 of 175
Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 140 of 175
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From: Stefan Perez <stefan@socovideography.com>
Sent: Friday, June 11, 2021 6:25 PM
To: Barrett,Teresa <tbarrett@cityofpetaluma.org>; Healy, Mike <mhealy@cityofpetaluma.org>;
Pocekay, Dennis <dpocekay@cityofpetaluma.org>; Fischer, D'Lynda <dfischer@cityofpetaluma.org>;
Barnacle, Brian <bbarnacle@cityofpetaluma.org>; King, Dave <dking@cityofpetaluma.org>;
McDonnell, Kevin <kmcdonnell@cityofpetaluma.org>
Cc: -- City Clerk <CityClerk@cityofpetaluma.org>
Subject: Weighing my options for the Committee

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE OUR EMAIL
SYSTEM.---
Hello Petaluma City Council,

First I would like to say that I'm sorry that these recent false allegations against me have taken focus
away from the goals of this committee. I've contacted a lawyer about this ridiculous slander that
is being spread about me. By now you've heard one side of this story but it's only right that you hear
mine.

From the start of the construction of this committee, I've been aware that members of the group
Indivisible Petaluma have been pushing to have me removed or blocked from having a seat on this
committee. I've tried to ignore their intimidation in order to keep the focus on the goals of this
committee, but their harassment and racist attacks on my tribal heritage have increased to the point
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      Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 143 of 175


From:            Flynn, Peggy
To:              Savano, Ken
Subject:         Fwd: Ad Hoc Community Advisory Committee-Sonoma County Black Forum
Date:            Wednesday, March 3, 2021 8:36:23 PM


fyi

Begin forwarded message:


       From: Sustainable Farming <farminglocal@gmail.com>
       Date: March 3, 2021 at 8:35:01 PM PST
       To: "Flynn, Peggy" <PFlynn@cityofpetaluma.org>
       Subject: Ad Hoc Community Advisory Committee-Sonoma County Black
       Forum


       ---Warning: Use caution before clicking any attachments. THIS EMAIL IS
       FROM OUTSIDE OUR EMAIL SYSTEM.---
       Hello Peggy,

       On March 1, my colleague Regina Brennan from Sonoma County Black Forum
       submitted an Ad Hoc Community Advisory Committee form on my behalf.
       I wasn't sure if she had all my personal information so I resubmitted the form this
       evening. I apologize if this causes any confusion, I wanted to make sure
       everything is correct. Please let me know if you have any questions.

       All the best,

       Claudia de la Pena
       Sonoma County Black Forum
       310-357-1842
     Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 144 of 175




Begin forwarded message:


     From: Stefan Perez <stefan@socovideography.com>
     Date: May 22, 2021 at 3:31:54 PM PDT
     To: "Savano, Ken" <KSavano@cityofpetaluma.org>
     Subject: I feel that I'm in danger


     ---Warning: Use caution before clicking any attachments. THIS EMAIL IS
     FROM OUTSIDE OUR EMAIL SYSTEM.---
     Hello Chief Savano,

     I wanted to get some advice about my situation. I'm sure you've heard the news of
     the slander against me by now. I am being targeted by Zahyra and Indivisible
     Petaluma and they have sent information to a professional doxxer online to
     intimidate me off of the council. These people are dangerous and I am very afraid
     for my safety.

     Since I am part of the ad hoc committee and that my safety is being threatened I
     wanted some advice for what I should do going forward. Should I file a
     safety report with Petaluma PD or should I bring this to the council? I fear my
     side of things will fall on deaf ears.

     Thank you,
     -Stefan



     --


                  Stefan Perez
                  videographer/ editor
                  socovideography.com
      Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 145 of 175


From:           Tracey Webb
To:             Flynn, Peggy; Savano, Ken
Subject:        Fwd: Introductions and Concerns
Date:           Thursday, March 18, 2021 2:14:13 PM


---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
OUR EMAIL SYSTEM.---


---------- Forwarded message ---------
From: Tracey Webb <traceyewebb@gmail.com>
Date: Thu, Mar 18, 2021 at 2:13 PM
Subject: Re: Introductions and Concerns
To: Stefan Perez <stefan@socovideography.com>


Hi Stefan:

Thank you so much for reaching out to me via your earlier email. Please excuse the delay--I
have been swamped.

Please note that I crafted an email in response to Zahyra's correspondence. My email below
outlines the rules of engagement for the AHCAC. Please note that no one will be taken off of
the committee unless that person violates the rules of decorum and engagement listed below. I
will work hard to ensure that this group is a safe space for all parties. I am sorry that I cannot
chat on the phone about this. I have to remain neutral in order to be an effective facilitator. I
trust that all of us will conduct ourselves in the appropriate manner as members of this
important group.

Thank you again for reaching out to me. I am very pleased that you are adding an indigenous
voice to this discussion.

Please stay safe and well! Please see the copy of the email that City Manager Flynn sent to all
whom Ms. Garcia contacted via email.

Tracey



AHCAC Will be a Safe Space for Members



As facilitator for the sessions, my goal is to ensure that we engage in authentic and productive
dialogue that produces a specific set of recommendations for improving the racial climate in
Petaluma. To that end I wish to inform the committee of the following rules of decorum that
will be in place as long as members serve on the body:



-Racist, sexist, or any other type of derogatory language will not be tolerated within the group
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conversations. I will immediately call-out and identify such behavior / language and the
perpetrator will be given one warning. A second offense will result in removal of that
individual from the group, with their organization asked to replace them with their alternate.



-Political differences are an important part of the fabric of this country. The AHCAC will not
be a platform for either end of the political spectrum. The purpose of the group is to have
dialogue that leads to a path forward to improve the racial climate in Petaluma so that all
people, particularly people of color, feel safe and welcome within the city. Attacking another
member's political affiliation will not be tolerated and will result in a warning. The second
offense is grounds for removal and will result in that person being replaced by their group's
alternate, should one exist.



-The AHCAC is not the stage for public theater. It is a serious working committee designed to
position the Council to implement meaningful change. To that end, the facilitator will stop
political speeches, attacks, and discourse that leans into personal attacks.



-While we cannot control free speech outside of the AHCAC, we request that members refrain
from using the discussions in the group as a basis for attacking other members in social media
outside of the sessions. It will be very hard for the group to produce a serious blueprint for
change if the main focus becomes management of interpersonal conflict.



-This work is critical for the health of the Petaluma community. We all have to work hard to
express our concerns in a manner that is authentic but that does not devolve into personal
attacks.



Thank you and I look forward to working with all of you. We have a diverse group that
should produce outstanding results if we keep our collective eyes on the vision: a Petaluma
that is safe and welcoming for all.



Tracey


On Wed, Mar 17, 2021 at 2:36 PM Stefan Perez <stefan@socovideography.com> wrote:
 Hello Tracy,

  My name is Stefan Perez and I was recently appointed to the new adhoc committee. I'm very
  grateful to be on a committee like this to help move Petaluma forward with you. I
  understand that emotions can run high on these topics and I hope that we as a committee can
  create a space where everyone can feel comfortable to share our ideas openly.
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From:              Flynn, Peggy
To:                Savano, Ken
Subject:           Fwd: Request to participate in the Ad Hoc Community Advisory Committee to Address Community Race Relations
Date:              Sunday, February 28, 2021 9:24:45 AM


also for inclusion in 3/15 packet

Begin forwarded message:


       From: Phyllis Tajii <phyllistajii@gmail.com>
       Date: February 27, 2021 at 10:30:54 AM PST
       To: "Flynn, Peggy" <PFlynn@cityofpetaluma.org>
       Cc: ErinMichelleWilkins <erinmichellewilkins@gmail.com>
       Subject: Request to participate in the Ad Hoc Community Advisory
       Committee to Address Community Race Relations


       ---Warning: Use caution before clicking any attachments. THIS EMAIL IS
       FROM OUTSIDE OUR EMAIL SYSTEM.---
       Dear City Manager,
       My thanks to you, the City Council and Police Chief Savano for your work to form this Ad Hoc
       Committee addressing race relations.

       I am a member of Petaluma Community Relations Council as well as a member of Sonoma County
       Japanese American Citizens League (JACL) and have been following the project since its start in the
       summer.

       Is it possible to add a representative from JACL on the Ad Hoc committee? Sonoma County JACL
       is a 501c3 organization that was established in 1934, advocating for civil rights and promoting
       Japanese culture.
       Erin Wilkins, a Petaluma resident, JACL member and Japanese American is interested in
       participating on this committee.

       If there is a way for a JACL representative to be on the committee, we would appreciate it.
       Who should JACL contact to request to be part of this committee? I have copied Erin on this email
       so you can contact her directly as well. Erin Wilkins' email is: erinmichellewilkins@gmail.com

       Thank you very much for your time,
       Phyllis Tajii
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From:              Savano, Ken
To:                Flynn, Peggy
Subject:           RE: 1/21/21 - Public Comment
Attachments:       image002.png


Where do you see that he lives in Petaluma and do you have his address?


From: Flynn, Peggy <PFlynn@cityofpetaluma.org>
Sent: Tuesday, March 09, 2021 8:34 AM
To: Savano, Ken <KSavano@cityofpetaluma.org>
Subject: Fwd: 1/21/21 - Public Comment

mr perez lives in petaluma. please add to the spreadsheet

Sent from my iPhone

Begin forwarded message:

      From: "Pascoe, Samantha" <SPascoe@cityofpetaluma.org>
      Date: January 20, 2021 at 4:40:39 PM PST
      Subject: FW: 1/21/21 - Public Comment




                           Samantha Pascoe, CMC
                           Deputy City Clerk, City of Petaluma
                           D: 707.778.4575 | O: 707.778.4360
                           11 English Street, Petaluma, CA 94952
                           Regular Schedule: M-Th


      City of Petaluma records, including emails, are subject to the California Public Records Act. Unless
      exemptions apply, this email, any attachments and any replies are subject to disclosure on request, and
      neither the sender nor any recipients should have any expectation of privacy regarding the contents of such
      communications.


      From: Stefan Perez <stefanperez@yahoo.com>
      Sent: Wednesday, January 20, 2021 2:54 PM
      To: -- City Clerk <CityClerk@cityofpetaluma.org>
      Subject: 1/21/21 - Public Comment

      ---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
      OUR EMAIL SYSTEM.---
      Good evening Petaluma city council. Today's talk about racism in
      Petaluma is an important one. There is large amounts of data from
      our community to comb through and decide how it is best to move
      forward. One of these reports is the Community Forum on Racism &
      Interactions with Police in Petaluma. This is based on the forum
      that was on July 18th-19th of 2020 in which I attended. As a BIPOC
      citizen of Petaluma, I would like to make my voice heard for the
      council and for the record, that at no time in my group discussion
      did we talk about defunding of the police. While defunding of the
      police was brought up by a few of the other groups, it was not the
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majority of demands for change during our larger group discussion.
However, the first demand made in the final report is defunding of
police. I can't speak for the other groups but I believe that the
discussion in my group has been misinterpreted and I wanted to
clarify that. We did advocate for an increase in funding for mental
health first responders, similar to what is proposed with CAHOOTS
but it wasn't made clear this would have to be an either or thing.
We just talked about an increase of funding for this type of
program, not defunding. The other thing I just want to add is that
in our segregated groups for our initial discussions, we as the
Latino group could think of any bad interaction that we had with
Petaluma PD. We could only remember positive interactions.
Thanks, just wanted to make that clear.
-Stefan Perez
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From:           Flynn, Peggy
To:             Zavala, Aaron
Cc:             Savano, Ken; Terry, Suzanne
Subject:        RE: Ad Hoc Committee
Date:           Thursday, March 25, 2021 10:02:23 AM
Attachments:    image004.png
                image005.png


Thanks much, Aaron—let’s discuss at our meeting today, about following up with folks to ensure we
have the most current and most convenient way(s) to connect with our committee members.

Peggy Flynn, City Manager
City of Petaluma | 11 English Street, Petaluma, CA 94952
Direct 707.776.3765 | Office 707.778.4345
City Hall is open M-Th; closed Fridays




From: Zavala, Aaron <azavala@cityofpetaluma.org>
Sent: Thursday, March 25, 2021 9:56 AM
To: Flynn, Peggy <PFlynn@cityofpetaluma.org>
Cc: Savano, Ken <KSavano@cityofpetaluma.org>; Terry, Suzanne <STerry@cityofpetaluma.org>
Subject: Re: Ad Hoc Committee

Hey Peggy,

Here is an updated list, I removed Rubin and changed Claudia’s email address. I checked the
google docs and it looks like Eric Leland, Mark Scott, Sadie Martinez, and Stefan Perez, have
not filled out the form. So I am missing phone numbers for Eric and Stefan, and preferred
communication from Eric, Mark, Sadie, and Stefan. Note: I did notice that although Joe
Sturdivant filled out the survey, he is also missing preferred communication.

One member, Hanan Huneidi of Petaluma Pride, did put down that their preferred method of
contact was via phone.

Additionally here is the updated email list.

joe_sturdivant@sbcglobal.net; acruz@cots.org; mkinyatta@gmail.com; erinmichellewilkins@
gmail.com; anthony.franklin@farmersinsurance.com; slowery@oldadobe.org; lou.zweier@gm
ail.com; katherine.wells@edwardjones.com; missross-
056@comcast.net; lchacon@petk12.org; rfaith@phcd.org; pedrot@phealthcenter.org; johana
@petalumapeople.org; Hhuneidi@gmail.com; risatgreen@icloud.com; fabian2003romo@gma
il.com; adanielshi@gmail.com; farminglocal@gmail.com; jmayne@svhs-
pet.org; bigpoppavfx@gmail.com; jbrunner@waughsd.org; eric@fivepaths.com; Zahyragarcia
@gmail.com; rabbi@bnaiisrael.net; Mark@northbayanimalservices.org; sadiemartinez13@g
mail.com; stefanperez@yahoo.com

The master list can also be found in the AHCOC Folder I created in our Leadership Team
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Share point -
https://petalumaca.sharepoint.com/:f:/s/LeadershipTeam/El5zxPYHux1Dv4S9BBcm1agBfNJ
yFD47dvnrde6YeRdiWw?e=x56az3

Aaron J. Zavala, MPA, MUP
Senior Management Analyst
Public Works and Utilities Department
City of Petaluma
202 North McDowell Boulevard
Petaluma, CA 94954

Cell: (707) 779-8542
Office: (707) 778-4495



City of Petaluma records, including emails, are subject to the California Public Records Act.
Unless exemptions apply, this email, any attachments, and any replies are subject to disclosure
on request, and neither the sender nor any recipients should have any expectation of privacy
regarding the contents of such communications




From: Flynn, Peggy <PFlynn@cityofpetaluma.org>
Date: Thursday, March 25, 2021 at 8:20 AM
To: Zavala, Aaron <azavala@cityofpetaluma.org>
Cc: Savano, Ken <KSavano@cityofpetaluma.org>
Subject: Re: Ad Hoc Committee

please send me list of the members and let’s crosswalk with the distribution list you emailed me.
Thank you.


      On Mar 25, 2021, at 8:16 AM, Flynn, Peggy <PFlynn@cityofpetaluma.org> wrote:

       is claudia not on the list?

      Sent from my iPhone

      Begin forwarded message:

             From: Sustainable Farming <farminglocal@gmail.com>
             Date: March 25, 2021 at 6:46:38 AM PDT
             To: "Flynn, Peggy" <PFlynn@cityofpetaluma.org>
             Subject: Ad Hoc Committee

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             FROM OUTSIDE OUR EMAIL SYSTEM.---
Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 153 of 175


     Hi Peggy,

     I understand that the date and time for the Ad Hoc Committee to meet
     has been set. Would you please email the confirmation as I haven't
     received it.

     Thank you,

     Claudia de la Pena
     310-357-1842
      Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 154 of 175


From:            Sonoma County Black Forum
To:              Flynn, Peggy
Cc:              Savano, Ken; Claudia De la Pena; Sonoma County Black Forum
Subject:         Re: Ad Hoc Community Advisory Committee for race relations
Date:            Tuesday, March 2, 2021 6:15:55 AM


---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
OUR EMAIL SYSTEM.---
Good morning Peggy and thank you for reaching out to the Sonoma County Black Forum. We
have a definite yes for one of our members living in Petaluma, Claudia de la Pena to
participate in community-wide discussions on race relations in Petaluma. She’s Cc'd above.
The google participant form has been completed for Claudia and a second SCBF member
living in Petaluma will confirm her interest next week.

Thanks again,
Regina Brennan, Board Member


       On Feb 28, 2021, at 2:11 PM, Flynn, Peggy <PFlynn@cityofpetaluma.org>
       wrote:

       Hi Regina and Sonoma County Black Forum! Our City is embarking on community-wide
       discussions on race relations in Petaluma, and Faith Ross suggested the participation of
       your organization. This would be an ad hoc advisory committee that would meet
       monthly initially for six months to discuss and make recommendations to our City
       Council. If there is interest from your organization, please click on the link below and
       provide information on a representative from your group that could participate. We
       will be recommending the list to Council at their 3/15 meeting.

       We appreciate your consideration and please do hesitate to reach out if you have
       questions.

       In service together,
       Peggy

       Peggy Flynn, City Manager
       City of Petaluma | 11 English Street, Petaluma, CA 94952
       Direct 707.776.3765 | Office 707.778.4345
       City Hall is open M-Th; closed Fridays

       <image001.jpg><image002.jpg><image004.png>


       From: Flynn, Peggy <PFlynn@cityofpetaluma.org>
       Sent: Friday, February 26, 2021 11:24 AM
       To: Flynn, Peggy <PFlynn@cityofpetaluma.org>
       Cc: Savano, Ken <KSavano@cityofpetaluma.org>
       Subject: Ad Hoc Community Advisory Committee for race
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Hello Community Partners,

This past Monday, the City Council asked staff to appoint a committee (Ad Hoc
Community Advisory Committee, ADCAC) to study ways to make Petaluma a
safer, more equitable, and inclusive place for everyone. Your organization was
identified as an important member of this committee. Therefore, I am reaching
out to you asking that you appoint a representative to participate. This committee
will meet over the next six months to discuss ways that the City can improve its
policies and actions with respect to our community’s diversity and its sense of
equity and inclusion.

As you can understand, the work of this committee is urgent and will need the full
participation of its members. Preference would be that members live in a
Petaluma zip code (e.g. 94952, 94953 and 94954, 94955, 94975) and be able to
attend most, if not all, monthly meetings. We hope that the committee will be
diverse and represent members of various ethnic groups, gender identities, sexual
orientations, and age.

We plan to appoint committee members and report back to the Council on March
15, 2021. To meet this deadline, please identify a representative from your
organization by Thursday, March 4,2021. Please provide the contact information
for your representative at the link(s) below.

English: https://forms.gle/hAG4KDV6Xhp13sSw7

Spanish: https://forms.gle/fFseawZQMVNdyN8b6

Thank you again for your support and participation. Please reach out if you have
any questions or need additional information.

In service together,
Peggy

Peggy Flynn, City Manager
City of Petaluma | 11 English Street, Petaluma, CA 94952
Direct 707.776.3765 | Office 707.778.4345
City Hall is open M-Th; closed Fridays

<image001.jpg><image003.jpg><image004.png>
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      Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 158 of 175


From:           Ted Feldman
To:             Flynn, Peggy
Cc:             Phyllis Tajii; ErinMichelleWilkins; Savano, Ken
Subject:        Re: Request to participate in the Ad Hoc Community Advisory Committee to Address Community Race Relations
Date:           Sunday, February 28, 2021 11:06:15 AM


---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
OUR EMAIL SYSTEM.---
Thanks for your note, Peggy, and including us in this process. Personally, I think it would be
important to include an Asian-American group in the list and have it duly represented as a
separate entity from us.

We would, thus, appoint someone else.

If Erin or Peggy disagree, please let me know and then we can formalize Erin’s representation
through PCRC>

Thanks.


Rabbi Ted Feldman
B’nai Israel Jewish Center
740 Western Avenue
Petaluma, CA 94952
707-765-2937


       On Feb 28, 2021, at 09:23, Flynn, Peggy <PFlynn@cityofpetaluma.org> wrote:

       Hi Phyllis and Erin—thank you so much for reaching out and for your
       engagement on this crucial community focus. I would be honored to recommend
       Erin to the City Council to serve on the Committee. Note that when we took this
       concept of the committee to the Council on 2/22, we recommended that a
       representative from each of the following organizations be on the committee:



             Petaluma Blacks for Community Development
             NAACP Sonoma County
             100 Black Men of Sonoma County
             Petaluma Community Relations Council
             North Bay Organizing Project – Petaluma Chapter
             School District Representatives from (PCS, Old Adobe, Waugh, St.
             Vincent’s)
             Team for Inclusivity, Diversity, and Equity (TIDE) in K-12 schools.
             Indivisible Petaluma
             Sonoma County Black Coalition
             Petaluma Healthcare District
             Petaluma Health Center
             Petaluma People Services Center
             Petaluma Area Chamber of Commerce
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      Petaluma Youth Commission
      Petaluma Youth for CAHOOTS
      Hispanic Chamber of Commerce
      Petaluma Pride
      COTS/Downtown Streets Team (individual living in the experience)

Note that this is not an exclusive list—as discovery/awareness of organizations
such as yours, is key to our collective success. I am looping in Rabbi Ted in case
PCRC was going to identify Erin as a representative. If not, I will be happy to
submit Erin and your organization for Council consideration.

In service together,

Peggy



Peggy Flynn, City Manager

City of Petaluma | 11 English Street, Petaluma, CA 94952

Direct 707.776.3765 | Office 707.778.4345

City Hall is open M-Th; closed Fridays



<image001.jpg> <!--[if !vml]--><image003.jpg><!--[endif]--><image004.png>




From: Phyllis Tajii <phyllistajii@gmail.com>
Sent: Saturday, February 27, 2021 10:31 AM
To: Flynn, Peggy <PFlynn@cityofpetaluma.org>
Cc: ErinMichelleWilkins <erinmichellewilkins@gmail.com>
Subject: Request to participate in the Ad Hoc Community Advisory Committee
to Address Community Race Relations



---Warning: Use caution before clicking any attachments. THIS EMAIL IS
FROM OUTSIDE OUR EMAIL SYSTEM.---

Dear City Manager,

My thanks to you, the City Council and Police Chief Savano for your work to
form this Ad Hoc Committee addressing race relations.



I am a member of Petaluma Community Relations Council as well as a member of
Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 160 of 175


Sonoma County Japanese American Citizens League (JACL) and have been
following the project since its start in the summer.



Is it possible to add a representative from JACL on the Ad Hoc committee?
Sonoma County JACL is a 501c3 organization that was established in 1934,
advocating for civil rights and promoting Japanese culture.

Erin Wilkins, a Petaluma resident, JACL member and Japanese American is
interested in participating on this committee.



If there is a way for a JACL representative to be on the committee, we would
appreciate it.

Who should JACL contact to request to be part of this committee? I have copied
Erin on this email so you can contact her directly as well. Erin Wilkins' email is:
erinmichellewilkins@gmail.com




Thank you very much for your time,

Phyllis Tajii
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Pascoe, Samantha

From:                Barrett,Teresa
Sent:                Monday, June 7, 2021 5:14 PM
To:                  Pascoe, Samantha
Subject:             Fw: Ad Hoc Committee - Submission

Follow Up Flag:      Follow up
Flag Status:         Flagged



Sam,

TheforwardedemailbelowcontainsallofthecorrespondenceIhavehadwithStefanPerez.

TeresaBarrett
MayorofPetaluma
707.953.0846
tbarrett@cityofpetaluma.org

From:Barrett,Teresa<tbarrett@cityofpetaluma.org>
Sent:Sunday,February28,202112:57PM
To:Barnacle,Brian<bbarnacle@cityofpetaluma.org>
Subject:Fwd:AdHocCommitteeͲSubmission

Brian,

IrealizedIshouldhavecc’dyouonthisemailtoStefanPerez,soI’msendingitnow.IjustwantedtoinformMr.Perez
thatitwouldnotbeinefficientuseofanyone’stimetolobbyallthecouncilmembersifhehasapersonalrelationship
withyou.Heshouldaskyoutobethepersonwhorecommendshim.


Iamassumingweallhavesomeonethatwethinkshoulddefinitelybeonthisadhoccommittee,notthatwe’relooking
forsomeone.Thatwouldbepitiful.

TeresaBarrett
MayorofPetaluma
707.953.0846



From:Barrett,Teresa<tbarrett@cityofpetaluma.org>
Sent:Saturday,February27,20212:47PM
To:StefanPerez
Subject:Re:AdHocCommitteeͲSubmission

Thankyouforthat.Basedonmysuggestion,theplanisthateachcouncilmemberwillgettorecommendoneindividual
totheadhoccommittee,andallofuswillvotetoaccepttheothers’recommendation.So,itmakessensetomethatthe
vicemayoristhepersonyoushouldbelobbyingforanappointmentasheisthepersonyouhavearelationshipwith.If
herecommendsyou,Iwillcertainlysupportyouashisappointee.

                                                            1
                Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 162 of 175

TeresaBarrett
MayorofPetaluma
707.953.0846

From:StefanPerez<stefan@socovideography.com>
Sent:Thursday,February25,20217:01:45PM
To:Barrett,Teresa<tbarrett@cityofpetaluma.org>
Subject:Re:AdHocCommitteeͲSubmission

ͲͲͲWarning:Usecautionbeforeclickinganyattachments.THISEMAILISFROMOUTSIDEOUREMAILSYSTEM.ͲͲͲ
Thanksforyourquickresponse,Mayor.
IalsovolunteeredonViceMayorBrianBarnacle'scampaignlastsummerbycreatinghiscampaignvideo.Mysmall
businessisSoCoVideographysoIspecializeinmediaproduction.Itintersectsgreatwithteachingmymediaartsclassat
SantaRosaHighSchool'sArtQuestProgram.
ͲStefan

OnThu,Feb25,2021at5:10PMBarrett,Teresa<tbarrett@cityofpetaluma.org>wrote:
  Thankyouforreachingout,I’mgladyouhavecastyournetwideinyourask,becauseIhavealreadybeenapproached
  byseveralunassociatedindividualsinterestedinbeingonthiscommittee.
  
  Ifthereisanythingelseaboutyourselfyoubelievewouldbeimportanttosharepleasefeelfreetofollowup.
  
  Thankyouforbeingwillingtoserve.
  
  TeresaBarrett
  MayorofPetaluma
  707.953.0846

 From:StefanPerez<stefan@socovideography.com>
 Sent:Thursday,February25,20214:31PM
 To:ͲͲCityClerk
 Cc:Barrett,Teresa;Barnacle,Brian;Fischer,D'Lynda;Healy,Mike;King,Dave;McDonnell,Kevin;Pocekay,Dennis
 Subject:AdHocCommitteeͲSubmission
 
 ͲͲͲWarning:Usecautionbeforeclickinganyattachments.THISEMAILISFROMOUTSIDEOUREMAILSYSTEM.ͲͲͲ
 Hello Petaluma City Council,
 
 My name is Stefan Perez. 
 I am a BIPOC resident of Petaluma, a tribal citizen of the Federated Indians of Graton Rancheria, an
 educator at Santa Rosa High School, a small business owner, and I would like to be considered for a
 seat on the Ad Hoc Community Advisory Committee on community race relations and police policies.
 
 I understand that the candidates are being pulled from various groups and organizations within the
 county. While I am not a member of any of the organizations listed during last Monday’s presentation
 I would still like to be considered for a spot.
 
 I believe having another indigenous citizen would help bolster the council's goal to have a committee
 made up of BIPOC citizens, particularly from Petaluma. Also, I believe that having a voice on the
 committee with an outside perspective from the devoted local activist community would bring a
 diversity of thought to the conversation.
 

                                                             2
                                                                                                                                                        Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 163 of 175

    I’ve had fellow Petalumans encourage me to apply for this spot after a group of us started
    connecting online in an unofficial capacity. We share a love for our community and would like to be a
    part of lasting change in Petaluma that strives to be fair and just for everyone. 
    
    Too often we settle for solutions that work in the short term but fall short of any lasting change. My
    intention is to come to the committee with an open mind and search for answers backed by proven
    data to make lasting effects for our city’s wellbeing.
    
    Thank you for taking the time to read this and I hope to be a part of Petaluma’s growth into the
    future.
    
    -Stefan Perez
    
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      
                             To help protect y our priv acy , Microsoft Office prev ented automatic download of this picture from the Internet.
                             SoCo Videography Logo




                                                                                                                                                       Stefan Perez
                                                                                                                                                       Videographer/ editor
                                                                                                                                                       socovideography.com
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           SoCo Videography Logo




                                                                                                                                                      Stefan Perez
                                                                                                                                                      Videographer/ editor
                                                                                                                                                      socovideography.com
                                                                                                                                        




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                                                                                                                                                                                        3
      Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 164 of 175


From:          Pocekay, Dennis
To:            Pascoe, Samantha
Subject:       Fw: Ad Hoc Committee - Submission
Date:          Thursday, June 3, 2021 12:11:15 PM



My Email communications with Stefan Perez are attached. Nothing else.
Dennis Pocekay


From: Stefan Perez <stefan@socovideography.com>
Sent: Friday, February 26, 2021 11:52 AM
To: Pocekay, Dennis <dpocekay@cityofpetaluma.org>
Subject: Re: Ad Hoc Committee - Submission

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
OUR EMAIL SYSTEM.---
Sunday at noon works for me. I'll talk to you then!

Thanks,
-Stefan

On Thu, Feb 25, 2021 at 7:49 PM Pocekay, Dennis <dpocekay@cityofpetaluma.org> wrote:
 Hi again, Stefan-
 If you are able, please give me a call this Sunday, so I can get to know you a little. How
 about around noon? Or let me know when you will call; I'm available all day!
 Dennis
 707-478-7466

  From: Stefan Perez <stefan@socovideography.com>
  Sent: Thursday, February 25, 2021 6:39 PM
  To: Pocekay, Dennis <dpocekay@cityofpetaluma.org>
  Subject: Re: Ad Hoc Committee - Submission

  ---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM
  OUTSIDE OUR EMAIL SYSTEM.---
  Thank you very much for your support, Dr. Pocekay. It means a lot.
  -Stefan

  On Thu, Feb 25, 2021 at 5:39 PM Pocekay, Dennis <dpocekay@cityofpetaluma.org> wrote:
   Hi Stefan-
   I agree that you would be an excellent addition to this committee! I will do what I can to
   help.
   Dennis Pocekay
   707-478-7466

    From: Stefan Perez <stefan@socovideography.com>
    Sent: Thursday, February 25, 2021 4:31 PM
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To: -- City Clerk <CityClerk@cityofpetaluma.org>
Cc: Barrett,Teresa <tbarrett@cityofpetaluma.org>; Barnacle, Brian
<bbarnacle@cityofpetaluma.org>; Fischer, D'Lynda <dfischer@cityofpetaluma.org>; Healy, Mike
<mhealy@cityofpetaluma.org>; King, Dave <dking@cityofpetaluma.org>; McDonnell, Kevin
<kmcdonnell@cityofpetaluma.org>; Pocekay, Dennis <dpocekay@cityofpetaluma.org>
Subject: Ad Hoc Committee - Submission

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM
OUTSIDE OUR EMAIL SYSTEM.---
Hello Petaluma City Council,

My name is Stefan Perez.
I am a BIPOC resident of Petaluma, a tribal citizen of the Federated Indians of
Graton Rancheria, an educator at Santa Rosa High School, a small business
owner, and I would like to be considered for a seat on the Ad Hoc Community
Advisory Committee on community race relations and police policies.

I understand that the candidates are being pulled from various groups and
organizations within the county. While I am not a member of any of the
organizations listed during last Monday’s presentation I would still like to be
considered for a spot.

I believe having another indigenous citizen would help bolster the council's goal to
have a committee made up of BIPOC citizens, particularly from Petaluma. Also, I
believe that having a voice on the committee with an outside perspective from the
devoted local activist community would bring a diversity of thought to the
conversation.

I’ve had fellow Petalumans encourage me to apply for this spot after a group of us
started connecting online in an unofficial capacity. We share a love for our
community and would like to be a part of lasting change in Petaluma that strives
to be fair and just for everyone.

Too often we settle for solutions that work in the short term but fall short of any
lasting change. My intention is to come to the committee with an open mind and
search for answers backed by proven data to make lasting effects for our city’s
wellbeing.
          Thank you for taking the time to read this and I hope to be a part of Petaluma’s
          growth into the future.
          -Stefan Perez
          --
                        Stefan Perez
                        videographer/ editor
                        socovideography.com
     --
                      Stefan Perez
                      videographer/ editor
                      socovideography.com
--
                    Stefan Perez
                    videographer/ editor
                    socovideography.com
               Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 166 of 175
      Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 167 of 175


From:            Healy, Mike
To:              Pascoe, Samantha
Subject:         Fwd: Remove Stefan Perez
Date:            Thursday, June 3, 2021 4:11:39 PM


Sam,
  This chain is all I have.
Mike
Get Outlook for iOS

From: Healy, Mike <mhealy@cityofpetaluma.org>
Sent: Sunday, May 23, 2021 7:47 AM
To: Flynn, Peggy
Cc: Savano, Ken
Subject: Fwd: Remove Stefan Perez

Peggy and Ken,
   This is Stefan Perez’s response to the first of the recent emails demanding his removal from
the Ad Hoc. Any thoughts you are willing to share?
Thanks,
Mike
Get Outlook for iOS

From: Stefan Perez <stefan@socovideography.com>
Sent: Saturday, May 22, 2021 4:02 PM
To: Healy, Mike
Subject: Re: Remove Stefan Perez

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM OUTSIDE
OUR EMAIL SYSTEM.---
Hello Councilmember Healy,

I am being targeted by Zahyra and Indivisible Petaluma and they have sent information to a
professional doxxer online to intimidate me off of the committee. These people are dangerous
and I am very afraid for my safety.

I don't understand how this group is still allowed to guide city policy after continuing to pull
this kind of stuff. It's also not just happening to me. Recently Zahyra accused Rabbi Ted of
being a sexual predator online and now this. I am part of this ad hoc committee and my safety
is being directly threatened by them. I'm in contact with a lawyer about this and will be filing a
police safety report. I would send this to the rest of the city council but I don't trust that I will
be heard fairly which is why I wanted to send it to you directly. It's become obvious to me that
the deck has been stacked against me from the start.

Thank you,
-Stefan

On Fri, May 21, 2021 at 5:22 PM Healy, Mike <mhealy@cityofpetaluma.org> wrote:
      Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 168 of 175


Any thoughts?

Get Outlook for iOS

From: Stefan Perez <stefan@socovideography.com>
Sent: Friday, May 21, 2021 3:28:28 PM
To: Healy, Mike <mhealy@cityofpetaluma.org>
Subject: Re: Remove Stefan Perez

---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM
OUTSIDE OUR EMAIL SYSTEM.---
Thank you.

On Fri, May 21, 2021 at 2:09 PM Healy, Mike <mhealy@cityofpetaluma.org> wrote:
 Stefan,
    Just FYI.
 Mike

     Get Outlook for iOS

     From: Allegra Wilson <allegrapie@gmail.com>
     Sent: Friday, May 21, 2021 9:38 AM
     To: Barrett,Teresa; Barnacle, Brian; Fischer, D'Lynda; Healy, Mike; King, Dave; McDonnell,
     Kevin; Pocekay, Dennis; Flynn, Peggy; -- City Clerk
     Subject: Remove Stefan Perez

     ---Warning: Use caution before clicking any attachments. THIS EMAIL IS FROM
     OUTSIDE OUR EMAIL SYSTEM.---
     Dear members of the Petaluma City Council, City Manager Flynn, and City Clerk Rose,

     It has come to my attention that a member of your Ad-hoc Community Advisory
     Committee, Stefan Perez, is a right-wing extremist, who is known to post racist and anti-
     Semetic memes on social media. He also appears to be the so-called Antifa Infiltrator who
     is attempting to smear members of the local community for his own political goals. He
     claims association with Graton Rancheria, but the Tribal Chairman has made it clear that
     Perez does not speak for them. This man places the other members of the committee, as
     well as the work of the committee, at risk. He must be removed immediately.

     Thank you,

     Allegra Wilson


--


               Stefan Perez
               videographer/ editor
               socovideography.com
     Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 169 of 175




--


          Stefan Perez
          videographer/ editor
          socovideography.com
                        Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 170 of 175




Galten, Brendan

From:                 Terry, Suzanne
Sent:                 Tuesday, May 18, 2021 8:40 AM
To:                   Alverde, Ingrid;Angeles Cruz;Ann Marie Daniels;Anthony Franklin;Claudia de la Pena;Danly, Eric;Eric Leland;Erin Wilkins;Fabian Romo
                      Macias;Faith Ross;Flynn, Peggy;Hanan Huneidi;Joanna Paun;Joe Sturdivant;Joel Brunner-Dequine;Johana Garcia;Julie Mayne;Katherine
                      Wells;Kinyatta Reynolds;Liz Chacon;Lou Zweier;Mark Scott;Medina, Jessica;Mike Miller;Miller, Brian;Pedro Toledo;Rabbi Ted Feldman;Ramona
                      Faith;Risa Tinsley-Green;Sadie Martinez;Sands, Nancy;Savano, Ken;Sonjhia Lowery;Stefan Perez;Tracey Webb;Zahyra Garcia;Zavala, Aaron
Subject:              Public comment for ad hoc community advisory committee
Attachments:          ad hoc 18 may 2021.pdf


Thanks,

Suzie Terry
Executive Assistant to the City Manager
City of Petaluma 
11 English Street, Petaluma, CA 94952
Phone: (707) 778-4345
City Business Hours: M-Th 8am-5pm, closed every Friday




            


From:Line.in.the.sand<line.in.the.sand@protonmail.com>
Sent:Tuesday,May18,20218:04AM
To:Pascoe,Samantha<SPascoe@cityofpetaluma.org>;ͲͲCityClerk<CityClerk@cityofpetaluma.org>;Terry,Suzanne<STerry@cityofpetaluma.org>
Subject:adhoccommunityadvisorycommittee

pleasedisseminateandpostthefollowingdocumenttopubliccommentforthe18may2021adhoccommunityadvisorycommittee.
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thankyou
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                        Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 171 of 175




Galten, Brendan

From:                 Terry, Suzanne
Sent:                 Tuesday, May 18, 2021 8:40 AM
To:                   Alverde, Ingrid;Angeles Cruz;Ann Marie Daniels;Anthony Franklin;Claudia de la Pena;Danly, Eric;Eric Leland;Erin Wilkins;Fabian Romo
                      Macias;Faith Ross;Flynn, Peggy;Hanan Huneidi;Joanna Paun;Joe Sturdivant;Joel Brunner-Dequine;Johana Garcia;Julie Mayne;Katherine
                      Wells;Kinyatta Reynolds;Liz Chacon;Lou Zweier;Mark Scott;Medina, Jessica;Mike Miller;Miller, Brian;Pedro Toledo;Rabbi Ted Feldman;Ramona
                      Faith;Risa Tinsley-Green;Sadie Martinez;Sands, Nancy;Savano, Ken;Sonjhia Lowery;Stefan Perez;Tracey Webb;Zahyra Garcia;Zavala, Aaron
Subject:              Public comment for ad hoc community advisory committee
Attachments:          ad hoc 18 may 2021.pdf


Thanks,

Suzie Terry
Executive Assistant to the City Manager
City of Petaluma 
11 English Street, Petaluma, CA 94952
Phone: (707) 778-4345
City Business Hours: M-Th 8am-5pm, closed every Friday




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From:Line.in.the.sand<line.in.the.sand@protonmail.com>
Sent:Tuesday,May18,20218:04AM
To:Pascoe,Samantha<SPascoe@cityofpetaluma.org>;ͲͲCityClerk<CityClerk@cityofpetaluma.org>;Terry,Suzanne<STerry@cityofpetaluma.org>
Subject:adhoccommunityadvisorycommittee
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pleasedisseminateandpostthefollowingdocumenttopubliccommentforthe18may2021adhoccommunityadvisorycommittee.
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                        Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 172 of 175




Galten, Brendan

From:                 Terry, Suzanne
Sent:                 Tuesday, May 18, 2021 8:40 AM
To:                   Alverde, Ingrid;Angeles Cruz;Ann Marie Daniels;Anthony Franklin;Claudia de la Pena;Danly, Eric;Eric Leland;Erin Wilkins;Fabian Romo
                      Macias;Faith Ross;Flynn, Peggy;Hanan Huneidi;Joanna Paun;Joe Sturdivant;Joel Brunner-Dequine;Johana Garcia;Julie Mayne;Katherine
                      Wells;Kinyatta Reynolds;Liz Chacon;Lou Zweier;Mark Scott;Medina, Jessica;Mike Miller;Miller, Brian;Pedro Toledo;Rabbi Ted Feldman;Ramona
                      Faith;Risa Tinsley-Green;Sadie Martinez;Sands, Nancy;Savano, Ken;Sonjhia Lowery;Stefan Perez;Tracey Webb;Zahyra Garcia;Zavala, Aaron
Subject:              Public comment for ad hoc community advisory committee
Attachments:          ad hoc 18 may 2021.pdf


Thanks,

Suzie Terry
Executive Assistant to the City Manager
City of Petaluma 
11 English Street, Petaluma, CA 94952
Phone: (707) 778-4345
City Business Hours: M-Th 8am-5pm, closed every Friday




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From:Line.in.the.sand<line.in.the.sand@protonmail.com>
Sent:Tuesday,May18,20218:04AM
To:Pascoe,Samantha<SPascoe@cityofpetaluma.org>;ͲͲCityClerk<CityClerk@cityofpetaluma.org>;Terry,Suzanne<STerry@cityofpetaluma.org>
Subject:adhoccommunityadvisorycommittee
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pleasedisseminateandpostthefollowingdocumenttopubliccommentforthe18may2021adhoccommunityadvisorycommittee.
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                        Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 173 of 175




Galten, Brendan

From:                 Terry, Suzanne
Sent:                 Tuesday, April 20, 2021 12:52 PM
To:                   Alverde, Ingrid;Angeles Cruz;Ann Marie Daniels;Anthony Franklin;Claudia de la Pena;Danly, Eric;Eric Leland;Erin Wilkins;Fabian Romo
                      Macias;Faith Ross;Flynn, Peggy;Hanan Huneidi;Joanna Paun;Joe Sturdivant;Joel Brunner-Dequine;Johana Garcia;Julie Mayne;Katherine
                      Wells;Kinyatta Reynolds;Liz Chacon;Lou Zweier;Mark Scott;Mike Miller;Miller, Brian;Pedro Toledo;Rabbi Ted Feldman;Ramona Faith;Risa
                      Tinsley-Green;Sadie Martinez;Sands, Nancy;Savano, Ken;Sonjhia Lowery;Stefan Perez;Tracey Webb;Zahyra Garcia;Zavala, Aaron
Subject:              Public comment for ad hoc community advisory committee
Attachments:          public comment ad hoc community advisory committee.pdf




Suzie Terry
Executive Assistant to the Mayor and City Manager
City of Petaluma 
11 English Street, Petaluma, CA 94952
Phone: (707) 778-4345
City Business Hours: M-Th 8am-5pm, closed every Friday




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From:Line.in.the.sand<line.in.the.sand@protonmail.com>
Sent:Tuesday,April20,202111:04AM
To:Pascoe,Samantha<SPascoe@cityofpetaluma.org>;ͲͲCityClerk<CityClerk@cityofpetaluma.org>
Subject:adhoccommunityadvisorycommittee20april2021

pleasedisseminateandpostthefollowingpubliccommentfortonight'sadhoccommunityadvisorycommittee.
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thankyou
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                       Case 4:21-cv-06190-JST Document 20 Filed 08/25/21 Page 174 of 175




Galten, Brendan

From:                Savano, Ken
Sent:                Tuesday, March 9, 2021 1:04 PM
To:                  stefanperez@yahoo.com
Cc:                  ewscholz@gmail.com;jen_hewitt@me.com;erin.shand@gmail.com;Peggy Flynn - City Manager (PFlynn@cityofpetaluma.org);Rose, Kendall
Subject:             Ad Hoc Community Advisory Committee


Mr.Perez,

IjustwantedtowritetoyouandexpressourappreciationforyourengagementanddesiretohelpmakePetalumafeelsafeandwelcomingtoeveryone.Ialso
wantedtoletyouknowthatyouremailindicatingyourwillingnesstoparticipateintheAHCACwasreceivedandhasbeensubmittedaspartofthepublic
record.Additionally,emailswerereceivedfromEricScholz,JenniferHewitt,andErinTisorinsupportofyournominationandincludedinthepublicrecordfor
CityCouncilConsideration.

IhopeyouareabletojoinusMondaynight,March15,whenthisitemwillcomebeforetheCityCouncil.Publiccommentwillbeavailableonthisagendaitem
whenitiscalled.Pleaseletmeknowifyouhaveanyquestions.Thankyouagain.Haveagreatrestofyourweek.

Respectfully,

KenSavano
ChiefofPolice
PetalumaPoliceDepartment
969PetalumaBlvdNorth
Petaluma,CA94952
Phone:707.778.4463

Mission:Workingwithourcommunitytoprovideprofessionalpoliceservicessince1858.
Vision:Thoseweserveknowthosewhoservethem.
Leadership:Therelationshipwithourcommunitybeginswiththerelationshipswithourstaff.
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CONFIDENTIALITYNOTICE:Thiscommunicationwithitscontentsmaycontainconfidentialand/orlegallyprivilegedinformation.Itissolelyfortheuseofthe
intendedrecipient(s).Unauthorizedinterception,review,useordisclosureisprohibitedandmayviolateapplicablelawsincludingtheElectronicCommunications
PrivacyAct.Ifyouarenottheintendedrecipient,pleasecontactthesenderanddestroyallcopiesofthecommunication.
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